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                                                                     Ð¿¹» ï

 ï                         ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
 î                         ÉÛÍÌÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ Ó×ÝØ×ÙßÒ
 í       ØÔÊô ÔÔÝô ¿ Ó·½¸·¹¿² ´·³·¬»¼ ´·¿¾·´·¬§ ½±®°±®¿¬·±²ô
 ì       ÔßÒÜÉÑÎÌØÇ ÝÑÒÌß×ÒÛÎô ÔÔÝô ¿ Ó·½¸·¹¿² ´·³·¬»¼
 ë       ´·¿¾·´·¬§ ½±®°±®¿¬·±²ô ¿²¼ ÎÑÞÛÎÌ ÞßÕÛÎô
 ê       ¿² ·²¼·ª·¼«¿´ô
 é                      Ð´¿·²¬·ºº-ô
 è           óª-ó                                 Ý·ª·´ ß½¬·±²
 ç                                                Ò±ò ïæïíó½ªóïíêêóÐÔÓ
ïð                                                Ø±²ò Ð¿«´ Ôò Ó¿´±²»§
ïï       ÊßÒ ÞËÎÛÒ ÝÑËÒÌÇô ¿ ³«²·½·°¿´ ½±®°±®¿¬·±²ô Ê×ÔÔßÙÛ ÑÚ
ïî       ÐßÉ ÐßÉô ¿ ³«²·½·°¿´ ½±®°±®¿¬·±²ô ÐßÙÛ ú ÍÌÛßÎÌô ¿² ¿¼
ïí       ¸±½ °®±º»--·±²¿´ °¿®¬²»®-¸·°ô ÕÛÔÔÇ ÐßÙÛô ¿² ·²¼·ª·¼«¿´å
ïì       ÙßÎÇ ÍÌÛÉßÎÌô ÖÎòô ¿² ·²¼·ª·¼«¿´å ÐßËÔ ØßÓÎÛô ¿²
ïë       ·²¼·ª·¼«¿´å ÐÛÙÙÇ ÙÎÑÌÛô ¿² ·²¼·ª·¼«¿´å Ó×ÝØßÛÔ ÓÝÕßÇô
ïê       ¿² ·²¼·ª·¼«¿´å ¿²¼ Ó×ÝØßÛÔ ÞÛÜÚÑÎÜô ¿² ·²¼·ª·¼«¿´ô
ïé                      Ü»º»²¼¿²¬-ò
ïè       ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁñ
ïç       ÐßÙÛ ï ÌÑ éè
îð           Ì¸» ¼»°±-·¬·±² ±º ÜÑÒßÔÜ Ê×ÍÍÛÎô
îï           Ì¿µ»² ¿¬ îìèð ìì¬¸ Í¬®»»¬ Û¿-¬ô Í«·¬» ïëðô
îî           Ù®¿²¼ Î¿°·¼-ô Ó·½¸·¹¿²ô
îí           Ý±³³»²½·²¹ ¿¬ ïðæðð ¿ò³òô
îì           Ì«»-¼¿§ô ß°®·´ ïèô îðïéô
îë           Þ»º±®» Ý¿·¬´§² Ó¿²½·²·ô ÎÐÎô ÝÍÎóèèèéò

                                   Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
      èððóëêéóèêëè                                                      çéíóìïðóìðìð
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                                                      Ð¿¹» î                                                            Ð¿¹» ì
  ï   ßÐÐÛßÎßÒÝÛÍæ                                        ï ÛÈØ×Þ×ÌÍ ÝÑÒÌ×ÒËÛÜæ
  î   ÓÍò ÞÎ×ÌÌßÒÇ Éò ÞËÎÕÛ øÐèïìíè÷                      î ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò é                                           ëë
  í   Ê·--»® ¿²¼ ß--±½·¿¬»- ÐÔÔÝ                          í Û´·¶¿¸ ×²ª±·½»-
  ì   îìèð ìì¬¸ Í¬®»»¬ ÍÛô Í«·¬» ïëð                      ì ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò è                                           ëç
  ë   Õ»²¬©±±¼ô Ó·½¸·¹¿² ìçëïî                            ë ØÔÊ ×²ª±·½»- Ú®±³ êñïèñïíóïñíïñïé
  ê   øêïê÷ ëíïóçèêð                                      ê
  é   ¾¾«®µ»àª·--»®´»¹¿´ò½±³                              é
  è     ß°°»¿®·²¹ ±² ¾»¸¿´º ±º ¬¸» Ð´¿·²¬·ºº-ò            è       øÛ¨¸·¾·¬- ¿¬¬¿½¸»¼ ¬± ¬®¿²-½®·°¬ò÷
  ç                                                       ç
 ïð   ÓÍò ÝÑÔÔÛÛÒ Øò ÞËÎÕÛ øÐêíèëé÷                      ïð
 ïï   Ý±´´·²- Û·²¸±®² Ú¿®®»´´ ÐÝ                         ïï
 ïî   ìððð Ì±©² Ý»²¬»® Ú´±±® ç                           ïî
 ïí   Í±«¬¸º·»´¼ô Ó·½¸·¹¿² ìèðéë                         ïí
 ïì   øîìè÷ íëëóìïìï                                     ïì
 ïë   ½±´´»»²ò¾«®µ»à½»º´¿©§»®-ò½±³                       ïë
 ïê     ß°°»¿®·²¹ ±² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬ Õ»´´§ Ð¿¹»ò ïê
 ïé                                                      ïé
 ïè   ÓÎò ÎÑÞÛÎÌ ßò ÝßÔÔßØßÒ øÐìéêðð÷                    ïè
 ïç   Ð´«²µ»¬¬ Ý±±²»§                                    ïç
 îð   çëð Ì®¿¼» Ý»²¬®» É¿§ô Í«·¬» íïð                    îð
 îï   Ð±®¬¿¹»ô Ó·½¸·¹¿² ìçððî                            îï
 îî   øîêç÷ íèîóëçíë                                     îî
 îí   ®½¿´´¿¸¿²à°´«²µ»¬¬½±±²»§ò½±³                       îí
 îì     ß°°»¿®·²¹ ±² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬ Í¬»©¿®¬ò    îì
 îë   ßÔÍÑ ÐÎÛÍÛÒÌæ Þ±¾ Þ¿µ»®                            îë
                                                      Ð¿¹» í                                                            Ð¿¹» ë
  ï           ÌßÞÔÛ ÑÚ ÝÑÒÌÛÒÌÍ                                 ï   Ù®¿²¼ Î¿°·¼-ô Ó·½¸·¹¿²
  î   É·¬²»--               Ð¿¹»                                î   ß°®·´ ïèô îðïé
  í   ÜÑÒßÔÜ Ê×ÍÍÛÎ                                             í   ß¾±«¬ ïðæðð ¿ò³ò
  ì                                                             ì                 ÜÑÒßÔÜ Ê×ÍÍÛÎô
  ë                                                             ë   ¸¿ª·²¹ º·®-¬ ¾»»² ¼«´§ -©±®²ô ©¿- »¨¿³·²»¼ ¿²¼ ¬»-¬·º·»¼
  ê           ÛÈßÓ×ÒßÌ×ÑÒÍ                                      ê   ±² ¸·- ±¿¬¸ ¿- º±´´±©-æ
  é   É·¬²»--               Ð¿¹»                                é        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ï
  è   ÛÈßÓ×ÒßÌ×ÑÒ ÞÇ ÓÍò ÝÑÔÔÛÛÒ ÞËÎÕÛ                    ì     è        Ü»°±-·¬·±² Ò±¬·½»
  ç                                                             ç        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ
 ïð                                                            ïð   ÛÈßÓ×ÒßÌ×ÑÒ ÞÇ ÓÍò ÞËÎÕÛæ
 ïï               ÛÈØ×Þ×ÌÍ                                     ïï     Ïò Í·®ô ½¿² §±« °´»¿-» -¬¿¬» §±«® º«´´ ²¿³» º±® ¬¸»
 ïî   Û¨¸·¾·¬                       Ð¿¹»                       ïî   ®»½±®¼ò
 ïí   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ï                   ë             ïí     ßò Ü±²¿´¼ Îò Ê·--»®ò
 ïì    Ü»°±-·¬·±² Ò±¬·½»                                       ïì     Ïò Ô»¬ ¬¸» ®»½±®¼ ®»º´»½¬ ¬¸¿¬ ¬¸·- ·- ¬¸»
 ïë   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò î                   îð            ïë   ¼»°±-·¬·±² ±º Ó®ò Ü±²¿´¼ Ê·--»® ¬¿µ»² °«®-«¿²¬ ¬± ²±¬·½»
 ïê    Ûó³¿·´-                                                 ïê   ¿²¼ ¿¹®»»³»²¬ ±º ½±«²-»´ ¿²¼ ¬± ¾» «-»¼ º±® ¿´´ ·²¬»²¼»¼
 ïé   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò í                   íí            ïé   °«®°±-»- «²¼»® ¬¸» Ó·½¸·¹¿² Ý±«®¬ Î«´»- ±® × -¸±«´¼ -¿§
 ïè    Ó®ò Ê·--»®ù- Ì®¿²-½®·°¬ ±º Î»½±®¼»¼ Ø»¿®·²¹             ïè   ¬¸» Ú»¼»®¿´ Ý±«®¬ Î«´»- ¿²¼ ¬¸» Ú»¼»®¿´ Î«´»- ±º
 ïç   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ì                   íé            ïç   Ûª·¼»²½»ò Ù±±¼ ³±®²·²¹ô Ó®ò Ê·--»®ò
 îð    Ì»´»°¸±²» Ý±²º»®»²½» Ì®¿²-½®·¾»¼ ¾§ Ý±«®¬ Î»°±®¬»®      îð     ßò Ù±±¼ ³±®²·²¹ò
 îï   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ë                   íè            îï     Ïò Ü± × ®»¿´´§ ²»»¼ ¬± °«¬ ¬¸» ®«´»- º±® ¿
 îî    ßºº·¼¿ª·¬ ±º Ü±²¿´¼ Ê·--»®                              îî   ¼»°±-·¬·±² ±² ¬¸» ®»½±®¼ ±® §±« ¬¸·²µ §±« ¹±¬ ¬¸»³á
 îí   ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ê                   ëë            îí     ßò Í±³» °»±°´» -¿§ × ¼±²ù¬ ¸¿ª» ¿²§¬¸·²¹ ¿¬ ¿´´ -±
 îì    ØÔÊ ×²ª±·½»- º®±³ Ê·--»® ú ß--±½·¿¬»- éñçñðçóêñîìñïê    îì   »ª»®§ ¬·³» × ¹± ·²¬± ¿ ¼»°±-·¬·±² ¬¸»§ ¬»´´ ³» × ¸¿ª» ·¬
 îë                                                            îë   ©®±²¹ò ×ù³ ¶«-¬ ¾»·²¹ º¿½»¬·±«-ò ×ù³ ¹±±¼ò

                                                                                                           î øÐ¿¹»- î ó ë÷
                                              Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                               çéíóìïðóìðìð
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                                                                Ð¿¹» ê                                                           Ð¿¹» è
   ï   Ïò Ñµ¿§ò Ó®ò Ê·--»®ô §±« ¿®» ¬¸» ¿¬¬±®²»§ ±º ®»½±®¼                ï     ßò Ô¿-¬ §»¿®ò
   î º±® ØÔÊô Ô¿²¼©±®¬¸§ô ¿²¼ Ó®ò Þ¿µ»® ·² ¬¸» ØÔÊ ª»®-«-                 î     Ïò É¸¿¬ ¬§°» ±º ³¿¬¬»® ©¿- ·¬á
   í Õ»´´§ Ð¿¹»ô »¬ ¿´ ³¿¬¬»® ¬¸¿¬ù- º·´»¼ ·² Ë²·¬»¼ Í¬¿¬»-               í     ßò Ì¸¿¬ ©¿- ®»´¿¬·ª» ¬± Ó®ò Þ»¼º±®¼ù- ¿´´»¹»¼
   ì Ü·-¬®·½¬ Ý±«®¬ º±® ¬¸» ©»-¬»®² ¼·-¬®·½¬ ±º Ó·½¸·¹¿²ô                 ì   -´¿²¼»®±«- ½±³³»²¬-ò
   ë ½±®®»½¬á                                                             ë     Ïò É¿- ¬¸»®» ¿ ´¿©-«·¬ ·²ª±´ª»¼ ©·¬¸ ¬¸¿¬á
   ê   ßò Ì¸¿¬ù- ½±®®»½¬ò                                                 ê     ßò Ì¸»®» ©¿-ò
   é   Ïò ß²¼ §±« ¿®» ¿´-± ¬¸» ¿¬¬±®²»§ ±º ®»½±ª»®»¼ º±®                  é     Ïò É¸»®» ©¿- ¬¸¿¬ ´¿©-«·¬ º·´»¼á
   è ØÔÊ ·² «²¼»®´§·²¹ ½¿-» ©¸·½¸ ©¿- ØÔÊ ª»®-«- ÛÔÝ ¬¸¿¬ ©¿-             è     ßò Ê¿² Þ«®»² Ý±«²¬§ò
   ç º·´»¼ ·² Ê¿² Þ«®»² Ý±«²¬§ Ý·®½«·¬ Ý±«®¬ô ½±®®»½¬á                    ç     Ïò Ì¸¿¬ ³¿¬¬»® ©¿- ®»-±´ª»¼ ©¿- ·¬ ²±¬á
  ïð   ßò × ©¿- ¿¬ -±³» °±·²¬ò                                           ïð     ßò ×¬ ©¿-ò
  ïï   Ïò ß¬ -±³» °±·²¬ô ±µ¿§ò É¸¿¬ ©¿- ¬¸» ¬·³» °»®·±¼                  ïï     Ïò Ø±© ©¿- ·¬ ®»-±´ª»¼á
  ïî ¬¸¿¬ §±« ©»®» ¬¸» ¿¬¬±®²»§ ±º ®»½±®¼ º±® ØÔÊá                       ïî     ßò ×¬ ©¿- ¼·-³·--»¼ò
  ïí   ßò × ©±«´¼²ù¬ µ²±© »¨¿½¬´§ ¾«¬ ·¬ ©±«´¼ ¸¿ª» ¾»»² ·²              ïí     Ïò Ø±© ©¿- ·¬ ¼·-³·--»¼á É¿- ·¬ ª±´«²¬¿®·´§ô ©¿- ·¬
  ïì ¬¸» ³±®» ½±²¬»²¬·±«- -¬¿¹»- ±º ¬¸» ´·¬·¹¿¬·±² ¿º¬»® ¬¸»             ïì   ¾§ ³±¬·±²á
  ïë ¼»º¿«´¬ ¿²¼ »²º±®½»³»²¬ò                                            ïë     ßò Ò±ò Ø±© ¼± × ¿²-©»® ¬¸¿¬ ¯«»-¬·±²á Þ§ ±®¼»®ô
  ïê   Ïò É»®» §±« ¬¸» ¿¬¬±®²»§ ±º ®»½±®¼ ¿¬ ¬¸» ¬·³» ¬¸¿¬               ïê   §±« µ²±©ò ×¬ ©¿- ¾§ ³±¬·±²ò
  ïé ¿ -»¬¬´»³»²¬ ©¿- »²¬»®»¼ ±² ¬± ¬¸» ®»½±®¼á                          ïé     Ïò É¿- Ó®ò Þ¿µ»® ¬¸» Ð´¿·²¬·ºº ·² ¬¸¿¬ ½¿-» ±® ¬¸»
  ïè   ßò × ©¿- ²±¬ò                                                     ïè   Ü»º»²¼¿²¬á
  ïç   Ïò É¸± ©¿- §±«® °®»¼»½»--±®á                                      ïç     ßò Ð´¿·²¬·ººò
  îð   ßò Ì¸¿¬ ©¿- Ü±²±ª¿² Ê·--»®ò                                       îð     Ïò ß²¼ ·¬ ©¿- ¾§ Ü»º»²¼¿²¬ù- -«³³¿®§ ¼·-°±-·¬·±²
  îï   Ïò ß²¼ Ü±²±ª¿² Ê·--»® ·- §±«® -±² ¿²¼ ´¿© °¿®¬²»®á                îï   ³±¬·±²á
  îî   ßò Ç»¿¸ ©»´´ ¸»ù- ³§ -±² ¿²¼ ¸» ·- ¿² »³°´±§»» ±º                 îî     ßò ×¬ ©¿-ò
  îí ¬¸» º·®³ò                                                           îí     Ïò Ø¿ª» §±« ®»°®»-»²¬ óó ±® §±« ±® §±«® º·®³
  îì   Ïò Þ«¬ §±«® º·®³ óó ¼·¼ §±«® º·®³ ®»°®»-»²¬ ¬¸»                   îì   ®»°®»-»²¬»¼ Ô¿²¼©±®¬¸§ Ý±²¬¿·²»® ·² ¿²§ ±¬¸»® ³¿¬¬»®
  îë Ð´¿·²¬·ºº- ½±²¬·²«±«-´§ ·² ¬¸» Ê¿² Þ«®»² Ý±«²¬§ Ý·®½«·¬             îë   ±¬¸»® ¬¸¿² ¬¸» ±²» ©»ù®» ¸»®» º±® ¬±¼¿§á
                                                                Ð¿¹» é                                                           Ð¿¹» ç
   ï ³¿¬¬»® º®±³ -¬¿®¬ ¬± º·²·-¸á                                         ï      ßò Ò±¬ ¬¸¿¬ × ¿³ ¿©¿®» ±ºò
   î   ßò × ¾»´·»ª»ô ¿¹¿·²ô ×ù³ ²±¬ »¨¿½¬´§ -«®» »²¬·®»´§                 î      Ïò Ø¿ª» §±« ®»°®»-»²¬»¼ Ó®ò Ø±©¿®¼ Ê±±®¸»»- ·² ¿²§
   í ©¸¿¬ ¸¿°°»²»¼ ¾»º±®» × ¹±¬ ·²ª±´ª»¼ ¾«¬ ¬¸¿¬ ©±«´¼ ¾» ³§             í   ³¿¬¬»® ±® × -¸±«´¼ -¿§ ¸¿ª» §±« ®»°®»-»²¬»¼ Ó®ò Ê±±®¸»»-
   ì ¾»´·»ºò                                                              ì   ±® ¿²§ ±º ¬¸» ½±³°¿²·»- ¬¸¿¬ ¸» ·- ¬¸» ³¿¶±®·¬§
   ë   Ïò Ø±© ´±²¹ ¸¿- §±«® º·®³ ®»°®»-»²¬»¼ ØÔÝ ±® ØÔÊá                  ë   -¸¿®»¸±´¼»® ±® ±©²»® ±º ·² ¿²§ ±¬¸»® ³¿¬¬»® ±¬¸»® ¬¸¿²
   ê   ßò × ©±«´¼²ù¬ ¾» ¿¾´» ¬± ¬»´´ §±« ¬¸¿¬ ·² §»¿®-ò ×¬                ê   ¬¸» ±²» ©»ù®» ¸»®» º±® ¬±¼¿§á
   é ©±«´¼ ¾» º®±³ ¬¸» ·²½»°¬·±² ±º ØÔÊ ¬¸±«¹¸ -± ³§ ¹«»-- ·-             é            ÓÎò ÝßÔÔßØßÒæ É±«´¼ ¬¸¿¬ ¾» Ø¿®±´¼
   è ©» ½±«´¼ °·² ¬¸¿¬ ¼±©² ¾§ ´±±µ·²¹ ¿¬ ©¸»² ØÔÊ ©¿- º±®³»¼             è   Ê±±®¸»»-á
   ç ©·¬¸ ÔßÎßò                                                           ç            ÓÍò ÞËÎÕÛæ Í±®®§ô Ø¿®±´¼ò
  ïð   Ïò É¸¿¬ -±®¬ ±º ©±®µ ¸¿ª» §±« ¼±²» º±® ØÔÊá                       ïð            ÌØÛ É×ÌÒÛÍÍæ Ø¿®±´¼ Ê±±®¸»»-ô §»-ò
  ïï   ßò Ü®¿º¬·²¹ô ´·¬·¹¿¬·±²ô ½±²-«´¬·²¹ò                              ïï   ÞÇ ÓÍò ÞËÎÕÛæ
  ïî   Ïò Ø¿- º±® ´¿½µ ±º ¿ ¾»¬¬»® ¼»-½®·°¬·±² ¸¿- ØÔÊ                   ïî      Ïò ß²¼ ©¸¿¬ ±¬¸»® ®»°®»-»²¬¿¬·±²- ¸¿ª» §±« °®±ª·¼»¼
  ïí ¿´©¿§- ¾»»² §±«® ½´·»²¬ ¿- ±°°±-»¼ ¬± -±³»¾±¼§ »´-» ¿¬              ïí   ¬± Ó®ò Ê±±®¸»»- ±® ¸·- ½±³°¿²·»-á
  ïì ¬¸» º·®³á                                                           ïì      ßò Ü®¿º¬·²¹ô ´·¬·¹¿¬·±²ô ¿²¼ ½±²-«´¬¿¬·±²ò
  ïë   ßò × ¹«»-- ×ùª» ²»ª»® ¬¸±«¹¸¬ ±º ·¬ ·² ¬¸¿¬ º¿-¸·±²ò              ïë      Ïò É¸¿¬ ±¬¸»® ½±³°¿²·»- ±¬¸»® ¬¸¿² ØÔÊ ¸¿ª» §±«
  ïê ß º·®³ ½´·»²¬ò                                                      ïê   ®»°®»-»²¬»¼ ©¸»®» Ó®ò Ê±±®¸»»- ¸¿- ¾»»² ¬¸» ±©²»® ±ºá
  ïé   Ïò Ñµ¿§ò É¸¿¬ ©±®µ ¸¿ª» §±« ¼±²» º±® ØÔÊá                         ïé      ßò Ì¸» »²¬·¬§ ½¿´´»¼ ×ÎÑÔ ·¬ù- ×óÎóÑóÔò × ¾»´·»ª»
  ïè   ßò ß´´ ±º ¬¸±-» ´·¬·¹¿¬·±²ô ½±²-«´¬¿¬·±²ô ¼®¿º¬·²¹ò               ïè   ·¬ù- ¿² ÔÔÝò ×¬ ©¿- °®»ª·±«-´§ µ²±© ¿- Í»®ªóËóÍ«½½»--ô
  ïç   Ïò Í·²½» ¬¸» ·²½»°¬·±² ±º ØÔÊá                                    ïç   ÔÔÝò ß´-± ×ÎÑÔ Ô±¹·-¬·½-ò
  îð   ßò Ý±®®»½¬ò                                                       îð      Ïò ß²§ ±¬¸»®-á
  îï   Ïò Ø¿ª» §±« ®»°®»-»²¬»¼ Ó®ò Þ¿µ»® ¿- ¿² ·²¼·ª·¼«¿´                îï      ßò ØÔÊ Æ»»´¿²¼ò
  îî ·² ¿²§ ±¬¸»® ½¿-» ±¬¸»® ¬¸¿² ¬¸» ±²» ¬¸¿¬ ©»ù®» ¸»®» º±®            îî      Ïò Ò»© Æ»¿´¿²¼á
  îí ¬±¼¿§á                                                              îí      ßò Æ»»´¿²¼ ¿²¼ ØÔÊ Ø±´´¿²¼ò Ì¸¿¬ù- ¿´´ ¬¸¿¬ ½±³» ¬±
  îì   ßò × ¾»´·»ª» -±ò Ñ²» ¬¸¿¬ × ½¿² ®»½¿´´ò                           îì   ³·²¼ ®·¹¸¬ ²±©ò
  îë   Ïò É¸»² ©¿- ¬¸¿¬á                                                 îë      Ïò ß®» ¿´´ ¬¸»-» »²¬·¬·»- ¿®» ¬¸»§ ¿´´ ·² ¿ -·³·´¿®

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                                                       Ð¿¹» ïð                                                           Ð¿¹» ïî
   ï   ¾«-·²»-- ±® ¿®» ¬¸»§ ¿´´ ¼·ºº»®»²¬ ¾«-·²»--»-á             ï     ßò Ê¿´°¿®¿·-± Ë²·ª»®-·¬§ò
   î      ßò ß´´ ¼·ºº»®»²¬ò                                       î     Ïò ß²¼ ²±© ©» ¿®» ¿¬ §±«® ´¿© ±ºº·½» ¸»®» ·² Ù®¿²¼
   í      Ïò Ñµ¿§ò ×ÎÑÔô ÔÔÝ ©¸¿¬ ¬§°» ±º ¾«-·²»-- ·- ¬¸¿¬á       í   Î¿°·¼-á
   ì      ßò ×ÎÑÔ ·- ¿ ©·²¼ «° ¾«-·²»--ò Ó¿§ ²±¬ óó ©» ³¿§        ì     ßò Ý±®®»½¬ò
   ë   ¸¿ª» »ª»² ½±³°´»¬»¼ ¬¸» ©·²¼ «° ×ù³ ²±¬ -«®» º®±³ ¿²       ë     Ïò Ø±© ´±²¹ ¸¿ª» §±« ±©²»¼ §±«® ±©² °®¿½¬·½»á
   ê   »²¬·¬§ °®»ª·±«-´§ µ²±©² ¿- Í»®ªóËóÍ«½½»--ò                 ê     ßò Í·²½» × ¹®¿¼«¿¬»¼ò Ð®±¾¿¾´§ -·²½» × ©¿- ¿¼³·¬¬»¼
   é      Ïò É¸¿¬ ¬§°» ±º ¾«-·²»-- ·- ·¬á                         é   ¬± ¬¸» ¾¿®ò
   è      ßò ×¬ ©¿- ·² ¬¸» ½±±µ·»-ô ½®¿½µ»®- ¿²¼ ¾¿-·½¿´´§ ¿      è     Ïò É¸¿¬ §»¿® ©»®» §±« ¿¼³·¬¬»¼ ¬± ¬¸» ¾¿®á
   ç   º±±¼ -«°°´§ ¾«-·²»--ò                                      ç     ßò ïçééò
  ïð      Ïò ×ÎÑÔ Ô±¹·-¬·½- ©¸¿¬ ¬§°» ±º ¾«-·²»-- ©¿- ¬¸¿¬       ïð     Ïò É¸¿¬ ¬§°» ±º ´¿© ¼± §±« °®¿½¬·½»ô -·®á
  ïï   »²¬·¬§á                                                   ïï     ßò × °®¿½¬·½» ¿ ¹±±¼ ¼»¿´ ±º ®»¿´ »-¬¿¬»ô °®¿½¬·½» ¿
  ïî      ßò Ì®«½µ·²¹ ¿- ¾¿-·½¿´´§ ®»´¿¬»¼ ¬± ¬¸» óó ³«½¸ ±º     ïî   ¹±±¼ ¼»¿´ ±º ¬¸» ¾«-·²»-- ´·¬·¹¿¬·±² ®»´¿¬»¼ò
  ïí   ·¬ ©¿- ®»´¿¬»¼ ¬± ¬¸» -¸·°°·²¹ ±º ¬¸» ½±±µ·»- ¿²¼         ïí   Ñ½½¿-·±²¿´´§ ¹»¬ ·²ª±´ª»¼ ·² ¿ ¼·-½·°´·²¿®§ ½¿-»ò
  ïì   ½®¿½µ»®- ¿²¼ -·³·´¿® ¬¸·²¹-ò                              ïì     Ïò Ç±« ¼± ¬¸» ¼»º»²-» ©±®µ º±® ¬¸¿¬á
  ïë      Ïò É¸¿¬ ¿¾±«¬ ØÔÊ Æ»»´¿²¼á                             ïë     ßò Ò±ô × ¶«-¬ ±½½¿-·±²¿´´§ ¹»¬ ·²ª±´ª»¼ ·² ¬¸» ´¿-¬
  ïê      ßò Î»¿´ »-¬¿¬» ¼»ª»´±°³»²¬ò                            ïê   §»¿®ò
  ïé      Ïò ß²¼ ØÔÊ Ø±´´¿²¼á                                    ïé     Ïò Í± §±« -»®ª» ±² ßÜÞ ¸»¿®·²¹ °¿²»´-á
  ïè      ßò Î»¿´ »-¬¿¬» ¼»ª»´±°³»²¬ò                            ïè           ÓÎò ÝßÔÔßØßÒæ Ç±« º·´»¼ ¿ ¹®·»ª¿²½»á
  ïç      Ïò Ç±« ³»²¬·±²»¼ ¬¸¿¬ §±«ùª» ¾»»² ·²ª±´ª»¼ ·²          ïç           ÌØÛ É×ÌÒÛÍÍæ × ¸¿ª»ò
  îð   ´·¬·¹¿¬·±² ©·¬¸ Ó®ò Ê±±®¸»»-ù- ½±³°¿²·»- ©¸»®» ¸¿ª»       îð   ÞÇ ÓÍò ÞËÎÕÛæ
  îï   ¬¸±-» ´·¬·¹¿¬»¼ ³¿¬¬»®- ¾»»² º·´»¼ ¿¬á                    îï     Ïò Þ«¬ ¼± §±« -·¬ ±² ¸»¿®·²¹ °¿²»´-á
  îî      ßò Ê¿² Þ«®»² Ý±«²¬§ò ×´´·²±·-ò Ì¸±-» ¿®» ¬¸» ±²´§      îî     ßò × ¼± ²±¬ò
  îí   ±²»- ¬¸¿¬ ½±³» ¬± ³·²¼ ®·¹¸¬ ²±©ò                         îí     Ïò ß²¼ ¬¸» ¼·-½·°´·²¿®§ ©±®µ §±«ù®» ®»º»®®·²¹ ¬± ¬¸»
  îì      Ïò Ø±© ³¿²§ ½¿-»- ©»®» º·´»¼ ·² Ê¿² Þ«®»² Ý±«²¬§á      îì   ¹®·»ª¿²½»- ¬¸¿¬ §±« º·´»¼ ¿¹¿·²-¬ Ó®ò Ø¿³®»ô
  îë      ßò × ¾»´·»ª» ¶«-¬ ±²»ò                                 îë   Ó®ò Í¬»©¿®¬ô ¿²¼ Ó®ò Ð¿¹»ô ½±®®»½¬á
                                                       Ð¿¹» ïï                                                           Ð¿¹» ïí
  ï      Ïò Ì¸» ØÔÊ ª»®-«- ÛÔÝá                                   ï      ßò Ì¸¿¬ ·- ½±®®»½¬ò
  î      ßò Ç»-ò                                                  î      Ïò ×ù³ ¹±·²¹ ¬± -¸±© §±« ©¸¿¬ × ³¿®µ»¼ óó
  í      Ïò Ø±© ³¿²§ ·² ×´´·²±·-á                                 í      ßò × -¿§ ¬¸¿¬ ©·¬¸ ¿ ´·¬¬´» ©®§ -³·´» ¾»½¿«-» ·¬ ¸¿-
  ì      ßò Ü·¼ ²±¬ º·´» ±²» ©» ®»-°±²¼»¼ ¬± ±²» ·² ×´´·²±·-      ì   »²¼»¼ «° ¬¿µ·²¹ ¿ ´±¬ ³±®» ±º ³§ ¬·³» ¬¸·- °¿-¬ §»¿®ò
  ë    -± ·¬ ©±«´¼ ¾» -·²¹«´¿® ±²»ò                               ë   ×¬ ¸¿- ²±© ¾»½±³» ¿² ¿®»¿ ±º ³§ °®¿½¬·½» × ¹«»--ò
  ê      Ïò É¸»®» ©¿- ¬¸¿¬ ±²» ¿¬á                                ê      Ïò Ú·´·²¹ ¹®·»ª¿²½»-á
  é      ßò × ¬¸·²µ ¬¸» ³·¼¼´» ¼·-¬®·½¬ò                          é      ßò Ì¸·- °¿®¬·½«´¿® °®±¾´»³ ©·¬¸ ¿ ½±«°´» ±º
  è      Ïò Í± ·² º»¼»®¿´ ½±«®¬á                                  è   ·²¼·ª·¼«¿´-ô §»-ò
  ç      ßò ×¬ ©¿-ò                                               ç      Ïò Í¸±© §±« ©¸¿¬ × ³¿®µ»¼ ¿- Ü»°±-·¬·±² Û¨¸·¾·¬ ï
 ïð      Ïò É¸¿¬ »²¬·¬§ô ©¸¿¬ Ê±±®¸»»- »²¬·¬§ ©¿- º·´»¼ ·²       ïð   ¿²¼ ¬¸·- ·- ¿ ²±¬·½» º±® §±«® ¼»°±-·¬·±² ¸»®» ¬±¼¿§ ¿²¼
 ïï    º»¼»®¿´ ½±«®¬ ·² ×´´·²±·-á                                ïï   × ¿-µ»¼ §±« ¾®·²¹ ¿ ²«³¾»® ±º ·¬»³- ©·¬¸ §±«á
 ïî      ßò Ì¸¿¬ ©¿- ×ÎÑÔò                                       ïî      ßò Ý±®®»½¬ò
 ïí      Ïò É¸·½¸ ±²»á                                           ïí      Ïò Ì¸» º·®-¬ ±²» × ¿-µ»¼ ¿´´ ª·¼»± ±® ¿«¼·±
 ïì      ßò ×ÎÑÔò                                                ïì   ®»½±®¼·²¹- ±º ¿²§ ³»»¬·²¹-ô °®±½»»¼·²¹-ô ¬»´»°¸±²» ½¿´´
 ïë      Ïò ÔÔÝ ±® Ô±¹·-¬·½-á                                    ïë   ·²¬»®ª·»© ±® ¿²§ ±¬¸»® »ª»²¬ ·²ª±´ª·²¹ Ð´¿·²¬·ºº-
 ïê      ßò Ñ¸ ÔÔÝ ×ù³ -±®®§ò                                    ïê   ¼·-°«¬» ©·¬¸ ÛÔÝ ´»¿-·²¹ ±«¬ ±º ¬¸» Ê¿² Þ«®»² Ý±«²¬§
 ïé      Ïò É¸»² ©¿- ¬¸¿¬ ½¿-» º·´»¼á                            ïé   Ý·®½«·¬ Ý±«®¬ ³¿¬¬»® ¬¸¿¬ ©» ³»²¬·±²»¼ò Ü·¼ §±« ¾®·²¹
 ïè      ßò × ¼±²ù¬ µ²±© ®·¹¸¬ ±ºº ¬¸» ¬±° ±º ³§ ¸»¿¼ò           ïè   ¿²§¬¸·²¹ ®»-°±²-·ª» ¬± ¬¸¿¬á
 ïç    Í»ª»®¿´ §»¿®- ¿¹±ò                                        ïç      ßò × ¸¿ª» ²± °¸§-·½¿´ ¼±½«³»²¬- ±¬¸»® ¬¸¿² ¬¸»ô ¿²¼
 îð      Ïò Ø¿ª» ©» ¬¿´µ»¼ ¿¾±«¬ ¿´´ ¬¸» ´·¬·¹¿¬·±² ¬¸¿¬ §±«     îð   × ½¿² ³¿µ» ¿²±¬¸»® ½±°§ ±º ·¬ ·º §±« ©·-¸ô ¿²¼ ¬¸¿¬ ·-
 îï    ¸¿ª» ¾»»² ·²ª±´ª»¼ ·² ¿- ¿¬¬±®²»§ ±º ®»½±®¼ º±® »·¬¸»®    îï   ¬¸» ÝÜ ®»½±®¼·²¹ ©¸·½¸ ©¿- ¿ ¼·¹·¬¿´ ®»½±®¼·²¹ ¬¸¿¬ ©¿-
 îî    ØÔÊô Ó®ò Þ¿µ»®ô Ô¿²¼©±®¬¸§ Ý±²¬¿·²»®ô Ó®ò Ê±±®¸»»- ±®     îî   °®±ª·¼»¼ »¿®´·»®ò
 îí    ¿²§ ±¬¸»® ½±³°¿²§ ±©²»¼ ¾§ Ó®ò Ê±±®¸»»-á                  îí      Ïò ß²¼ ¬¸¿¬ù- ±º ¬¸» Ó¿§ ½±²º»®»²½» ½¿´´ ©·¬¸ Ö«¼¹»
 îì      ßò ß¬ ´»¿-¬ ¿- ³§ ³»³±®§ ¿´´±©- ³» ®·¹¸¬ ²±©ô §»-ò      îì   Ø¿³®»á
 îë      Ïò Ñµ¿§ò Í·®ô ©¸»®» ¼·¼ §±« ±¾¬¿·² §±«® ´¿© ¼»¹®»»á     îë      ßò Ç»- ³¿ù¿³ò

                                                                                                          ì øÐ¿¹»- ïð ó ïí÷
                                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                 çéíóìïðóìðìð
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                                                        Ð¿¹» ïì                                                          Ð¿¹» ïê
  ï     Ïò Ü·¼ §±« ®»½±®¼ ¿²§ ±¬¸»® ³»»¬·²¹-ô °®±½»»¼·²¹-ô         ï   ½±°§ ®±±³ò Ì¸»§ù®» ¸»¿ª·´§ ®»¼¿½¬»¼ ¾«¬ × ¼± ¸¿ª» ¬¸»³ò
  î   ¬»´»°¸±²» ½¿´´ ·²¬»®ª·»© ±® ¿²§¬¸·²¹ »´-» ±¬¸»® ¬¸¿²         î     Ïò Í± ©» ½¿² ¹»¬ ¬¸±-» ³¿§¾» ¿¬ ¿ ¾®»¿µá
  í   ¬¸¿¬ Ó¿§ ½±²º»®»²½» ½¿´´ ·² ¬¸» ØÔÊ ª»®-«- ÛÔÝ ³¿¬¬»®á       í     ßò Ç»°ò
  ì   Ü·¼ §±« ®»½±®¼ ¿²§¬¸·²¹ »´-»á                                ì     Ïò Ì¸»² ¬¸» ®»¬¿·²»® ¿¹®»»³»²¬ ¾»¬©»»² §±« ±® §±«®
  ë     ßò Ò±¬ ¬¸¿¬ × ®»½¿´´ò                                      ë   º·®³ ¿²¼ ØÔÊ ®»´¿¬·ª» ¬± ¬¸» Ê¿² Þ«®»² Ý·®½«·¬ Ý±«®¬
  ê     Ïò Ì¸»² × ¿-µ»¼ º±® ¿´´ ®»½±®¼·²¹ ¼»ª·½»- «-»¼ ¬±          ê   ³¿¬¬»®á
  é   ®»½±®¼ ¬¸» »ª»²¬- ·¼»²¬·º·»¼ ·² ²«³¾»® ±²» ¼·¼ §±« ¾®·²¹     é     ßò ß¹¿·²ô × ©±«´¼ ²±¬ ¸¿ª» ±²» º±® ¬¸¿¬ º·´» »·¬¸»®ò
  è   ¬¸¿¬ ©·¬¸ §±«á                                               è     Ïò ß²¼ ¬¸»² ²«³¾»® -»ª»² ·²ª±·½»- ¿²¼ -¬¿¬»³»²¬- ¾§
  ç     ßò × ¼·¼ò                                                  ç   §±«® º·®³ ®»´¿¬·ª» ¬± ¬¸» ØÔÊ ª»®-«- ÛÔÝ Ê¿² Þ«®»²
 ïð     Ïò ß²¼ §±« ¸¿ª» ¿ Ü·½¬¿°¸±²»á                             ïð   Ý·®½«·¬ Ý±«®¬ ³¿¬¬»® ·- ¬¸¿¬ ¿´-± ±² ¬¸» ½±°·»®á
 ïï     ßò × ¸¿ª» ¿ Ü·½¬¿°¸±²» ·¬ù- ¿² Ñ´§³°«- ÜÍóëðððò           ïï     ßò ×-²ù¬ ¬¸¿¬ ©¸¿¬ §±« ¶«-¬ ¿-µ»¼ ³»á ×ù³ -±®®§ò
 ïî     Ïò ß²¼ ¬¸¿¬ù- ©¸¿¬ ©¿- «-»¼ ¬± ®»½±®¼ óó                  ïî     Ïò Ò±ô × ¿-µ»¼ º±® ·²ª±·½»- ·² ¬¸» °®»-»²¬ ³¿¬¬»®
 ïí     ßò Ì¸¿¬ù- ½±®®»½¬ò                                        ïí   ¿²¼ ¬¸»² × ¿-µ»¼ º±® ·²ª±·½»- ·² ¬¸» «²¼»®´§·²¹ ³¿¬¬»®ò
 ïì     Ïò óó ¬¸» Ó¿§ ïð¬¸ô îðïí ½±²º»®»²½» ½¿´´ô ¬®«»á           ïì     ßò Ç»-ò
 ïë     ßò ×ù³ ¯«·¬» ½»®¬¿·² ¬¸¿¬ ·¬ ©¿-ò × ¸¿¼ ¿ ²«³¾»® ±º       ïë     Ïò Ñµ¿§ò Ì¸»² ¿´´ ¼±½«³»²¬-ô ²«³¾»® »·¹¸¬ô ¿´´
 ïê   Ñ´§³°«- ¼·¹·¬¿´ ®»½±®¼»®- ¾»º±®» ¿²¼ × ¬¸·²µ × ¸¿¼ ¬¸¿¬     ïê   ¼±½«³»²¬- ¬¸¿¬ -¸±© °¿§³»²¬ º±® ¬¸» ´»¹¿´ -»®ª·½»-
 ïé   ±²» ¿¬ ¬¸·- ¬·³»ò ×¬ ³·¹¸¬ ¸¿ª» ¾»»² ¿ ìðððò                ïé   °®±ª·¼»¼ ¾§ §±«® º·®³ ±® §±« ·² ¬¸» Ê¿² Þ«®»² Ý·®½«·¬
 ïè     Ïò Þ«¬ ·¬ ©¿- ¿ ¼·¹·¬¿´ ®»½±®¼»®á                         ïè   Ý±«®¬ ³¿¬¬»®á
 ïç     ßò Ç»-ô ·¬ ©¿- ²±¬ ¿ ¬¿°» ·¬ù- ¼·¹·¬¿´ò ×¬ ©¿-            ïç     ßò Ì¸» ±²´§ ¬¸·²¹ ¬¸¿¬ ©±«´¼ -¸±© ·¬ ·- ±² ¬¸»
 îð   ¼±©²´±¿¼»¼ ¿²¼ -¿ª»¼ ¬± ¬¸» ¼·®»½¬±®§ °®±¾¿¾´§ ©·¬¸·² îì    îð   ¾·´´·²¹ -¬¿¬»³»²¬- -¸±©·²¹ ®»½»·°¬ ±º °¿§³»²¬ò × ¼±
 îï   ¸±«®-ò                                                      îï   ²±¬ óó × ¼·¼ ²±¬ ³¿µ» ¿²§ »ºº±®¬ ¬± ®»¬®·»ª» ½¸»½µ- º®±³
 îî     Ïò Ñµ¿§ò Ì¸·®¼ ¿´´ ¼±½«³»²¬- ±® ·²º±®³¿¬·±²               îî   ¿²§ ¾¿²µ- ¿²¼ ¹»¬ ½±°§ ½±-¬ ·²½«®®»¼ ±® ¿²§¬¸·²¹ »´-»
 îí   ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ½±®®»-°±²¼»²½»ô »ó³¿·´-ô       îí   º±® ±´¼ °¿§³»²¬-ò
 îì   ³»³±-ô -«³³¿®·»-ô ²±¬»-ô °®±±º ±º °¿§³»²¬ô ¿²¼ ·²ª±·½»-     îì     Ïò Ñµ¿§ò Ô±±µ- ´·µ» ²«³¾»® ²·²» ·- ¼«°´·½¿¬·ª» ±º
 îë   -»²¬ ¬± ¿²¼ º®±³ Û´·¶¿¸ò½±³ ¿- ·¬ ®»´¿¬»- ¬± ¬¸» ®»ª·»©     îë   ²«³¾»® -·¨ -± ³§ ¿°±´±¹·»- º±® ¬¸¿¬ò
                                                        Ð¿¹» ïë                                                          Ð¿¹» ïé
  ï   ±º ÛÔÝ Ô»¿-·²¹ Ý±®° ½±³°«¬»®- ¿²¼ ®»½±®¼-á                   ï     ßò Ì¸¿¬ù- ©¸§ × ¶«³°»¼ò × ¹±¬ ´±-¬ò × ¬¸±«¹¸¬ §±«
  î      ßò Ç»-ô ³¿ù¿³ò × ¸¿ª» ¬¸±-» ®·¹¸¬ ¸»®»ò                   î   ©»®» ±² ²·²» ¿²¼ò
  í      Ïò Ì¸» ®»¬¿·²»® ¿¹®»»³»²¬ ¾»¬©»»² §±«® º·®³ ¿²¼           í     Ïò × ©¿- ¬®§·²¹ ¬± ¬®·° §±« «° ¬± -¿§ô §±« µ²±©ô ·º
  ì   Ð´¿·²¬·ººù- ®»´¿¬·ª» ¬± ¬¸» °®»-»²¬ ³¿¬¬»®á                  ì   × ¼·¼²ù¬ ½¿¬½¸ ·¬ ±² ²«³¾»® -·¨ ×ù¼ ½¿¬½¸ ·¬ ±² ²«³¾»®
  ë      ßò × ¼± ²±¬ ¾»´·»ª» × ¸¿ª» ±²»ò                           ë   ²·²»ò
  ê      Ïò Ü·¼ §±« ´±±µ º±® ±²»á                                  ê            ÓÎò ÝßÔÔßØßÒæ Ô»¬ ¬¸» ®»½±®¼ ®»º´»½¬ ¬¸¿¬
  é      ßò × ¼·¼ò                                                 é   ©¿- º¿½»¬·±«- ¬±±ò
  è      Ïò Ü± §±« ¸¿ª» ¿ ®»¬¿·²»® ¿- ¬± ¿²§ ±º ¬¸» ±¬¸»®          è            ÓÍò ÞËÎÕÛæ ß²¼ ¬¸» ½®±©¼ ´¿«¹¸»¼ -±ò Ç»¿¸
  ç   ³¿¬¬»®- ¬¸¿¬ ©» -°±µ» ±º ¬¸¿¬ §±« -»®ª»¼ ¿- ¿¬¬±®²»§ º±®     ç   × º±®¹»¬ ¸±© ¬¸·- ³¿§ ´±±µ ®»¿¼·²¹ ·¬ ´¿¬»®ò
 ïð   ØÔÊô Ó®ò Þ¿µ»®ô Ô¿²¼©±®¬¸§ Ý±²¬¿·²»®ô Ó®ò Ê±±®¸»»- ±®       ïð            ÓÎò ÝßÔÔßØßÒæ × º±®¹»¬ ·¬ ¿´´ ¬¸» ¬·³»ò
 ïï   ¿²§ ±¬¸»® Ê±±®¸»»- ½±³°¿²§ ±® »²¬·¬§á                       ïï   ÞÇ ÓÍò ÞËÎÕÛæ
 ïî      ßò Ì¸»®» ·- ¿ ½¸¿²½» ¬¸¿¬ × ¸¿ª» -«½¸ ¿² ¿¹®»»³»²¬       ïî     Ïò Ó¿§ × -»» ¬¸» ¼±½«³»²¬- ¬¸¿¬ §±« ¾®±«¹¸¬á
 ïí   ±²» ±º ³§ ª»®§ »¿®´§ º·´»- ³¿§¾» ³§ »¿®´·»-¬ º·´» ·-        ïí     ßò Í«®»ò
 ïì   ¸·¹¸´§ ¯«»-¬·±²¿¾´» ¾«¬ ±² ¿²§ ±º ¬¸» ³¿¬¬»®- ×ùª» ¼±²»     ïì     Ïò Í± Û´·¶¿¸ò½±³ ½¿² §±« ¬»´´ ³» ©¸¿¬ µ·²¼ ±º
 ïë   ±ª»® ¬¸» °¿-¬ ¬»² §»¿®- × ¼±²ù¬ ¾»´·»ª» ×ùª» »ª»® ¸¿¼ ¿     ïë   ½±³°¿²§ ¬¸¿¬ ·- ±® Û´·¶¿¸ Ô·³·¬»¼á
 ïê   ®»¬¿·²»® ¿¹®»»³»²¬ ©·¬¸ ¿²§ ±º Ó®ò Ê±±®¸»»-ù- ³¿¬¬»®-ò      ïê     ßò ×¬ù- ¿ º±®»²-·½ ×Ì º·®³ò
 ïé      Ïò Ü± §±« ©±®µ ±² ¿ º´¿¬ º»» º±® Ó®ò Ê±±®¸»»- ±® ·-      ïé     Ïò ß²¼ §±« ½±²¬¿½¬»¼ ¬¸»³ ®»¹¿®¼·²¹ ¬¸» «²¼»®´§·²¹
 ïè   ·¬ ¿ ¸±«®´§ ¾¿-·-á                                          ïè   ½¿-»ô ½±®®»½¬ô ±® ©¿- ·¬ ¬¸·- ½¿-»á
 ïç      ßò Ø±«®´§ ¾¿-·-ò                                         ïç     ßò Ì¸» «²¼»®´§·²¹ ½¿-»ò
 îð      Ïò É¸¿¬ù- §±«® ¸±«®´§ ®¿¬» ½«®®»²¬´§á                    îð     Ïò É¸¿¬ ©¿- ·¬ ¬¸¿¬ §±« ·²·¬·¿´ óó
 îï      ßò üìðð ¿² ¸±«®ò                                         îï     ßò ×º §±« ³»¿² ¾§ ¬¸» ÛÔÝ ³¿¬¬»®á
 îî      Ïò Ò«³¾»® º·ª» ¿´´ ·²ª±·½»- ¿²¼ -¬¿¬»³»²¬- ¹»²»®¿¬»¼     îî     Ïò Ç»-ò
 îí   ¾§ §±« ±® §±«® º·®³ º±® ¬¸» -»®ª·½»- °®±ª·¼»¼ ·² ¬¸»        îí     ßò Ç»-ò ×ù³ -±®®§ ©¸¿¬ ©¿-á
 îì   °®»-»²¬ ³¿¬¬»®á                                             îì     Ïò ß²¼ §±« ¿-µ»¼ ¬¸»³ ¬± ¼± ©¸¿¬ ·² ¬¸» «²¼»®´§·²¹
 îë      ßò × ¸¿ª» ¿ ©¸±´» ¾«²½¸ ±º ¬¸±-»ò Ô»º¬ ¬¸»³ ·² ¬¸»       îë   ³¿¬¬»®á

                                                                                                           ë øÐ¿¹»- ïì ó ïé÷
                                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                  çéíóìïðóìðìð
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                                                          Ð¿¹» ïè                                                          Ð¿¹» îð
  ï      ßò É» ¿-µ»¼ ¬¸»³ ¬± ¬¿µ» ¿ ´±±µ ¿¬ ÛÔÝù- ½±³°«¬»®-ò         ï   §±« ±² ¬¸·- ½¿-» º±® -±³» ¬·³»á
  î      Ïò ß²¼ ¼·¼ ¬¸»§ ¼± ¬¸¿¬á                                    î     ßò Ò±ô ¸» ©¿- ½±«²-»´ ±² ¬¸·- ½¿-» °®·±® ¬± ³§
  í      ßò É¸¿¬»ª»® ©¿- ¬«®²»¼ ±ª»® ¬¸»§ ¼·¼ò Ò±¬                   í   ·²ª±´ª»³»²¬ò
  ì    »ª»®§¬¸·²¹ ©¿- ¬«®²»¼ ±ª»®ò                                   ì     Ïò Ç±« ©»®»²ù¬ ½±ó½±«²-»´á
  ë      Ïò É¸¿¬ ©¿- ©·¬¸¸»´¼á                                       ë     ßò Ò±°»ò
  ê      ßò Ì¸» ¼»¬¿·´- ±º ¬¸¿¬ × ©±«´¼ ²±¬ ¾» ¿¾´» ¬± ¬»´´          ê        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò î
  é    §±« ±ºº ¬¸» ¬±° ±º ³§ ¸»¿¼ ¿¬ ¬¸·- °±·²¬ò × ¸¿ª» -±           é        Ûó³¿·´-
  è    ³¿²§ -¬±®¿¹» ½»´´- «° ¬¸»®» ¿²¼ ±´¼ ½¿-»- ¬»²¼ ¬± ´»¿ª»       è        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ
  ç    ¿- ²»© ½¿-»- ½±³» ¾«¬ × ¼± ®»½¿´´ ¬¸¿¬ ¬¸»®» ©¿- óó           ç   ÞÇ ÓÍò ÞËÎÕÛæ
 ïð    ¬¸»®» ©»®» ¬¸·²¹- ¬¸¿¬ -·³°´§ ©»®» ²±¬ ¬«®²»¼ ±ª»®ò          ïð     Ïò Ì¸·- ·- Ü»°±-·¬·±² Û¨¸·¾·¬ îò ß²¼ ¬¸»² ´·µ» ©»
 ïï      Ïò É¿- ·¬ ¬¸»§ ©»®»²ù¬ ¬«®²»¼ ±ª»® ¼«» ¬± ¬»½¸²·½¿´        ïï   ³»²¬·±²»¼ ©»ù´´ ¹»¬ ¬¸» ·²ª±·½»- ±ºº ¬¸» °®·²¬»® ¿¬ ¬¸»
 ïî    ½±³°«¬»® -½·»²½» ®»¿-±²- ¿²¼ ¬¸»§ ½±«´¼²ù¬ ¾» °®±¼«½»¼á      ïî   ¾®»¿µò Î»¾»½½¿ Þ¿µ»® -¸» ©¿- ¿² »³°´±§»» ±º §±«® º·®³
 ïí      ßò Ò±ô ¬¸»§ ¶«-¬ -·³°´§ ©»®»²ù¬ ¬«®²»¼ ±ª»® ¾§ ÛÔÝ         ïí   ¿¬ ±²» ¬·³»ô ½±®®»½¬á
 ïì    ±® ÛÔÝù- °»®-±²²»´ò                                          ïì     ßò Í¸» ©¿-ò
 ïë      Ïò Ñµ¿§ò ×¬ ©¿- ³§ «²¼»®-¬¿²¼·²¹ ¬¸¿¬ -±³»                 ïë     Ïò ×² ©¸¿¬ ½¿°¿½·¬§ ©¿- -¸» »³°´±§»¼á
 ïê    ½±³°«¬»®- ©»®» ¬¿µ»² º®±³ ÛÔÝ ¿²¼ ©»®» ¬¸±-» ½±³°«¬»®-       ïê     ßò Ü»°»²¼ «°±² ©¸¿¬ ¬·³»- §±«ù®» ¬¿´µ·²¹ò Ú±® ¿
 ïé    ¬¸»² ®»ª·»©»¼ ¾§ Û´·¶¿¸ò½±³ ±® ¿®» §±« ¬¿´µ·²¹ ¿¾±«¬         ïé   ©¸·´» -¸» ©¿- ¿ ´¿© ½´»®µò
 ïè    ·²º±®³¿¬·±² ¬¸¿¬ ©¿- ±¾¬¿·²»¼ ·² ¿ ¼·ºº»®»²¬ ©¿§á            ïè     Ïò Í± -¸» ©±®µ»¼ º±® §±« ¿- ¿ ´¿© ½´»®µ ¿²¼ ¼·¼ ¬¸¿¬
 ïç      ßò Ì¸»-» ©»®» ¼»ª·½»- ©»®» ®»°±®¬»¼ ¬± ¾» ¬«®²»¼           ïç   ½¸¿²¹»á
 îð    ±ª»®ò                                                        îð     ßò Ì¸»² ¿² ·²¬»®² ±® ©¸¿¬»ª»®ò Ì¸»² -¸» ©¿- ¹±·²¹
 îï      Ïò Ñµ¿§ò                                                   îï   ¬± -½¸±±´ ¿²¼ »ª»²¬«¿´´§ -¸» °¿--»¼ ¬¸» ¾¿® ¿²¼ ©±®µ»¼
 îî      ßò × ¼±²ù¬ µ²±© ©¸¿¬ §±«® ¿--«³°¬·±² ·-ò                   îî   º±® «- º±® ¿ ©¸·´» ©¸·´» -¸» ©¿- º·¹«®·²¹ ±«¬ ©¸¿¬ -¸»
 îí      Ïò ×ù³ ²±¬ ¿--«³·²¹ ¿²§¬¸·²¹ò ×ù³ ¬®§·²¹ ¬± º·¹«®»         îí   ©¿²¬»¼ ¬± ¼±ò
 îì    ±«¬ »¨¿½¬´§ ©¸¿¬ óó -± ©¸¿¬ §±«ù®» -¿§·²¹ ¿- º¿® ¿- -±³»     îì     Ïò Í± -¸» ©±®µ»¼ º±® §±« ¿- ¿² ¿¬¬±®²»§ ¿- ©»´´á
 îë    ¼±½«³»²¬- ©»®» ©·¬¸¸»´¼ ·¬ ©¿-²ù¬ º®±³ Û´·¶¿¸ò½±³ò É¸¿¬      îë     ßò Í¸» ¼·¼ò
                                                          Ð¿¹» ïç                                                          Ð¿¹» îï
   ï   §±«ù®» -¿§·²¹ ·- ¬¸¿¬ ¬¸»§ ©»®» ¼±½«³»²¬- ¬¸¿¬ ©»®» ²±¬       ï     Ïò Ø±© ´±²¹ ¼·¼ -¸» ©±®µ º±® §±«á
   î   °®±¼«½»¼ ¬± ØÔÊ º®±³ ÛÔÝå ·- ¬¸¿¬ ¬®«»á                       î     ßò Ì¸®»» §»¿®- ³¿§¾»ô ¬©± ¿²¼ ¿ ¸¿´ºò
   í      ßò Ò±ô ¬¸»§ ©»®» ¼»ª·½»- ¬¸¿¬ ©»®» ²±¬ ¬«®²»¼ ±ª»®         í     Ïò Ø¿ª» §±« »ª»® ¸·®»¼ ¿²§±²» »´-» ¬¸¿¬ ·- ®»´¿¬»¼
   ì   ¬± Û´·¶¿¸ º±® º±®»²-·½ »¨¿³·²¿¬·±²ò                           ì   ¬± Ó®ò Þ¿µ»® ±¬¸»® ¬¸¿² Î»¾»½½¿á
   ë      Ïò Þ§ ÛÔÝá                                                 ë     ßò Ç»-ò
   ê      ßò Þ§ ÛÔÝ ¿²¼ ¬¸»·® °»®-±²²»´ò                             ê     Ïò Ñµ¿§ ©¸± »´-»á
   é      Ïò É¸¿¬ ¼»ª·½»- ¿®» §±« -¬¿¬·²¹ ©»®» ²±¬ ¬«®²»¼            é     ßò Ö»®»³§ Ê±±®¸»»-ò
   è   ±ª»®á                                                         è     Ïò Î»¾»½½¿ Þ¿µ»® ·- Î±¾»®¬ Þ¿µ»®ù- ¼¿«¹¸¬»®ô
   ç      ßò ß²¼ ¬¸¿¬ù- ¬¸» °¿®¬ ¬¸¿¬ × ¼±²ù¬ ®»½¿´´ò × ¶«-¬         ç   ½±®®»½¬á
  ïð   µ²±© ¬¸¿¬ ¬¸»®» ©»®» -±³» ¼»ª·½»- ¬¸¿¬ ©»®» ²±¬ ¬«®²»¼       ïð     ßò Ì¸¿¬ ·- ½±®®»½¬ò
  ïï   ±ª»® ¿²¼ ©»®» ³·--·²¹ ¿²¼ -± ¬¸»®»º±®» ©»ù®» ²±¬ -«®»        ïï     Ïò ß²¼ ¬¸»² Ö»®»³§ Ê±±®¸»»- ·² ©¸¿¬ ½¿°¿½·¬§ ¼·¼ ¸»
  ïî   ¬¸¿¬ ©» ¹±¬ ¿ º«´´ ª·»© ±º º±® ·²-¬¿²½» »ó³¿·´- ¿²¼ -±       ïî   ©±®µ º±® §±«á
  ïí   º±®¬¸ò                                                       ïí     ßò Ø» ©±®µ»¼ ¿- ¿ ´¿© ½´»®µ ¿²¼ ¬¸»² º±® ¿ -¸±®¬
  ïì      Ïò É¸¿¬ ¼»ª·½»- ©»®» ¬«®²»¼ ±ª»®á                         ïì   ¬·³» ¿- ¿² ¿¬¬±®²»§ò
  ïë      ßò × µ²±© ¬¸¿¬ × ¬¸·²µ ¬¸»®» ©¿- -±³» ³»³±®§ ½¿®¼-ò       ïë     Ïò É¸»² ¼·¼ Î»¾»½½¿ Þ¿µ»® ´»¿ª» §±«® »³°´±§ óó
  ïê   × ¬¸·²µ ¬¸»®» ©¿- ¿ ¼»-µ¬±°ò ×² ¬®«¬¸ × ¼±²ù¬ ®»³»³¾»®       ïê   »³°´±§³»²¬á
  ïé   ¿´´ ¬±¬¿´ ©¸¿¬ ©¿- ¬«®²»¼ ±ª»®ò × ¼± ®»³»³¾»® ¬¸¿¬           ïé     ßò Ì©± §»¿®- ¿¹±ò ß §»¿® ¿²¼ ¿ ¸¿´º ¿¹±ò
  ïè   ¬¸»®» ©»®» ¿ ½±«°´» ±º ¼·ºº»®»²¬ ¼»ª·½»- ¬¸±«¹¸ò             ïè     Ïò ß²¼ Ö»®»³§ Ê±±®¸»»- ¸±© ·- ¸» ®»´¿¬»¼ ¬± Ó®ò
  ïç      Ïò Ñµ¿§ò Ó®ò Ê·--»® ¸¿- °®±ª·¼»¼ ³» ©·¬¸ ¿ -¬¿½µ ±º       ïç   Þ¿µ»®á
  îð   »ó³¿·´- ¿²¼ ¬¸·- ·- ¾»¬©»»² §±«® ±ºº·½» ¿²¼ Û´·¶¿¸ô          îð     ßò Ó®ò Þ¿µ»®ù- ²»°¸»©ò
  îï   ¬®«»á                                                        îï     Ïò ×- ¸» ®»´¿¬»¼ ¬± Ó®ò Ê±±®¸»»-ô Ø¿®±´¼ Ê±±®¸»»-á
  îî      ßò Û·¬¸»® ¾»¬©»»² ±«® ±ºº·½» ±® óó ¿²¼ Û´·¶¿¸ò            îî     ßò Ø» ·-ò
  îí   Ì¸»®» ¿®» -±³» º®±³ Ó®ò É·¬¬»ù- ±ºº·½» ¿- ©»´´ ¿²¼           îí     Ïò Ø±© -±á
  îì   Û´·¶¿¸ò                                                      îì     ßò Ø» ·- ¸·- -±²ò
  îë      Ïò Ó®ò É·¬¬» º±® ¬¸» ®»½±®¼ ¸» ©¿- ½±ó½±«²-»´ ©·¬¸        îë     Ïò ×- Ö»®»³§ Ê±±®¸»»- -¬·´´ »³°´±§»¼ ¾§ §±«® ±ºº·½»á

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                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                         Ð¿¹» îî                                                          Ð¿¹» îì
   ï     ßò Ø» ·- ²±¬ò                                              ï     ßò Ø» ¶«-¬ ©¿²¬»¼ ¬± ®·¼» ¬¸» º»²½» ¿²¼ ¼®¿¹ ¬¸·²¹-
   î     Ïò É¸»² ¼·¼ ¸» ´»¿ª»á                                      î   ±«¬ò
   í     ßò Ó·¼ Ó¿®½¸ò                                              í     Ïò Ü·¼ §±« ¸¿ª» ¿²§ ½±²¬¿½¬ ©·¬¸ Ó®ò Í¬»©¿®¬ ¬¸» ¼¿§
   ì     Ïò Ñº ¬¸·- §»¿®á                                           ì   ±º ¬¸» ª·-·¬á
   ë     ßò Ì¸¿¬ù- ½±®®»½¬ò                                         ë     ßò Ç»-ò
   ê     Ïò É¸§ ¼·¼ ¸» ´»¿ª»á                                       ê     Ïò É¿- ¬¸¿¬ ¾»º±®» ±® ¿º¬»® Ü±²±ª¿² ¿²¼ ½±³°¿²§
   é     ßò Ø» ©¿²¬- ¬± ©®·¬» ¿ ¾±±µò                               é   ¿®®·ª»¼á
   è     Ïò ß²§ ±¬¸»® ®»´¿¬·ª»- ±º Ó®ò Þ¿µ»® ¬¸¿¬ §±«® ±ºº·½»       è     ßò Ó·¹¸¬ ¸¿ª» ¾»»² ¾±¬¸ ¾«¬ ½»®¬¿·²´§ × ®»³»³¾»®
   ç   ¸¿- »³°´±§»¼á                                                ç   ¾»º±®»ò
  ïð     ßò Ò±ò                                                    ïð     Ïò É¸¿¬ ©¿- ¬¸» ½±²ª»®-¿¬·±² ©·¬¸ Ó®ò Í¬»©¿®¬
  ïï     Ïò ß²§ ±¬¸»® ®»´¿¬·ª»- ±º ¬¸» Ê±±®¸»»- º¿³·´§ ¬¸¿¬        ïï   ¾»º±®»á
  ïî   §±«® ±ºº·½» ¸¿- »³°´±§»¼á                                   ïî     ßò ×¬ ©¿- ½±³³«²·½¿¬·±²- ¾§ »ó³¿·´ ¿²¼ ¾¿-·½¿´´§ ·¬
  ïí     ßò Ò±ò                                                    ïí   ©¿- ¿ º±´´±©ó«° ±º ±«® ²±¬·½» ±º ¬¸» °®·±® ¼¿§ ±® ¬©±
  ïì     Ïò Ì¸» ·²½·¼»²¬ ·²ª±´ª·²¹ Ü±²±ª¿² §±«® -±² ¿²¼            ïì   ¿²¼ Ù¿®§ ¸¿¼ ¹±¬¬»² ¾¿½µ ±² ¬¸» ³±®²·²¹ ±º ¬¸» ª·-·¬ ¿²¼
  ïë   ±¬¸»®- º®±³ ØÔÊ ¿¬ ÛÔÝ ±ºº·½»- §±« ©»®» ²±¬ ¬¸»®» ¬¸¿¬      ïë   -¿·¼ -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ ¬¸¿¬ô ¬¸»®» ·- ¿² »ó³¿·´
  ïê   ¼¿§ô ½±®®»½¬á                                               ïê   ¬¸¿¬ù- ¾»»² ½·®½«´¿¬»¼ × ¸¿ª»²ù¬ -»»² ·² ¯«·¬» -±³»
  ïé     ßò Ì¸¿¬ù- ½±®®»½¬ò                                        ïé   ¬·³»ô ¾«¬ -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ ¬¸¿¬ × ¼±²ù¬ ¬¸·²µ
  ïè     Ïò Ì¸¿¬ ©¿- ·² ß°®·´ ±º îðïî óó îðïíô ½±®®»½¬á            ïè   ¬¸»§ù®» ¹±·²¹ ¬± ´»¬ §±« ´±±µ ¿¬ ¬¸» ·²º±®³¿¬·±² -± ×
  ïç     ßò × ¬¸·²µ ¬¸¿¬ -±«²¼- ½±®®»½¬ò                           ïç   ©±«´¼ -«¹¹»-¬ ¬¸¿¬ §±« ª±´«²¬¿®·´§ ²±¬ -¸±© «°ò
  îð     Ïò Ñµ¿§ò Ç±« ©»®»²ù¬ ¬¸»®»ô ½±®®»½¬á                      îð     Ïò Ñµ¿§ò ß²¼ ¬¸»² ¼·¼ §±« ¬¿´µ ±® ¸¿ª» ¿²§ ±¬¸»®
  îï     ßò × ©¿- ²±¬ò                                             îï   ½±³³«²·½¿¬·±²- ©·¬¸ Ó®ò Í¬»©¿®¬ ¿º¬»® º±´µ- º®±³ §±«®
  îî     Ïò Ü·¼ Ü±²±ª¿² ¬»´´ §±« ¬¸¿¬ ¸» ©¿- ¹±·²¹ ¬± ¬¸» ÛÔÝ      îî   ±ºº·½» ¿²¼ º±´µ- º®±³ ØÔÊ ¿®®·ª»¼ ¿¬ ¬¸» ÛÔÝ ±ºº·½»á
  îí   ±ºº·½»á                                                     îí     ßò × ¼±²ù¬ ¬¸·²µ × ¸¿¼ ¿²§ º«®¬¸»® ½±³³«²·½¿¬·±²
  îì     ßò Ç»-ò                                                   îì   ¿º¬»® ¬¸»§ ¿®®·ª»¼ò
  îë     Ïò Ü·¼ §±« ¸¿ª» ¿²§ ½±²¬¿½¬ ©·¬¸ »·¬¸»® Ó®ò Í¬»©¿®¬       îë     Ïò Ü·¼ §±« ¸¿ª» ¿²§ ½±³³«²·½¿¬·±² ¬¸¿¬ ¼¿§ ©·¬¸
                                                         Ð¿¹» îí                                                          Ð¿¹» îë
   ï   ±® Ó®ò Ð¿¹» °®·±® ¬± Ü±²±ª¿² ¿²¼ ½±³°¿²§ ¿°°»¿®·²¹ ¿¬        ï   Õ»´´§ Ð¿¹»á
   î   ¬¸» ÛÔÝ ±ºº·½»á                                              î     ßò × ¼± ²±¬ ¾»´·»ª» -±ò Ò±¬ ¬¸¿¬ × ½¿² ®»½¿´´ò
   í     ßò Ô±¬-ò                                                   í     Ïò Ñµ¿§ò Ü·¼ §±« ¸¿ª» ¿²§ ½±²ª»®-¿¬·±²- ©·¬¸
   ì     Ïò É¸± ©»®» §±« ½±³³«²·½¿¬·²¹ ©·¬¸á                        ì   Ü±²±ª¿² ©¸»² ¬¸» °±´·½» -¸±©»¼ «°á
   ë     ßò Ð¿¹» ¿²¼ Í¬»©¿®¬ò                                       ë     ßò × µ²±© ¬¸¿¬ ©» ¸¿¼ ½±³³«²·½¿¬·±²- ¬¸¿¬ ¼¿§ ¾«¬
   ê     Ïò É¸»² ¼·¼ §±« º·®-¬ ½±²¬¿½¬ »·¬¸»® Ó®ò Ð¿¹» ±®           ê   ×ù³ ²±¬ -«®» ©¸»² »¨¿½¬´§ ·¬ ±½½«®®»¼ ®»´¿¬·ª» ¬± ©¸»²
   é   Ó®ò Í¬»©¿®¬ ¿¾±«¬ ¹±·²¹ ¬± ¬¸» ÛÔÝ ±ºº·½»-á                  é   ¬¸» °±´·½» -¸±©»¼ «° ±® ¼·¼²ù¬ -¸±© «° ±® ·º ¬¸»§ ¸¿¼
   è     ßò Ñ¸ ±µ¿§ò ×º §±«ù®» ´·³·¬·²¹ ³» ¬± ¬¸¿¬ ·¬ ©±«´¼         è   ´»º¬ ±® ©¸¿¬»ª»®ò Í± × µ²±© ©» ¸¿¼ ½±³³«²·½¿¬·±²
   ç   ¸¿ª» ¾»»²ô ·º × ®»½¿´´ ½±®®»½¬´§ô °®±¾¿¾´§ ¬¸» º·®-¬         ç   ¾»½¿«-» ©» ¬¿´µ»¼ ¾§ ¬»´»°¸±²» ¾»º±®» ¸» ¿®®·ª»¼ ¾¿½µ ¿¬
  ïð   ¬·³» ±º ¬¸» ³±²¬¸ ±® ¾»¬©»»² ¿ ³±²¬¸ ±® ¬©± ¾»º±®» ¬¸»      ïð   ¬¸» ±ºº·½»ò
  ïï   ¿½¬«¿´ ¿®®·ª¿´ ±²ó-·¬»ò                                     ïï     Ïò Ñµ¿§ò Ü·¼ §±« ¸¿ª» ¿²§ ½±³³«²·½¿¬·±²- ©·¬¸ Õ»´´§
  ïî     Ïò É¸± ©¿- ·¬ ¬¸¿¬ §±« ©»®» -°»¿µ·²¹ ¬±á                  ïî   Ð¿¹» ¬¸¿¬ ¼¿§ ¿¾±«¬ ¬¸» ¿®®·ª¿´ ±º ¬¸» °±´·½»á
  ïí     ßò × ¼±²ù¬ µ²±© ·¬ù- ¼·ºº·½«´¬ ¾»½¿«-» ¬¸»§ ¾´»²¼ ·²      ïí     ßò Ò±¬ ¬¸¿¬ × ½¿² ®»½¿´´ò
  ïì   ¬±¹»¬¸»®ò Þ«¬ × ¬¸·²µ ·¬ ©¿- Í¬»©¿®¬ °®·³¿®·´§ ±² ¬¸·-ò     ïì     Ïò Ü·¼ §±« ¸¿ª» ¿²§ ½±³³«²·½¿¬·±²- ©·¬¸ Ù¿®§ Í¬»©¿®¬
  ïë     Ïò ß²¼ ·¬ ©¿- §±«® °±-·¬·±² ¬¸¿¬ ØÔÊ ¸¿¼ ¬¸» ®·¹¸¬        ïë   ¬¸¿¬ ¼¿§ ¿¾±«¬ ¬¸» ¿®®·ª¿´ ±º ¬¸» °±´·½»á
  ïê   ¬± ¹± ¬± ¬¸» ÛÔÝ ±ºº·½»- ¿²¼ ±¾¬¿·² ¼±½«³»²¬- ¿²¼           ïê     ßò Ò±¬ ¬¸¿¬ × ½¿² ®»½¿´´ ¿¾±«¬ ¬¸» ¿®®·ª¿´ ±º ¬¸»
  ïé   ½±³°«¬»®-å ·- ¬¸¿¬ ¬®«»á                                    ïé   °±´·½»ò
  ïè     ßò × ¬¸·²µ ¬¸¿¬ù- ±ª»®-¬¿¬·²¹ ³§ °±-·¬·±²ò                ïè     Ïò × ©¿²¬ ¬± ¬¿´µ ¿¾±«¬ ¬¸» Ó¿§ ïð¬¸ô îðïí
  ïç     Ïò Ñµ¿§ò É¸§ ¼±²ù¬ §±« ¬»´´ ³»ò                           ïç   ½±²º»®»²½» ½¿´´ ©·¬¸ Ö«¼¹» Ø¿³®» ·² ¬¸» «²¼»®´§·²¹
  îð     ßò ß¾-±´«¬»´§ ¬¸»§ ¸¿¼ ¿ ®·¹¸¬ ¬± ¾» ¬¸»®»ò Ì¸»§          îð   ³¿¬¬»®ò
  îï   ¸¿¼ ¿ ®·¹¸¬ ¬± ®»ª·»© ¬¸» ®»½±®¼-ò Ì¸»§ ¸¿¼ ¿ ®·¹¸¬ ¬±      îï     ßò ß´´ ®·¹¸¬ò
  îî   ®»ª·»© ¬¸» ·²º±®³¿¬·±² ±² ¬¸» ½±³°«¬»®-ò × ¼±²ù¬ ¬¸·²µ      îî     Ïò Ò±© ¿¬ §±«® ±ºº·½» ©» ¸»¿®¼ º®±³ Ó®ò Þ¿µ»® ¿¬
  îí   ¿²§¾±¼§ »ª»® ¬®·»¼ ¬± ¬¿µ» ¿²§¬¸·²¹ò                        îí   §±«® ±ºº·½» ¬¸¿¬ Ó®ò Þ¿µ»® ©¿- °®»-»²¬ ¿¬ ¬¸» óó º±® ¬¸»
  îì     Ïò ß²¼ Ó®ò Í¬»©¿®¬ù- °±-·¬·±² §±«® ·²¬»®°®»¬¿¬·±² ±º      îì   ½±²º»®»²½» ½¿´´á
  îë   Ó®ò Í¬»©¿®¬ù- °±-·¬·±² ©¿- ©¸¿¬á                            îë     ßò Ý±®®»½¬ò

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                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                          Ð¿¹» îê                                                          Ð¿¹» îè
   ï     Ïò Þ«¬ ¸» ¼·¼ ²±¬ ´»¬ù- ¶«-¬ -¿§ ª±·½» ¸·-                  ï   ©»®» §±« ¿©¿®» ±º ¬¸» ½±«®¬ ®«´» ¬¸¿¬ ®»¯«·®»¼ ¿ ³±¬·±²
   î   ¿°°»¿®¿²½» ²±® ¼·¼ ¿²§±²» º®±³ §±«® ±ºº·½» ©¸± ©¿- ·²         î   ¾» º·´»¼ ¾»º±®» ¬¸» ¿½¬«¿´ °®±½»»¼·²¹ ©¸»®» ¬¸» ½±«®¬
   í   ¬¸» -¿³» ®±±³ -¿·¼ Ó®ò Þ¿µ»® ·- ¸»®» ±² ¬¸» ½¿´´ô             í   ³¿§ °»®³·¬ ¬¸» ¿«¼·± ®»½±®¼·²¹ ·² ©¸±´» ±® ·² °¿®¬á
   ì   ½±®®»½¬á                                                      ì     ßò Ñº ©¸¿¬á
   ë     ßò × ¬¸·²µ ¬¸¿¬ù- ©¸¿¬ ¸» -¿·¼ò                             ë     Ïò Í«®»ô ×ù´´ ¹·ª» ·¬ ¬± §±«ò ×¬ù- ÓÝÎèòïðçøÝ÷ò ×
   ê     Ïò Ñµ¿§ò É¸± »´-» ±¬¸»® ¬¸¿² Ó®ò Þ¿µ»® ©¿- ·² ¬¸»           ê   ¸·¹¸´·¹¸¬»¼ ·¬ ¬¸»®» ·² ³§ ½±«®¬ ®«´»-ò
   é   ®±±³ º±® ¬¸» ½±²º»®»²½» ½¿´´á                                 é     ßò ×¬ù- ©¸¿¬ × ¬¸±«¹¸¬ò
   è     ßò × ¾»´·»ª» Î»¾»½½¿ Þ¿µ»® ©¿- ·² ¬¸» ®±±³ò                 è     Ïò É»®» §±« ¿©¿®» ±º ¬¸¿¬ ½±«®¬ ®«´» ¾»º±®» §±« ³¿¼»
   ç     Ïò É¿- Ó-ò Þ¿µ»®ô Î»¾»½½¿ Þ¿µ»® ¿² ¿¬¬±®²»§ ¿¬ ¬¸¿¬         ç   ¬¸» ¿«¼·± ®»½±®¼·²¹á
  ïð   ¬·³»á                                                        ïð     ßò × ¿³ ¿©¿®» ±º ¬¸» ½±«®¬ ®«´»ô §»-ô ³¿ù¿³ò
  ïï     ßò Ú®¿²µ´§ô × ¼±²ù¬ ®»½¿´´ ¿¬ ¬¸·- ³±³»²¬ò                 ïï     Ïò ß²¼ §±« ¼·¼ ²±¬ º·´» ¿ ³±¬·±² ©·¬¸ ¬¸» ½±«®¬
  ïî     Ïò Ñµ¿§ò É¸± »´-» ±¬¸»® ¬¸¿² Ó®ò Þ¿µ»® ¿²¼                 ïî   °®·±® ¬± ¬¸» ®»½±®¼·²¹ ±º ¬¸» Ó¿§ ïð¬¸ °®±½»»¼·²¹ô
  ïí   Ó-ò Þ¿µ»®á                                                   ïí   ½±®®»½¬á
  ïì     ßò × µ²±© Ü±²±ª¿² Ê·--»® ©¿- °®»-»²¬ ¾«¬ × ¼±²ù¬           ïì     ßò × ©±«´¼ ²±¬ ½¿´´ ·¬ ¿ °®±½»»¼·²¹ò
  ïë   µ²±© ¬¸¿¬ ¸» ©¿- °®»-»²¬ ©¸»² ·¬ ¾»¹¿² ±® ²±¬ò               ïë     Ïò Ü·¼ §±« ²±¬·º§ ¬¸» ½±«®¬ ·² ¿²§ ©¿§ ¬¸¿¬ §±«
  ïê     Ïò ß²¼ ¬¸»² §±«®-»´º ±º ½±«®-»ô ½±®®»½¬á                   ïê   ©±«´¼ ¾» ®»½±®¼·²¹ ¬¸» Ó¿§ ïð¬¸ô îðïí °®±½»»¼·²¹ ±®
  ïé     ßò Ý±®®»½¬ò                                                ïé   ¸±©»ª»® §±« ©¿²¬ ¬± ½´¿--·º§ ·¬ ¿-á
  ïè     Ïò É¸»®» ©»®» §±« ¿´´ -»¿¬»¼ ¿¬ ¬¸» ¬·³»á É»®» §±«         ïè     ßò ×¬ ©¿- ¿ -¬¿¬«- ½±²º»®»²½» ¬¸¿¬ ©¿- ¬± ¾» ¼±²» ¾§
  ïç   ·² §±«® ±ºº·½»á                                              ïç   ¬»´»°¸±²»ò ×¬ ©¿- ²±¬ ·²¬»²¼»¼ ¾§ ¬¸» ½±«®¬ ¬± ¾» ±²
  îð     ßò ×² ³§ ±ºº·½»ò                                           îð   ¬¸» ®»½±®¼ °®±½»»¼·²¹ò
  îï     Ïò ß²¼ ©¸»®» ¼·¼ §±« °´¿½» §±«® ®»½±®¼·²¹ ¼»ª·½»á          îï     Ïò Ñµ¿§ ¾«¬ ³§ ¯«»-¬·±² ©¿- ¿ ´·¬¬´» ¾·¬ ¼·ºº»®»²¬ò
  îî     ßò Ú®¿²µ´§ô × ¼±²ù¬ ®»½¿´´ ¬¸¿¬ò × µ²±© ·¬ ©±«´¼           îî   Ü·¼ §±« ²±¬·º§ ¬¸» ½±«®¬ ·² ¿²§ ³¿²²»® ¬¸¿¬ §±« ©±«´¼ ¾»
  îí   ¸¿ª» ¾»»² -±³»°´¿½» ±«¬ ±º ¬¸» ©¿§ ¾»½¿«-» × ©¿- ¬®§·²¹      îí   ®»½±®¼·²¹ ¬¸¿¬ °®±½»»¼·²¹ô ½±²º»®»²½» ½¿´´ô ¸±©»ª»® §±«
  îì   ¬± ¬¿µ» ²±¬»-ò                                               îì   ©¿²¬ ¬± ½´¿--·º§ ·¬á
  îë     Ïò Ñµ¿§ò Ü± §±« ®»½¿´´ Ó®ò Þ¿µ»®ù- ¼»°±-·¬·±²              îë     ßò × ¹«»-- ³§ °®±¾´»³ ·² ¿²-©»®·²¹ ¬¸» ¯«»-¬·±² ·-
                                                          Ð¿¹» îé                                                          Ð¿¹» îç
   ï   ¬»-¬·³±²§ ©¸»®» ¸» -¬¿¬»¼ ¬¸¿¬ ¸» °«¬ ¸·- ®»½±®¼·²¹           ï   ¬¸» ©¿§ ·¬ù- º±®³»¼ ¿²¼ ¬¸¿¬ ·- ·- ¬¸¿¬ ·¬ ¿--«³»- ¬¸¿¬
   î   ¼»ª·½» ®·¹¸¬ ²»¨¬ ¬± §±«®-á                                   î   ¬¸»®» ©¿- ¿ ®»¯«·®»³»²¬ ¬± ¼± -±ò × ½¿² ¿²-©»® ¬¸»
   í      ßò × ¼± ²±¬ ®»½¿´´ ¬¸¿¬ò                                   í   ¯«»-¬·±² ¬¸·- ©¿§ò × ¼·¼ ²±¬ ·²º±®³ ¬¸» ½±«®¬ ¬¸¿¬ ×
   ì      Ïò Ü± §±« ®»½¿´´ Ó®ò Þ¿µ»®ù- ¼»°±-·¬·±² ¬»-¬·³±²§          ì   ©¿- ®»½±®¼·²¹ ¬¸» -¬¿¬«- ½±²º»®»²½» ¿²¼ ¬»´»°¸±²» ½¿´´
   ë   ©¸»®» ¸» -¿·¼ ¬¸¿¬ ¸» ¿²²±«²½»¼ ¬± »ª»®§±²» ·² ¬¸» ®±±³       ë   ¬¸¿¬ ©» ¸¿¼ò
   ê   ¬¸¿¬ ¸» ©¿- ¹±·²¹ ±«¬ ¬± ¸·- ¬®«½µ ¬± ®»¬®·»ª» ¸·- ±©²        ê     Ïò Ò±© ±²½» ¬¸·- ®»½±®¼·²¹ ©¿- ³¿¼» ¼·¼ §±«
   é   ®»½±®¼·²¹ ¼»ª·½» ¿²¼ ¬¸¿¬ ¸» ©¿- ´¿«¹¸»¼ ¿¬ ¿²¼ ³±½µ»¼        é   ¼·-¬®·¾«¬» ·¬ ¬± ¿²§¾±¼§á
   è   º±® ¼±·²¹ ¬¸¿¬á                                               è     ßò Ç»-ò
   ç      ßò × ®»³»³¾»® -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ ¬¸¿¬ ¸» -¿·¼         ç     Ïò É¸± ¼·¼ §±« ¼·-¬®·¾«¬» ·¬ ¬±á
  ïð   ¸» ©»²¬ ±«¬ ¬± ¸·- ¬®«½µ ¿²¼ -±³»¬¸·²¹ ¿¾±«¬ ´¿«¹¸»¼ ¿¬ò     ïð     ßò Ö«¼¹» Ü±¼¹»ò
  ïï   × ¼±²ù¬ µ²±© ·º ¸» ©¿- ³±½µ»¼ ±® ©¸¿¬ ¸» -¿·¼ ¬¸»®»ò         ïï     Ïò ß²¼ ¬¸¿¬ ©¿- ·² ¬¸» ½±²¬»-¬ ±º ¬¸» «²¼»®´§·²¹
  ïî      Ïò Ü± §±« ®»½¿´´ ±¬¸»®- ·² ¬¸» ®±±³ ´¿«¹¸·²¹ ¿¬ ¸·³á      ïî   ½¿-»á
  ïí      ßò × ¼± ²±¬ ®»½¿´´ ¬¸¿¬ò                                  ïí     ßò Ù¿®§ Í¬»©¿®¬ò Ó§ ½´·»²¬ Ó®ò Þ¿µ»®ò × ¬¸·²µ ¬¸»
  ïì      Ïò Ü·¼ §±« º·´» ¿ ³±¬·±² ©·¬¸ ¬¸» ½±«®¬ °®·±® ¬± ¬¸»      ïì   ¿¬¬±®²»§ ¼·-½·°´·²» ±® ×ù³ -±®®§ ¬¸» ¿¬¬±®²»§ ¹®·»ª¿²½»
  ïë   Ó¿§ ïð¬¸ ½±²º»®»²½» ½¿´´ ¿-µ·²¹ ¬¸¿¬ ¬¸» óó ¿-µ·²¹ º±®       ïë   ½±³³·--·±²ò Ò»©- °»±°´» ¬¸¿¬ ½¿´´»¼ò Ü»®»µ É·¬¬»ò ×
  ïê   §±«® °»®³·--·±² ¬± ®»½±®¼ ¬¸» °®±½»»¼·²¹á                    ïê   ¬¸·²µ »¿½¸ ±º §±«® óó »¿½¸ ±º ¬¸» ¿¬¬±®²»§ù- ±ºº·½»- ·²
  ïé      ßò Ü·¼ ²±¬ò                                               ïé   ¬¸·- ½¿-»ò Ì¸¿¬ù- ¿´´ × ½¿² ®»½¿´´ ®·¹¸¬ ±ºº ¬¸» ¬±° ±º
  ïè      Ïò ß®» §±« ¿©¿®» ±º ¬¸» ½±«®¬ ®«´»- -°»½·º·½¿´´§          ïè   ³§ ¸»¿¼ò
  ïç   ÓÝÎ èòïðçøÝ÷ ¬¸¿¬ ®»¯«·®»- ¬¸» ²±¬·º·½¿¬·±² ±º ¬¸» ½±«®¬     ïç     Ïò Ç±« ³»²¬·±²»¼ Ö«¼¹» Ü±¼¹» ²±© ¬¸¿¬ °®±¼«½¬·±² ©¿-
  îð   ¿²¼ ¬¸» º·´·²¹ ±º ¿ ³±¬·±² ¾»º±®» ¿²§ °®±½»»¼·²¹- ½¿² ¾»     îð   ·² ®»´¿¬·±² ¬± ¬¸» «²¼»®´§·²¹ ³¿¬¬»®ô ½±®®»½¬á
  îï   ®»½±®¼»¼á                                                    îï     ßò Ì¸¿¬ù- ½±®®»½¬ò
  îî      ßò × ¿³ óó ¼±²ù¬ ¸¿ª» ¬¸» ½±«®¬ ®«´»- ³»³±®·¦»¼ -±        îî     Ïò Ñµ¿§ò ß²¼ ¬¸»² §±« -¿·¼ ²»©- °»±°´» ©¸± ½¿´´»¼
  îí   ·º §±« ©¿²¬ ¬± ¹± ±ª»® ±²» ±º ¬¸»³ ×ù´´ ¾» ¸¿°°§ ¼±          îí   ¼·¼ §±« ²±¬·º§ ¬¸» ³»¼·¿ ·²·¬·¿´´§á
  îì   ¬¸¿¬ò                                                        îì     ßò × ¼±²ù¬ ¾»´·»ª» -±ò
  îë      Ïò É»´´ ¿¬ ¬¸» ¬·³» ¬¸¿¬ §±« ®»½±®¼»¼ ¬¸» °®±½»»¼·²¹      îë     Ïò É¸± ²±¬·º·»¼ ¬¸» ³»¼·¿á

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                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                           Ð¿¹» íð                                                          Ð¿¹» íî
   ï      ßò × ¾»´·»ª» §±«ù¼ ¸¿ª» ¬± ¿-µ ¬¸» ³»¼·¿ò × µ²±©            ï   ²±¬ ¬¸¿¬ ©¿- ·² º¿½¬ ¬®«» ©±«´¼ §±« ²±¬á
   î   ¬¸¿¬ ¬¸»§ ±¾¬¿·²»¼ ¿ ½±°§ ±º ·¬ ¿º¬»® ¬¸» ½±«®¬ ¸»¿®·²¹ò       î     ßò É»´´ ×ù¼ ®»´§ ±² ¬¸» ®»½±®¼·²¹ô §»-ò
   í      Ïò Ç±« -¿·¼ §±« °®±ª·¼»¼ ¬¸»³ ©·¬¸ ¿ ½±°§á                  í     Ïò Ò±© ¾»½¿«-» §±« ©»®» ¿¬¬»²¼·²¹ ª·¿ ¬»´»°¸±²» ¿²¼
   ì      ßò × ¼·¼ò                                                   ì   Ó®ò Í¬»©¿®¬ ¿²¼ Ó®ò Ð¿¹» ©»®» ¿¬ ¬¸» ½±«®¬ ¿¬ ¬¸» ¬·³»
   ë      Ïò É¿- ¬¸¿¬ ¾»º±®» ±® ¿º¬»® óó ©»´´ ©¸»² ©¿- ·¬ ¬¸¿¬        ë   ¾»½¿«-» ±º ¬¸±-» ´±¹·-¬·½- §±« ¼·¼²ù¬ µ²±© ©¸»®» º±®
   ê   §±« °®±ª·¼»¼ ¬¸» ²»©- ³»¼·¿ ©·¬¸ ¬¸» ½±°§á                     ê   »¨¿³°´» Ó®ò Ð¿¹» ©¿- -·¬¬·²¹ ·² ®»´¿¬·±² ¬± ¬¸»
   é      ßò ßº¬»® ±«® ¸»¿®·²¹ ·² º®±²¬ ±º Ö«¼¹» Ü±¼¹»ò               é   ¬»´»°¸±²» ·² ®»´¿¬·±² ¬± Ö«¼¹» Ø¿³®» ·² ®»´¿¬·±² ¬±
   è      Ïò Ñµ¿§ò Þ«¬ §±« ¼±²ù¬ µ²±© ©¸± ¬·°°»¼ ¬¸» ³»¼·¿            è   Ó®ò Í¬»©¿®¬ô ½±®®»½¬á
   ç   ±ºº ¬± ¬¸» °»²¼·²¹ ³±¬·±² ¿²¼ ¬¸» ®»½±®¼·²¹á                   ç     ßò × ¿--«³» ¬¸»§ ©»®» ¹±·²¹ ¬± ¿°°»¿® ¾§ ¬»´»°¸±²»ò
  ïð      ßò Ò±ô ¬¸¿¬ ©¿- ¯«·¬» ½±³°´»¨ ¿¬ ¬¸¿¬ ¬·³» ¾»½¿«-»         ïð     Ïò Þ«¬ ©¸»² §±« ¹±¬ ±² ¬¸» ½¿´´ ¿²¼ §±« ©»®»
  ïï   ¬¸» ²»©- ³»¼·¿ »-°»½·¿´´§ ½¸¿²²»´ í ©¿- °®»¬¬§ ¸±¬ ±²         ïï   ·²º±®³»¼ ¾±¬¸ Ó®ò Ð¿¹» ¿²¼ Ó®ò Í¬»©¿®¬ ©»®» ¿½¬«¿´´§ ¿¬
  ïî   ¬¸» ·--«» ¿´®»¿¼§ò Í± × ¬¸·²µ óó                              ïî   ¬¸» ½±«®¬ §±« ¼±²ù¬ µ²±© ©¸»®» Ó®ò Ð¿¹» ©¿- -·¬¬·²¹ ·²
  ïí      Ïò Ì¸»§ ©»®» ¸±¬ ¿- ¬± ©¸¿¬ ·--«»á                         ïí   ®»´¿¬·±² ¬± ©¸»®» Ó®ò Í¬»©¿®¬ ©¿- -·¬¬·²¹ ·² ®»´¿¬·±² ¬±
  ïì      ßò É·¬¸ ©¸¿¬ ©¿- ¸¿°°»²·²¹ ¼±©² ¿¬ Ê¿² Þ«®»² Ý±«²¬§ò       ïì   ¬¸» ¬»´»°¸±²» ·² ®»´¿¬·±² ¬± Ö«¼¹» Ø¿³®»á Ç±« ¼·¼²ù¬
  ïë   × ¬¸·²µ ¬¸»§ ¸¿¼ ®«² ¿ -°»½·¿´ ·² ®»¹¿®¼- ¬± Ö«¼¹»            ïë   µ²±© ¬¸» ´±¹·-¬·½- ±® ¬¸» º±®³¿¬ô ½±®®»½¬á
  ïê   Ø¿³®»ò × ¬¸·²µ ¬¸»§ ¸¿¼ ®«² ¿ ½±«°´» ±º ¼·ºº»®»²¬ ²»©-        ïê     ßò × ¸¿ª» ²± ·¼»¿ ¬¸¿¬ ¿²§¾±¼§ ½±«´¼ ¸¿ª» ¾»»² ·²
  ïé   ·¬»³- ¿´®»¿¼§ -± ¬¸»§ ©»®» °®»¬¬§ ©»´´ ¿©¿®» ©¸¿¬ ©¿-         ïé   ¿²§¾±¼§ù- ½¸¿·®ò Ì¸»§ ½±«´¼ ¸¿ª» ¾»»² -¬¿²¼·²¹ ¬¸¿¬ù-
  ïè   ¹±·²¹ ±²ò                                                     ïè   ½±®®»½¬ò
  ïç      Ïò Í± ¬¸¿¬ §±« ¾»´·»ª» ¬¸» ³»¼·¿ ©¿- ¿´®»¿¼§ ±² ¬±         ïç     Ïò ß²¼ §±« ¼±²ù¬ µ²±© ©¸»² °»±°´» ½¿³» ·²¬± ¿²¼ñ±®
  îð   Ö«¼¹» Ø¿³®»á                                                  îð   ´»º¬ ¬¸» ®±±³ ¾»½¿«-» §±« ©»®»²ù¬ ¬¸»®»ô ½±®®»½¬á
  îï      ßò Ç»-ò                                                    îï     ßò Ò±© ¬¸¿¬ù- ¿--«³·²¹ -±³»¬¸·²¹ ¬¸¿¬ × ¼±²ù¬ ¿¹®»»
  îî      Ïò ß²¼ óó                                                  îî   ©·¬¸ ¬¸» º±®³ ±º ¬¸» ¯«»-¬·±² ¾»½¿«-» ¬¸¿¬ -±³»¾±¼§ ¼·¼ò
  îí      ßò ×º × ®»½¿´´ ½±®®»½¬´§ ¬¸»§ ¸¿¼ ®«² ±²» »°·-±¼»          îí   × ¼±²ù¬ µ²±© ·º -±³»¾±¼§ ¼·¼ ±® ¼·¼²ù¬ ¾«¬ × ½¿²ù¬
  îì   ©¸»®» ¬¸»§ ¸¿¼ ¯«»-¬·±²»¼ ¸·³ ¾¿-»¼ «°±² ¬¸» ¿ºº·¼¿ª·¬-       îì   ®»¿´´§ ¸±²»-¬´§ ¿²-©»® ¿ ¯«»-¬·±² ¬¸¿¬ ¿--«³»- ¬¸¿¬
  îë   ¿²¼ ¬¸» ³±¬·±²- ¿²¼ -± º±®¬¸ ¿²¼ × ¬¸·²µ ¬¸»§ -¸±©»¼ ¸·³      îë   -±³»¾±¼§ ¼·¼ ±® ¼·¼²ù¬ò
                                                           Ð¿¹» íï                                                          Ð¿¹» íí
   ï   ¼®·ª·²¹ ¬¸» ©®±²¹ óó ¹»¬¬·²¹ ¿´´ ½®¿¦§ ¿²¼ ¼®·ª·²¹ ¬¸»         ï     Ïò É»´´ ³§ °±·²¬ ©¿- ·- ¬¸¿¬ §±« ¼±²ù¬ µ²±© ©¸»²
   î   ©®±²¹ ©¿§ ±«¬ ±º ¿ °¿®µ·²¹ ´±¬ò Ç»¿¸ò                          î   °»±°´» ½¿³» ¿²¼ñ±® ´»º¬ ¬¸» ®±±³ ¾»½¿«-» §±« ©»®»²ù¬
   í     Ïò Ü± §±« µ²±© ©¸± ¬·°°»¼ ¬¸» ³»¼·¿ ±ºº ¬± ¿                 í   ¬¸»®»á Ç±« ¼·¼²ù¬ -»» ·¬ô ½±®®»½¬á
   ì   -·¬«¿¬·±² ·²ª±´ª·²¹ Ö«¼¹» Ø¿³®»á                               ì     ßò Ç±«ù®» ¿--«³·²¹ ¬¸¿¬ -±³»¾±¼§ ½¿³» ¿²¼ ´»º¬ò ×
   ë     ßò × ¼± ²±¬ò × ¼·¼ ²±¬ ¿²¼ × ¼± ²±¬ µ²±© º±® ¿ º¿½¬          ë   ¼±²ù¬ µ²±© ¬¸¿¬ò
   ê   ©¸± ¼·¼ò                                                       ê     Ïò Í± ·º Ó®ò Ð¿¹» ¿²¼ Ó®ò Í¬»©¿®¬ ¬»-¬·º§ ¿²¼ -¿§
   é     Ïò Ý±«´¼ ·¬ ¾» ¿²§±²» º®±³ §±«® ±ºº·½»á                      é   ¬¸¿¬ ¬¸»§ ´»º¬ ¿¬ ¿ ½»®¬¿·² °±·²¬ ¼«®·²¹ ¬¸» ®»½±®¼·²¹
   è     ßò ×¬ù- ¿´©¿§- °±--·¾´» ¾«¬ × ¼±²ù¬ ¾»´·»ª» ¬¸¿¬ ¬±          è   ¿²¼ ¬¸» ¬®¿²-½®·°¬- -¸±© ¬¸¿¬ ¿º¬»® ¬¸¿¬ °±·²¬ ²»·¬¸»®
   ç   ¾» ¬¸» ½¿-»ò                                                   ç   ±²» ±º ¬¸»³ -¿·¼ ¿²§¬¸·²¹ô §±« ©±«´¼²ù¬ ¸¿ª» ¿²§
  ïð     Ïò Ò±© ±² Ó¿§ ïð¬¸ô îðïí §±« ©»®» ¿©¿®» ¬¸¿¬                ïð   ·²º±®³¿¬·±² ¬± ½±²¬®¿¼·½¬ ¬¸» °±-·¬·±² ¬¸¿¬ ¬¸»§
  ïï   Ó®ò Þ¿µ»® ©¿- ¿´-± ®»½±®¼·²¹ ¬¸» °®±½»»¼·²¹ô ½±®®»½¬á         ïï   ¿½¬«¿´´§ ´»º¬ ¬¸» ®±±³ô ½±®®»½¬á
  ïî     ßò ×¬ ©¿- Ó®ò Þ¿µ»®ù- ·¼»¿ ¿²¼ × ¬¸±«¹¸¬ ¿¬ ¬¸» ´¿-¬        ïî     ßò Ì¸» ±²´§ ¬¸·²¹ ¬¸¿¬ × ½¿² -¿§ ·- ©¸¿¬ × ¸»¿®¼ ¿²¼
  ïí   ³·²«¬» ·¬ ©¿- ¿ ¹±±¼ ·¼»¿ò                                    ïí   ©¸¿¬ ·- ±² ¬¸» ¬¿°» ¿²¼ ¬¸¿¬ ·- ¿ º»© ½±³³»²¬- ¿- ©» ¹±
  ïì     Ïò Þ«¬ §±« ©»®» ¿©¿®» ¬¸¿¬ ¬¸»®» ©»®» ¬©± ®»½±®¼·²¹         ïì   ¿´±²¹ ¾§ ±²» ±® ¾±¬¸ Ð¿¹» ¿²¼ Í¬»©¿®¬ ¿²¼ ¬¸»·® ½±³³»²¬-
  ïë   ¼»ª·½»- ¾»·²¹ ¿½¬·ª¿¬»¼ ¿¬ ¬¸» -¿³» ¬·³»ô ½±®®»½¬á            ïë   ¿¬ ¬¸» »²¼ò Ø±© ´±²¹ ¬¸»§ -¬¿§»¼ ¿º¬»® ¬¸»·® ª±·½»-
  ïê     ßò Ý±®®»½¬ò                                                 ïê   ´¿-¬ ±² ¬¸» ¬¿°» × ¸¿ª» ²± ·¼»¿ò
  ïé     Ïò Ç±« ©»®» ¿´-± ¿©¿®» ¬¸¿¬ ·² ¿¼¼·¬·±² ¬±                  ïé     Ïò Ì¸¿²µ §±«ò
  ïè   Ó®ò Þ¿µ»®ù- ®»½±®¼·²¹ ¼»ª·½» Ó®ò Þ¿µ»® ©¿- ²±¬                ïè     ßò Ì¸»§ ½±«´¼ ¸¿ª» ¾»»² ¬¸»®» ¬¸» »²¬·®» ¬·³» º±®
  ïç   ·¼»²¬·º·»¼ ¿- ¾»·²¹ ¿ °¿®¬·½·°¿²¬ ±² ¬¸» ¬»´»°¸±²» ½¿´´ô      ïç   ©¸»² Ð»¹¹§ Ù®±¬» ©¿- ³¿µ·²¹ ¸»® ½±³³»²¬- ¼·®»½¬´§ ©·¬¸
  îð   ½±®®»½¬á                                                      îð   ¬¸» Ö«¼¹» Ø¿³®» ±® ¬¸»§ ½±«´¼ ¸¿ª» ¾»»² ¹±²» ¿¬ ¬¸¿¬
  îï     ßò × ¼± ²±¬ µ²±©ò ×ù¼ ¸¿ª» ¬± ´·-¬»² ¬± ¬¸»                 îï   ¬·³»ò Ì¸» ´¿-¬ × µ²±© ¿²¼ ½¿² ª»®·º§ ¬¸¿¬ ¬¸»§ ©»®»
  îî   ®»½±®¼·²¹ ¬± µ²±© ©¸»¬¸»® ¬¸¿¬ ¼·¼ ±® ¼·¼ ²±¬ ±½½«®ò ×        îî   ¬¸»®» ·- ©¸»² ¬¸»·® ª±·½»- °«¬ ¬¸»³ ¬¸»®»ò
  îí   ¼±²ù¬ ¾»´·»ª» ¬¸¿¬ ¸» ©¿- ¾«¬ò                                îí     Ïò Ñµ¿§ò
  îì     Ïò Þ«¬ §±« ©±«´¼ ®»´§ ±² ¬¸»² ¬¸» ¬®¿²-½®·°¬- ¬¸¿¬          îì        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò í
  îë   ¸¿ª» ¾»»² °®±¼«½»¼ ¿²¼ ½®»¿¬»¼ ¬± º·²¼ ±«¬ ©¸»¬¸»® ±®         îë        Ó®ò Ê·--»®ù- Ì®¿²-½®·°¬ ±º Î»½±®¼»¼ Ø»¿®·²¹

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                                                       Ð¿¹» íì                                                          Ð¿¹» íê
   ï        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ                         ï   ¼·-½±²²»½¬»¼ ¬¸» ´·²»ô ½±®®»½¬á
   î   ÞÇ ÓÍò ÞËÎÕÛæ                                              î      ßò × ¸¿ª» ²± ·¼»¿ ©¸¿¬ ¬¸»§ ¾»´·»ª»¼ò
   í     Ïò ×ù³ ¹±·²¹ ¬± -¸±© §±« ©¸¿¬ × ³¿®µ»¼ ¿- Ü»°±-·¬·±²     í      Ïò Ó§ ¯«»-¬·±² ©¿- ¿ ´·¬¬´» ¾·¬ ¼·ºº»®»²¬ ¬¸±«¹¸ò
   ì   Û¨¸·¾·¬ íò × ³¿¼» ¿² »¨¬®¿ ½±°§ º±® §±«® ±ºº·½»ò ß²¼       ì   ×¬ ©¿- ©¸¿¬ §±« ¬¸±«¹¸¬ ¬¸»§ ³¿§ ¸¿ª» ¾»´·»ª»¼ò ß¬ ¬¸¿¬
   ë   ¬¸·- ·- ¿ ¬®¿²-½®·°¬ ¬¸¿¬ ×ùª» ®»½»·ª»¼ ±² -»ª»®¿´         ë   °±·²¬ §±« ©»®» ©·¬¸ ¬¸» «²¼»®-¬¿²¼·²¹ ¬¸¿¬ ¬¸»§ ¬¸±«¹¸¬
   ê   ±½½¿-·±²- ¿²¼ ¬¸·- ·- ¿ ¬®¿²-½®·°¬ ¬¸±«¹¸ ¬¸¿¬ ©¿-         ê   §±« ¸¿¼ ¬¸»² ¼·-½±²²»½¬»¼ ¬¸» ´·²»ô ½±®®»½¬á
   é   °®»°¿®»¼ º®±³ §±«® ®»½±®¼·²¹á ×¬ ©¿- °®»°¿®»¼ ¿¬ §±«®      é      ßò Ò±ô × ¼±²ù¬ ¬¸·²µ × ¸¿¼ ¿²§ ±º ¬¸±-» ¬¸±«¹¸¬-ò
   è   ®»¯«»-¬ ©¿- ·¬ ²±¬á                                        è      Ïò Ò±á
   ç     ßò ×¬ ©¿-ò                                               ç      ßò Ò±ò
  ïð     Ïò É¸± °®»°¿®»¼ ¬¸·- ¬®¿²-½®·°¬á                        ïð      Ïò Ç±« ¼±²ù¬ ¾»´·»ª» ¬¸¿¬ óó §±« ¼·¼²ù¬ ¾»´·»ª» ¬¸¿¬
  ïï     ßò × ¾»´·»ª» ¬¸¿¬ Ô§²² ¼·¼ô Ô§²² Î©-©§µ ¿¬ ±«®          ïï   §±« ¬¸±«¹¸¬ ¬¸¿¬ ¬¸»§ ¼·¼²ù¬ µ²±© ¬¸¿¬ §±« ©»®» -¬·´´ ±²
  ïî   ±ºº·½»ò Í¸» ³¿§ ¸¿ª» ¸¿¼ -±³» ª»®·º·½¿¬·±² ±® -±³»        ïî   ¬¸» ´·²»á
  ïí   ¿--·-¬¿²½» ©·¬¸ ·¬ º®±³ Ö±¿² Ó«´¼»®ò                      ïí      ßò × ¼·¼²ù¬ ¸¿ª» ¿²§ ¬¸±«¹¸¬- ©·¬¸ ©¸¿¬ ¬¸»§ ©»®»
  ïì            ÌØÛ ÎÛÐÑÎÌÛÎæ Ý¿² §±« -°»´´ ¬¸» ´¿-¬ ²¿³»        ïì   ¬¸·²µ·²¹ ±® ¿²§¬¸·²¹ »´-»ò × ©¿- ¾«-§ ¬®§·²¹ ¬± ³¿µ»
  ïë   º±® Ô§²²á                                                 ïë   ²±¬»- ¾»½¿«-» ·º §±« ´±±µ ¿¬ ³§ ½¿´»²¼¿® ·º §±«ùª» ®»¿¼
  ïê            ÌØÛ É×ÌÒÛÍÍæ É × ³»¿² ÎóÉóÇ óó ¸»®» §±« ¹±ò      ïê   ¬¸» ¬¸·²¹ Ö«¼¹» Ø¿³®» ©¿- ±®¼»®·²¹ ³» ¬± ¿°°»¿® ©¸»² ×
  ïé   ÎóÉóÍóÉóÇóÕò Ó«´¼»® ·- ÓóËóÔóÜóÛóÎò                       ïé   ©¿- -½¸»¼«´»¼ ¬± ¾» -±³»°´¿½» »´-» ¶«-¬ ±«¬ ±º ¬¸» ¾´«»
  ïè            ÌØÛ ÎÛÐÑÎÌÛÎæ Ì¸¿²µ §±«ò                         ïè   ¬± -¸±© «° ¬¸» º±´´±©·²¹ Ó±²¼¿§ ³±®²·²¹ò
  ïç   ÞÇ ÓÍò ÞËÎÕÛæ                                             ïç      Ïò Í± §±«ù®» ¬»´´·²¹ ³» ¬¸¿¬ º±´´±©·²¹ ¬¸» -¬¿¬»³»²¬
  îð     Ïò Ø±© ³¿²§ ¬·³»- ¼·¼ §±« ½±³°¿®» ¬¸·- ¬®¿²-½®·°¬ ¬±    îð   ½´·½µ ±º ¬¸» ´·²» ¼·-½±²²»½¬ §±« ¼·¼ ²±¬ ¾»´·»ª» ¬¸¿¬
  îï   ¬¸» ®»½±®¼·²¹ ¬¸¿¬ §±« ¸¿¼á                               îï   Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¬¸¿¬ §±« ©»®» ±«¬ ±º ¬¸» ¸»¿®·²¹á
  îî     ßò × ¸¿ª» ²±¬ò                                          îî      ßò Ò±ô × ¸¿¼ ²± ¬¸±«¹¸¬-ò × ©¿- -¬·´´ ³¿µ·²¹ ²±¬»-
  îí     Ïò Ç±« ¸¿ª» ²±¬ô ±µ¿§ò Ñ² °¿¹» ïè óó ©»´´ ´»¬ ³»        îí   ¿¬ ¬¸¿¬ °¿®¬·½«´¿® °±·²¬ò
  îì   ¿-µ §±« ¬¸·-ò Ì¸»®» ¿®» -»ª»®¿´ °´¿½»- ©¸»®» ·¬ -¿§-      îì      Ïò Ñµ¿§ò ß²¼ §±« ¸¿ª» ²»ª»® ¿¬¬»-¬»¼ ±¬¸»®©·-» ¬±
  îë   »·¬¸»® ·²¿«¼·¾´» ±® ³«³¾´·²¹ ·² ¬¸» ±ºº·½»ò Ç±« ©±«´¼     îë   ¬¸¿¬ô ½±®®»½¬á
                                                       Ð¿¹» íë                                                          Ð¿¹» íé
   ï   ¿¹®»» ©·¬¸ ³» óó ¿²¼ ¬¸»®»ù- ¿´-± -±³» °´¿½»- ©¸»®» ¬¸»    ï     ßò É¸¿¬ ³§ ¬¸±«¹¸¬- ©»®» ¿¬ ¬¸» ¬·³»á
   î   -°»¿µ»® ·- «²·¼»²¬·º·»¼ ©·¬¸ ¯«»-¬·±²- ³¿®µ-ò Í± §±«ù¼     î     Ïò Ò± ¬¸¿¬ §±« ¸¿ª» óó ¿¬ ¬¸» ¬·³» ¬¸¿¬ ·¬ -¿·¼
   í   ¿¹®»» ©·¬¸ ³» ¬¸¿¬ ©¸±»ª»® ©¿- ¬®¿²-½®·¾·²¹ ¬¸·-ô          í   ½´·½µ ±º ¬¸» ´·²» ¼·-½±²²»½¬ §±« ¸¿ª» ²»ª»® ¿¬¬»-¬»¼
   ì   ¬®¿²-½®·¾·²¹ §±«® ®»½±®¼·²¹ ¬¸»§ ½±«´¼²ù¬ ¬»´´ ¿¬          ì   ±¬¸»®©·-» ¬¸¿¬ Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¬¸¿¬ §±« ©»®» ±«¬ ±º
   ë   ½»®¬¿·² °±·²¬- ©¸± ©¿- -¿§·²¹ ©¸¿¬ ±® ©¸¿¬ ©¿- ¾»·²¹       ë   ¬¸» ¸»¿®·²¹ ¿º¬»® ¬¸¿¬ °±·²¬á
   ê   -¿·¼ô ½±®®»½¬á                                             ê     ßò Ñ¸ ×ùª» -«®³·-»¼ ¿º¬»® ¬¸» º¿½¬ô ¿º¬»® ×ùª»
   é     ßò Ì¸¿¬ ©±«´¼ ¾» ½±®®»½¬ò É¸±»ª»® °®»°¿®»¼ ¬¸·-          é   ´·-¬»²»¼ ¬± ¬¸» ¬¸·²¹ ¾«¬ × ¸¿¼ ²± ¬¸±«¹¸¬- ¿¬ ¬¸» ¬·³»ò
   è   ¬¸»§ ©»®» «²¿¾´» ¬± ·¼»²¬·º§ ¬¸» °»®-±²ò                   è   × ¸¿ª» -·²½» ¬¸¿¬ ¬·³» × ½¿²ù¬ ·³¿¹·²» ¿²§¾±¼§ »²¹¿¹·²¹
   ç     Ïò ß²¼ §±« ¼·¼ ²±¬ ¹± ¾¿½µ ¬¸®±«¹¸ ¿²¼ ª»®·º§ ¬¸»        ç   ·² ¬¸·- ¬§°» ±º ¾»¸¿ª·±® ±¬¸»®©·-»ò Ì¸»·® ¬®«» ½±´±®-
  ïð   ¿½½«®¿½§ ¬± §±«® µ²±©´»¼¹» ¬± ¬¸» »¨¬»²¬ ¬¸¿¬ §±« ½±«´¼   ïð   -¸±©·²¹ º±®©¿®¼ ¾«¬ × ¼±²ù¬ ¬¸·²µ ¿²§¾±¼§ ©±«´¼ ¼¿®» -¿§
  ïï   ¿º¬»® ¬¸» ¬®¿²-½®·°¬ ©¿- °®»°¿®»¼ô ½±®®»½¬á               ïï   ¬± ¬¸·- ³§ º¿½»ò
  ïî     ßò × ¼·¼ ²±¬ò × ¼»½·¼»¼ ²±¬ ¬± ¸¿ª» ¿²§ ·²°«¬ ¿¬        ïî     Ïò Í± ¾¿-»¼ ±² ¬¸¿¬ §±«® ·³°®»--·±² ©¿- ¬¸»§ ¬¸±«¹¸¬
  ïí   ¿´´ ·²¬± ¬¸» °®»°¿®¿¬·±² ±º ¬¸» ¼±½«³»²¬ò                 ïí   ¬¸¿¬ §±« ©»®» ²± ´±²¹»® ±² ¬¸» ´·²»ô ¬®«»á
  ïì     Ïò Ñµ¿§ò Þ«¬ ·¬ ©¿- °®»°¿®»¼ ¿¬ §±«® ®»¯«»-¬ ©¿- ·¬     ïì     ßò × ¸¿ª» -«®³·-»¼ -·²½» ¬¸¿¬ ¬·³» ¬¸¿¬ ¬¸»§ ³¿§
  ïë   ²±¬á                                                      ïë   ¸¿ª» ¬¸±«¹¸¬ ¬¸¿¬ò × ³»¿² × ¹«»-- ©» ½±«´¼ ¿´´ ¹«»--
  ïê     ßò Ì¸¿¬ ·- ½±®®»½¬ò                                     ïê   ©¸¿¬ ¬¸»§ ©»®» ±® ©»®» ²±¬ ¬¸·²µ·²¹ ±® ¬¸¿¬ ¬¸»§ ©»®»²ù¬
  ïé     Ïò Ð¿¹» ïè ¿¬ ¬¸» ª»®§ ¾±¬¬±³ ±º °¿¹» ïè ·¬ -¿·¼        ïé   ¬¸·²µ·²¹ ¿¬ ¿´´ò
  ïè   ½´·½µ ±º ´·²» ¼·-½±²²»½¬ §±« -»» ¬¸¿¬ ¿¬ ¬¸» ª»®§         ïè     Ïò Ñµ¿§ò
  ïç   ¾±¬¬±³á                                                   ïç        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ì
  îð     ßò Ý±®®»½¬ò                                             îð        Ì»´»°¸±²» Ý±²º»®»²½» Ì®¿²-½®·¾»¼ Þ§ Ý±«®¬
  îï     Ïò ßº¬»® ¬¸¿¬ °±·²¬ ¬¸»² ©» ¹± ¿¸»¿¼ ¿²¼ ©» ¬¿´µ        îï        Î»°±®¬»®
  îî   ¿¾±«¬ ¿ ½±²ª»®-¿¬·±² ¾»¬©»»²ô ©»´´ô ·¬ù- ¼»°·½¬»¼ ¸»®»    îî        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ
  îí   ¾»¬©»»² Ö«¼¹» Ø¿³®»ô Ó®ò Ð¿¹»ô ¿²¼ Ó®ò Í¬»©¿®¬ò ß¬ ¬¸¿¬   îí   ÞÇ ÓÍò ÞËÎÕÛæ
  îì   °±·²¬ ¬¸±«¹¸ ·¬ ©¿- §±«® ·³°®»--·±² ¬¸¿¬ Ó®ò Ð¿¹» ¿²¼     îì     Ïò ×ù´´ -¸±© §±« ©¸¿¬ × ³¿®µ»¼ ¿- Ü»°±-·¬·±² Û¨¸·¾·¬
  îë   Ó®ò Í¬»©¿®¼ ¿²¼ Ö«¼¹» Ø¿³®» ¾»´·»ª»¼ ¬¸¿¬ §±« ¸¿¼         îë   ìò Ì¸·- ·- ¿½¬«¿´´§ ¶«-¬ º±® ¬¸» ®»½±®¼ ×ù³ ²±¬ ¹±·²¹

                                                                                                        ïð øÐ¿¹»- íì ó íé÷
                                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                 çéíóìïðóìðìð
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                                                         Ð¿¹» íè                                                                Ð¿¹» ìð
   ï   ¬± ¿-µ §±« ¿¾±«¬ ¿²§ °¿®¬·½«´¿® ³±³»²¬ ¾«¬ ¬¸·- ©¿- ¿        ï ïï¬¸ô îðïíò Ü·¼ × ®»¿¼ ¬¸¿¬ ½±®®»½¬´§á
   î   ¬®¿²-½®·°¬ ¬¸¿¬ ©¿- °®»°¿®»¼ ¾§ ¿ ½±«®¬ ®»°±®¬»® ©¸±         î    ßò Ý±®®»½¬ò
   í   -·¹²»¼ ¬¸» ½»®¬·º·½¿¬·±² ¿¬ ¬¸» ¾¿½µ ±º ·¬ ¬¸¿¬ ©¿-          í    Ïò Î»´¿¬·ª» ¬± §±«® ½±³³»²¬- ¬¸¿¬ ¬¸» Ó¿®½¸ ê¬¸ô
   ì   °®»°¿®»¼ ·² ß«¹«-¬ ±º îðïí ¸¿ª» §±« »ª»® -»»² ¬¸·-           ì îðïí »¨ó°¿®¬» ¬»³°±®¿®§ ®»¬®¿·²·²¹ ±®¼»® ©¿- ®»¯«»-¬»¼
   ë   ¾»º±®»á                                                      ë ¾§ Õ»´´§ Ð¿¹» ©¸¿¬ °»®-±²¿´ µ²±©´»¼¹» ¼± §±« ¸¿ª» ¬¸¿¬
   ê     ßò × ¼±²ù¬ ¬¸·²µ -±ò                                       ê ¬¸¿¬ ÌÎÑ ©¿- ®»¯«»-¬»¼ ¾§ Õ»´´§á
   é     Ïò Í± ¬¸·- ©¿- ¿ ½±«®¬ ®»°±®¬»® ¿² «²·²¬»®»-¬»¼            é    ßò × ¬¸·²µ ¸·- -·¹²¿¬«®»ù- ±² ¬¸» ¼±½«³»²¬ò
   è   ¬¸·®¼ °¿®¬§ ©¸± °®»°¿®»¼ ©¸± ¬±±µ §±«® ®»½±®¼·²¹ ¿²¼         è    Ïò Í± §±«ù®» ±²´§ ¹±·²¹ ¾§ ¬¸» -·¹²¿¬«®» ±² ¬¸»
   ç   ¬®¿²-½®·¾»¼ ·¬ò ß²¼ ¬¸» ¼·ºº»®»²½»- ¿®» ¿°°¿®»²¬ò            ç ¼±½«³»²¬á
  ïð        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò ë                               ïð    ßò ×ù³ °®»¬¬§ -«®» ¬¸¿¬ ¬¸¿¬ù- ©¸¿¬ ¬¸¿¬ ©¿- ¬¸»
  ïï        ßºº·¼¿ª·¬ ±º Ü±²¿´¼ Ê·--»®                             ïï °®·³¿®§ º¿½¬±®ò × ¼±²ù¬ ®»½¿´´ ·º ¿¬ ¬¸¿¬ ¬·³» ©» ¿´-±
  ïî        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ                          ïî ¸¿¼ -«°°´»³»²¬¿´ µ²±©´»¼¹» ¬¸¿¬ Õ»´´§ ¸¿¼ -¿·¼ ¸» ¸¿¼
  ïí   ÞÇ ÓÍò ÞËÎÕÛæ                                               ïí ¹±²» ¬± ¹»¬ ·¬ò Þ«¬ × ¾»´·»ª» ¬¸¿¬ ©¿- óó ©±«´¼ ¸¿ª»
  ïì     Ïò ×ù´´ -¸±© §±« ©¸¿¬ × ³¿®µ»¼ ¿- Ü»°±-·¬·±² Û¨¸·¾·¬      ïì ¾»»² ¾¿-»¼ ±² ¸·- -·¹²¿¬«®»ò
  ïë   ëò ß²¼ ¬¸·- ·- ¿² ¿ºº·¼¿ª·¬ ¬¸¿¬ ©¿- -·¹²»¼ ¾§ §±«ô         ïë    Ïò Ç±« -¬¿¬» ·² °¿®¿¹®¿°¸ -·¨ ¬¸¿¬ ±² Ó¿®½¸ îî²¼ô
  ïê   ½±®®»½¬á                                                    ïê îðïí Ö«¼¹» Ø¿³®» ¿¹¿·² ¸¿¼ »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ©·¬¸
  ïé     ßò Ç»-ô ³¿ù¿³ò                                            ïé ß¬¬±®²»§ Õ»´´§ Ð¿¹» ¿²¼ñ±® ¸·- ±ºº·½» ¾¿-»¼ ±² ¬¸±-»
  ïè     Ïò ß²¼ ·¬ ©¿- óó ·¬ù- ¼¿¬»¼ Ó¿§ ïî¬¸ô îðïí -± ¬©±         ïè »¨ó°¿®¬» ½±³³«²·½¿¬·±²- Ö«¼¹» Ø¿³®» ¿¹¿·² ·--«»¼ ¿²
  ïç   ¼¿§- ¿º¬»® ¬¸» ¬»´»°¸±²» ½±²º»®»²½»ô ½±®®»½¬á               ïç »¨ó°¿®¬» ±®¼»® »²¶±·²·²¹ ØÔÊô ÔÔÝò É¸¿¬ °»®-±²¿´
  îð     ßò Ì¸¿¬ù- ©¸»² ·¬ ¿°°»¿®- ¬± ¾»ô §»-ò                     îð µ²±©´»¼¹» ¼± §±« ¸¿ª» ¬¸¿¬ ±² Ó¿®½¸ îî²¼ Ö«¼¹» Ø¿³®» ¸¿¼
  îï     Ïò Ü±»- Ô§²² Î©-©§µ ©±®µ ±² Í«²¼¿§-á                      îï »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ©·¬¸ Õ»´´§ Ð¿¹» ¿²¼ñ±® ¸·-
  îî     ßò Í¸» ³¿§ ¾«¬ × ¼±²ù¬ ¾»´·»ª» -¸» ¼±»- ¸»®»ò             îî ±ºº·½»á
  îí     Ïò Þ»½¿«-» ¬¸·- ¼±½«³»²¬ ·- -·¹²»¼ Ó¿§ ïî¬¸ô îðïíá        îí    ßò Ì¸¿¬ù- ¿ ½±³°´»¨ ¿²-©»® ¾»½¿«-» -·²½» ¬¸¿¬ ¬·³» ×
  îì     ßò Ý±®®»½¬ò                                               îì º±«²¼ ±«¬ ¬¸¿¬ ¬¸¿¬ ·-²ù¬ ¬®«»ò ß´¬¸±«¹¸ ·¬ ©¿-
  îë     Ïò ß²¼ -¸» -·¹²»¼ ·¬ ¿- ¾»·²¹ ¿½µ²±©´»¼¹»¼ ¾§ §±« ±²      îë ®»°®»-»²¬»¼ ¬± ¾» ¬®«»ò ×¬ ©¿- ®»°®»-»²¬»¼ ¾§ §±«®

                                                         Ð¿¹» íç                                                                Ð¿¹» ìï
   ï   Ó¿§ ïî¬¸ô îðïíô ½±®®»½¬á                                     ï   ½´·»²¬ Õ»´´§ Ð¿¹» ·² ¿ ¼±½«³»²¬ ¸» ¬®¿²-³·¬¬»¼ ±ª»® ¬±
   î     ßò Ç»-ò                                                    î   ±«® ±ºº·½» ¬¸¿¬ ¸» ¸¿¼ ±¾¬¿·²»¼ ·¬ò
   í     Ïò Ó¿§ ïî¬¸ô îðïí ·- ¿ Í«²¼¿§á                             í     Ïò Ø» ±¾¬¿·²»¼ ©¸¿¬ô -·®á
   ì     ßò Ñµ¿§ò                                                   ì     ßò Ì¸» »¨ó°¿®¬» ±®¼»® º®±³ Ö«¼¹» Ø¿³®»ò Í·²½» ¬¸¿¬
   ë     Ïò É»®» §±« ©±®µ·²¹ ¬¸¿¬ Í«²¼¿§á                           ë   ¬·³» ¿²¼ ©» ¸¿¼ óó ©» º±«²¼ ±«¬ ¬¸¿¬ ·¬ ©¿- ²±¬ Ö«¼¹»
   ê     ßò × ©¿-ô §»-ò                                             ê   Ø¿³®»ù- -·¹²¿¬«®» ·¬ ©¿- -±³»¾±¼§ »´-»ù- ¿²¼ ¬¸¿¬ ¸» ¸¿¼
   é     Ïò É¿- Ô§²² ©±®µ·²¹ ¬¸¿¬ Í«²¼¿§á                           é   ²±¬ -·¹²»¼ ·¬ -± ·¬ ©¿- óó ©»´´ ¿¬ ¬¸¿¬ ¬·³» ©» -¬·´´
   è     ßò × ©±«´¼²ù¬òòò -¸» ³¿§ ©»´´ ¸¿ª» ¾»»² ¾»½¿«-» ¬¸¿¬       è   ¬¸±«¹¸¬ ·¬ ©¿- Ö«¼¹» Ø¿³®»ù- -·¹²¿¬«®»ò ×¬ ©¿- Õ»´´§
   ç   × µ²±© ©» ¸¿¼ ¬± °«¬ ¬¸» ³±¬·±² ¬±¹»¬¸»® ¿²¼ ¿ ²«³¾»® ±º     ç   Ð¿¹» ¬¸¿¬ °«®°±®¬»¼´§ ¬®¿²-³·¬¬»¼ ·¬ ¬± ¸·- ±ºº·½»ò
  ïð   ¿ºº·¼¿ª·¬- ¬± ¾» º·´»¼ ¬¸» º±´´±©·²¹ Ó±²¼¿§ -± ©» ¸¿¼ ¬±    ïð     Ïò Þ«¬ ³§ ¯«»-¬·±² ·- §±« -¿§ ¬¸¿¬ Ö«¼¹» Ø¿³®» ¿¹¿·²
  ïï   ¸¿ª» ¬¸» °¿½µ¿¹» -»¬ ¬± ¹± -± ©» ³¿§ ¸¿ª» ¹±¬¬»² ¸»® ¬±     ïï   ¸¿¼ »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ©·¬¸ ß¬¬±®²»§ Õ»´´§ Ð¿¹»
  ïî   ½±³» ·² ±² Í«²¼¿§ò                                          ïî   ¿²¼ñ±® ¸·- ±ºº·½»ò Ô»¬ ³» ¾®»¿µ ·¬ ¼±©²ò
  ïí     Ïò Ñµ¿§ò É¸¿¬ ©¿- ¬¸» °«®°±-» ±º §±« °®»°¿®·²¹ ¬¸·-       ïí     ßò Ý±®®»½¬ò
  ïì   ¿ºº·¼¿ª·¬á                                                  ïì     Ïò Ü± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ¬¸¿¬ ±² Ó¿®½¸
  ïë     ßò Ú±® -«¾³·¬¬·²¹ ¬± ¬¸» ½±«®¬ ¬¸» º¿½¬«¿´ ¾¿-·- º±®      ïë   îî²¼ô îðïí Ö«¼¹» Ø¿³®» ¸¿¼ »¨ó°¿®¬» óó ¸¿¼
  ïê   ¬¸» ¼·-¯«¿´·º·½¿¬·±² ±º Ö«¼¹» Ø¿³®»ò                        ïê   ½±³³«²·½¿¬·±²- ©·¬¸ ß¬¬±®²»§ Õ»´´§ Ð¿¹»á
  ïé     Ïò Ñµ¿§ò Ð¿®¿¹®¿°¸ º±«® §±« -¬¿¬» ¬¸¿¬ ±² Ó¿®½¸           ïé     ßò Ò±ò
  ïè   ê¬¸ô îðïí Ö«¼¹» Ø¿³®» ·--«»¼ ¿² »¨ó°¿®¬» ¬»³°±®¿®§          ïè     Ïò Ü± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ¬¸¿¬ ±² Ó¿®½¸
  ïç   ®»¬®¿·²·²¹ ±®¼»® ®»¯«»-¬»¼ ¾§ ß¬¬±®²»§ Õ»´´§ Ð¿¹» ·²        ïç   îî²¼ Ö«¼¹» Ø¿³®» ¸¿¼ ¼·®»½¬ ½±³³«²·½¿¬·±²- ©·¬¸ ¿²§±²»
  îð   ½¿-» ²«³¾»® ïïóëïóëëèóÝØ ©¸·½¸ ·²¬»®º»®»¼ ©·¬¸ ¿²¼          îð   º®±³ Õ»´´§ Ð¿¹»ù- ±ºº·½»á
  îï   »²¶±·²»¼ ØÔÊô ÔÔÝ º®±³ »²º±®½·²¹ ¬¸» ¬»®³- ±º ¬¸»           îï     ßò Ò±ò Þ¿-»¼ «°±² ¬¸» º¿½¬ ¬¸¿¬ ·¬ù- ²±¬ ¿ ¼±½«³»²¬
  îî   -»¬¬´»³»²¬ ¿¹®»»³»²¬ ©·¬¸ ÛÔÝ ¼»º»²¼¿²¬- °¿®»² ø-·½÷        îî   ¬¸¿¬ Ö«¼¹» Ø¿³®» ¿½¬«¿´´§ -·¹²»¼ × ¼± ²±¬ò
  îí   Õ»´´§ Ð¿¹»ù- ²»© ½´·»²¬- »²¼ °¿®»²ò Ü»-°·¬» ¬¸» º¿½¬        îí     Ïò Ø¿ª» §±« »ª»® ¬¿´µ»¼ ¬± Ö«¼¹» Ø¿³®» ¿¾±«¬ ¬¸¿¬
  îì   ¬¸¿¬ ¬¸» -»¬¬´»³»²¬ ¿¹®»»³»²¬ ¸¿¼ ¾»»² »²¬»®»¼ ¿- ¿²        îì   -·¹²¿¬«®» ±² ¬¸¿¬ ±®¼»®á
  îë   ±®¼»® ±º ¬¸» ½·®½«·¬ ½±«®¬ ¾§ Ö«¼¹» Ø¿³®» ±² Ñ½¬±¾»®        îë     ßò Ò±ò

                                                                                                                 ïï øÐ¿¹»- íè ó ìï÷
                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                           çéíóìïðóìðìð
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                                                         Ð¿¹» ìî                                                                 Ð¿¹» ìì
   ï     Ïò Ñµ¿§ò Ð¿®¿¹®¿°¸ ïï ·¬ -¿§- ¼«®·²¹ ¬¸» -¬¿¬«-            ï    Ïò óó ½±³³«²·½¿¬·±²- ¾»¬©»»² Õ»´´§ Ð¿¹» ¿²¼ Ö«¼¹»
   î   ½±²º»®»²½»ô ¿²¼ ·¬ù- ³§ «²¼»®-¬¿²¼·²¹ §±«ù®» ®»º»®®·²¹       î Ø¿³®»á
   í   ¬± ¬¸» Ó¿§ ïð¬¸ô îðïí -¬¿¬«- ½±²º»®»²½»ô ½±®®»½¬á            í    ßò Þ»½¿«-» ¸¿¼ × ¬¸»² ·¬ °®±¾¿¾´§ ©±«´¼²ù¬ ¸¿ª» ³»¬
   ì     ßò Ç»-ò                                                    ì ¬¸» ¯«¿´·º·½¿¬·±²- ±º »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ¿²§³±®»ò
   ë     Ïò Ç±« -¿§ ¼«®·²¹ ¬¸» -¬¿¬«- ½±²º»®»²½» ·¬ ¾»½¿³»          ë    Ïò ß²¼ §±« ¿´-± ¼± §±« µ²±© ±º ¿²§ ©·¬²»--»- ©¸±
   ê   ½´»¿® ¬¸¿¬ »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ¿²¼ ³¿¬»®·¿´- ¸¿¼         ê ½±«´¼ ¬»-¬·º§ ¬± -«°°±®¬ §±«® °±-·¬·±² ¬¸¿¬ ¬¸»®» ©»®»
   é   ¾»»² ®»½»·ª»¼ ¾§ Ö«¼¹» Ø¿³®» º®±³ ß¬¬±®²»§ Ð¿¹»ò É¸¿¬        é »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ¾»¬©»»² Ó®ò Ð¿¹» ¿²¼ Ö«¼¹» Ø¿³®»
   è   ½±³³«²·½¿¬·±²- ¿®» §±« -°»¿µ·²¹ ±ºá                          è ¾»º±®» ¬¸¿¬ Ó¿§ ïð¬¸ô îðïí -¬¿¬«- ½±²º»®»²½»á
   ç     ßò × ¸¿ª» ²± ·¼»¿ò Ñ¬¸»® ¬¸¿² ¬¸¿¬ Ö«¼¹» Ø¿³®» ©¿-         ç    ßò Ò±ô ±¬¸»® ¬¸¿² ¿¹¿·²ô §±« µ²±©ô ¿- × -¿§ ¬¸»
  ïð   ¾®·²¹·²¹ «° ¬¸·²¹- ¬¸¿¬ ©»®»²ù¬ ±² ¬¸» ®»½±®¼ ¿²¼           ïð -¿«-¿¹» ½±³·²¹ ±«¬ò
  ïï   ¿¼ª±½¿¬·²¹ ¬¸·²¹- ¬¸¿¬ ±¾ª·±«-´§ ¸¿¼ ¾»»² »¨°®»--»¼ ¬±      ïï    Ïò ß²¼ × «²¼»®-¬¿²¼ ¿²¼ ¬¸¿¬ù- §±«® ±°·²·±²ô
  ïî   ¸·³ ±«¬-·¼» ±º ¾»·²¹ ±² ¬¸» ®»½±®¼ò                         ïî ½±®®»½¬á Ç±« ¼±²ù¬ ¸¿ª» ¿²§ °®±±º ±º ¬¸¿¬á Ç±« ¼±²ù¬
  ïí     Ïò É»®»²ù¬ ¬¸» °¿®¬·»- -«°°±-»¼ ¬± -«¾³·¬ »·¬¸»® ¬¸»      ïí ¸¿ª» ¿²§ ©·¬²»--»- ©¸± ©·´´ ½±³» ·² ¿²¼ -¿§ §»- × -¿©
  ïì   ¼¿§ ±º ±® -¸±®¬´§ ¾»º±®» -±³» ¬§°» ±º -¬¿¬«- ½±²º»®»²½»     ïì ¬¸» ¬©± ±º ¬¸»³ ¬¿´µ·²¹ ¿¾±«¬ ¬¸·- ·--«» ¾»º±®» ¬¸»
  ïë   -«¾³·--·±²-á                                                ïë -¬¿¬«- ½±²º»®»²½»ô ½±®®»½¬á
  ïê     ßò Ì¸»§ ©»®»ò                                             ïê    ßò Ò±ô × «²¼»®-¬¿²¼ ©¸¿¬ §±«ù®» ¬®§·²¹ ¬± -¿§ ¾«¬ ×
  ïé     Ïò Ñµ¿§ò ß²¼ -±á                                          ïé ©¿²¬ ¬± ³¿µ» ¬¸» ¼·-¬·²½¬·±² ¬¸¿¬ × ¼±²ù¬ ¸¿ª» ¿²§
  ïè     ßò × -«¾³·¬¬»¼ ³·²» ×ùª» ²»ª»® ®»½»·ª»¼ ¿²§¬¸·²¹          ïè »ª·¼»²½»å ¬¸» »ª·¼»²½» ·- ¬¸» -¿«-¿¹» ¬¸¿¬ ½¿³» ±«¬
  ïç   º®±³ Õ»´´§ Ð¿¹»ò                                            ïç ¾»½¿«-» × ¼·¼²ù¬ -»» -±³»¾±¼§ °«¬ ·¬ ·²¬± ¬¸» ¹®·²¼»®
  îð     Ïò Ü·¼ §±« ®»½»·ª» ¿²§¬¸·²¹ º®±³ Ù¿®§ Í¬»©¿®¬á            îð ¼±»-²ù¬ ³»¿² ·¬ ©¿-²ù¬ °«¬ ·²ò
  îï     ßò Ü·¼ ²±¬ò Ó·²» ¾§ ¬¸» ©¿§ ©»®» ¬¸®±©² ¿©¿§ò             îï    Ïò ß²¼ ·º ¬¸»®» ·- »ª·¼»²½» ¬¸¿¬ ¬¸»®» ©¿- ¿
  îî     Ïò Í± ©¸»² §±« -¿§ ¬¸¿¬ ·¬ ¾»½¿³» ½´»¿® ¬¸¿¬              îî °®»ó-¬¿¬«- ½±²º»®»²½» -«¾³·--·±² ¬¸¿¬ ©¿- -»²¬ ¬± ¬¸»
  îí   »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ¿²¼ ³¿¬»®·¿´- ¸¿¼ ¾»»² ®»½»·ª»¼     îí ¶«¼¹» ±² ¾»¸¿´º ±º ÛÔÝ ¿²¼ ·¬ ©¿- ¿´-± -»²¬ ¬± §±«ô ¬¸¿¬
  îì   ¾§ Ö«¼¹» Ø¿³®» º®±³ ß¬¬±®²»§ Ð¿¹» §±« ¼±²ù¬ µ²±© ·º ·²      îì ©±«´¼ ¾» -±³»¬¸·²¹ ¬¸¿¬ ©±«´¼ ¾» óó ¬¸¿¬ §±« ©»®»²ù¬
  îë   º¿½¬ ¬¸¿¬ ¬¸»§ ©»®» ·² º¿½¬ ½±³³«²·½¿¬·±²- ¾»¬©»»² Ö«¼¹»    îë ¿©¿®» ±º ¿- §±« -·¬ ¸»®» ¬±¼¿§ô ½±®®»½¬á

                                                         Ð¿¹» ìí                                                                 Ð¿¹» ìë
   ï   Ø¿³®» ¿²¼ ß¬¬±®²»§ Ð¿¹»á Ì¸·- ·- ¶«-¬ §±«® ±°·²·±²ô          ï     ßò Î«² ¬¸¿¬ ±²» ¾§ ³» ¿¹¿·²ò
   î   ½±®®»½¬á                                                     î     Ïò Í«®»ò Ç±« -¿§ô ¿¹¿·² ¹±·²¹ ¾¿½µ ¬± °¿®¿¹®¿°¸ ïïô
   í     ßò Ö«¼¹» Ø¿³®» ¸¿¼ ·²º±®³¿¬·±² ¿¼ª±½¿¬»¼ °±-·¬·±²-         í   §±« -¿§ º±® »¨¿³°´» ¬¸» ½±«®¬ ®»º»®»²½»¼ ¿² ±ºº»® ±º
   ì   ¬¸¿¬ ½¿³» º®±³ × ¹«»-- × ©±«´¼ ¸¿ª» ¬± -¿§ Ð¿¹» ±®           ì   ïôèðð º®±³ ¿ ¬¸·®¼ °¿®¬§ º±® °«®½¸¿-» ±º ¬®¿·´»®- º®±³
   ë   Í¬»©¿®¬ò ×¬ ½±«´¼ ¾» »·¬¸»® ±²» ±º ¬¸»³ ¿¬ ¬¸¿¬              ë   ÛÔÝ ¿´¬¸±«¹¸ ¬¸» ¿--»¬- ¾»´±²¹ ¬± ØÔÊò Ü± §±« -»» ¬¸¿¬
   ê   °¿®¬·½«´¿® °±·²¬ò Ù¿®§ óó Õ»´´§ Ð¿¹» ©¿- ¬¸» ±²» ¬¸¿¬        ê   ·² °¿®¿¹®¿°¸ ïïá
   é   ¸¿¼ ¾»»² ¿¬ ¬¸» °®·±® óó ¬¸» ©»»µ °®·±® ¸¿¼ ¾»»² ¬¸»®»       é     ßò Ç»-ò
   è   ¿²¼ ¸» ©¿- ¬¸» ±²» ¬¸¿¬ ©¿- -«°°±-»¼ ¬± -«¾³·¬ ¬¸»           è     Ïò ß²¼ ¬¸¿¬ ©¿- §±«® ®»º»®»²½» ¬¸¿¬ §±«ù®» -¿§·²¹
   ç   ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±²ò Ñ¾ª·±«-´§ ¬¸» ¶«¼¹» ¸¿¼              ç   ¬¸¿¬ ¸±© ½±«´¼ ¬¸» ¶«¼¹» ¸¿ª» µ²±©² ¬¸¿¬ ¾«¬ º±® ¿²
  ïð   ·²º±®³¿¬·±² ¬¸¿¬ ¸» ½±«´¼ ²±¬ ¸¿ª» ¹±¬¬»² »¨½»°¬            ïð   »¨ó°¿®¬» ½±³³«²·½¿¬·±²ô ½±®®»½¬á
  ïï   -±³»¾±¼§ ¹¿ª» ¸·³ ¿¼¼·¬·±²¿´ ²«³¾»®-ô ¿¼¼·¬·±²¿´            ïï     ßò Ì¸¿¬ ·- ¿² »¨¿³°´» × ¹¿ª» ±º ³§ ³»³±®§ ¿¬ ¬¸¿¬
  ïî   °±-·¬·±²- ¬¸¿¬ ©»®» ²±¬ ¿¼ª±½¿¬»¼ °®·±® ¬± ¬¸¿¬ ¬·³»ò       ïî   ¬·³» ±º ©¸¿¬ ¸¿¼ ¸¿°°»²»¼ ¼«®·²¹ ¬¸¿¬ ½±²º»®»²½» ½¿´´ò
  ïí     Ïò Þ«¬ §±«ùª» ²»ª»® -»»² ¿²§ -±®¬ ±º ¼±½«³»²¬- ¬¸¿¬       ïí   Ì¸¿¬ ©¿- ¿² »¨¿³°´»ô ½±®®»½¬ò
  ïì   -«°°±®¬- §±«® °±-·¬·±² ¬¸¿¬ ¬¸»®» ©»®» ·² º¿½¬              ïì     Ïò ß²¼ ·º ¬¸»®» ·- óó ·º ¬¸»®» ©¿- ¿ -¬¿¬«-
  ïë   ½±³³«²·½¿¬·±²- ¾»¬©»»² Õ»´´§ Ð¿¹» ¿²¼ Ö«¼¹» Ø¿³®»           ïë   ½±²º»®»²½» -«¾³·--·±² ±² ¾»¸¿´º ±º ÛÔÝ ¬¸¿¬ ©¿- -»²¬ ¬±
  ïê   ®»´¿¬·ª» ¬± §±«® -¬¿¬»³»²¬ ·² °¿®¿¹®¿°¸ ïïô ½±®®»½¬á        ïê   ¬¸» ½±«®¬ ¿²¼ ¬¸»² ¿´-± -»²¬ ¬± §±«® ±ºº·½»ô §±« ©±«´¼
  ïé     ßò Ò±ô ·¬ù- µ·²¼ ±º ´·µ» -¿«-¿¹» óó                       ïé   ¿¹®»» ©·¬¸ ³» ¬¸»² ·¬ ©±«´¼ ²±¬ ¾» ¿² »¨ó°¿®¬»
  ïè     Ïò Þ«¬ ©¸¿¬ × -¿·¼ ©¿- ½±®®»½¬á                           ïè   ½±³³«²·½¿¬·±²ô ½±®®»½¬á
  ïç     ßò óó ¾«¬ × ¼·¼²ù¬ -»» ·¬ ¹±·²¹ ·² ¾«¬ × -»» ·¬           ïç     ßò ×º ·¬ ©¿- ¿´-± -»²¬ ¬± ³»ô ·¬ ©±«´¼ ²±¬ ¾»
  îð   ½±³·²¹ ±«¬ò                                                 îð   »¨ó°¿®¬»ô ½±®®»½¬ò
  îï     Ïò É»´´ × «²¼»®-¬¿²¼ò × «²¼»®-¬¿²¼ §±«® ½±²½´«-·±²-       îï     Ïò Ü± §±« ¸¿ª» ¿²§ ±¬¸»® »¨¿³°´»- ±¬¸»® ¬¸¿² ¬¸»
  îî   ¾«¬ ¿¹¿·² §±« ¸¿ª» ²»ª»® -»»² ¿²§ ¬§°» ±º ´»¬¬»®ô           îî   ½±«®¬ ®»º»®»²½»¼ ¿² ±ºº»® ±º üïôèðð º®±³ ¿ ¬¸·®¼ °¿®¬§
  îí   »ó³¿·´ô º¿¨ô ¼±½«³»²¬ ¬¸¿¬ -«°°±®¬- ¬¸¿¬ °±-·¬·±² ¬¸¿¬      îí   ¬¸¿¬ -«°°±®¬- §±«® ±°·²·±² ¬¸¿¬ ¬¸»®» ©»®» »¨ó°¿®¬»
  îì   ¬¸»®» ©»®» óó                                               îì   ½±³³«²·½¿¬·±²- ¾»¬©»»² Ö«¼¹» Ø¿³®» ¿²¼ ß¬¬±®²»§ Ð¿¹»á
  îë     ßò Ý±®®»½¬ò                                               îë     ßò Ò±¬ ¿- × -·¬ ¸»®»ò

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                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                         Ð¿¹» ìê                                                           Ð¿¹» ìè
   ï     Ïò Ñµ¿§ò Ù±·²¹ ±² ¬± °¿®¿¹®¿°¸ ïîô ¿²¼ °¿®¿¹®¿°¸ ïî        ï   ¿¾±«¬ §±« ¿²¼ §±«® -±² §±« ¾»´·»ª» ¬¸¿¬ Ö«¼¹» Ø¿³®»
   î   ·- §±«® ®»½±´´»½¬·±² ¿²¼ §±«® ±°·²·±² ±º ¸±© ¬¸» -¬¿¬«-      î   ¬¸±«¹¸¬ §±« ©»®» -¬·´´ ·² ¬¸» ¸»¿®·²¹á
   í   ½±²º»®»²½» ©»²¬ ±² ¿²¼ × ©¿²¬ ¬± ¹± ¬± ·¬ ©¿- ¿½¬«¿´´§       í     ßò Ò±ô ¬¸·- ½±³³»²¬ ·- ®»º»®®·²¹ ¬± ¬¸» ¬±° ±º °¿¹»
   ì   ¸·¹¸´·¹¸¬»¼ ¬¸» º·®-¬ -»²¬»²½» ¬¸¿¬ù- ¸·¹¸´·¹¸¬»¼ ¬¸»®»      ì   îðò
   ë   ±² °¿®¿¹®¿°¸ ïîò ×¬ -¿§- ¿º¬»® Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¬¸»       ë     Ïò Ñµ¿§ ¾«¬ ³§ ¯«»-¬·±² ¬¸±«¹¸ ·- ¾»½¿«-» §±«
   ê   «²¼»®-·¹²»¼ ©¿- ±«¬ ±º ¬¸» ¸»¿®·²¹å ¼± §±« -»» ¬¸¿¬á         ê   ¿´®»¿¼§ ¬»-¬·º·»¼ ¿²¼ §±« -¿·¼ ¬¸¿¬ ·¬ ©±«´¼ -«®°®·-»
   é     ßò Ý±®®»½¬ò                                                é   §±« ·º °»±°´» ©±«´¼ ³¿µ» ¬¸»-» ½±³³»²¬- ¬¸¿¬ -¬¿®¬ ±²
   è     Ïò ß²¼ ·² ¬¸¿¬ -»²¬»²½» §±«ù®» ®»º»®®·²¹ ¬± ¬¸»            è   °¿¹» ïç ¿¾±«¬ §±« ¿²¼ §±«® -±² µ²±©·²¹ ¬¸¿¬ §±« ©»®»
   ç   °±·²¬ ·² §±«® ¬®¿²-½®·°¬ ±² °¿¹» ïè ©¸»®» ·¬ -¿§- ´·²»       ç   ´·-¬»²·²¹ô µ²±©·²¹ ¬¸¿¬ §±« ©»®» ¬¸»®»á
  ïð   ¼·-½±²²»½¬»¼ô ½±®®»½¬á                                      ïð     ßò Ý±®®»½¬ò
  ïï     ßò Ì¸» ¬®¿²-½®·°¬ ¸¿¼ ²±¬ ¾»»² °®»°¿®»¼ §»¬ò              ïï     Ïò Í± ©¸¿¬ ²±© §±«ù®» ¬»´´·²¹ ³» §±«® -»²¬»²½» ¬¸¿¬
  ïî     Ïò × «²¼»®-¬¿²¼ ¬¸¿¬ò × «²¼»®-¬¿²¼ ¬¸¿¬ò Þ«¬ ×ù³          ïî   -¿§- ¿º¬»® Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¬¸» «²¼»®-·¹²»¼ ©¿- ±«¬
  ïí   «-·²¹ ¬¸» ¬®¿²-½®·°¬ ¬± ¸»´° ³»ô §±« µ²±©ô °«¬ ¬¸»          ïí   ±º ¬¸» ¸»¿®·²¹ §±«ù®» ®»º»®®·²¹ ¬± ¿ °±·²¬ ·² ¬·³» ¬¸¿¬
  ïì   ¬·³»´·²» ¬±¹»¬¸»®ò Þ«¬ ©¸»² §±« -¿§ ¿º¬»® Ö«¼¹» Ø¿³®»       ïì   -¬¿®¬»¼ ±² °¿¹» îð ¿º¬»® ¬¸±-» ½±³³»²¬- ©»®» ¿´®»¿¼§
  ïë   ¬¸±«¹¸¬ ¬¸» «²¼»®-·¹²»¼ ©¿- ±«¬ ±º ¸»¿®·²¹ô ¬¸¿¬ù- ¬¸»      ïë   ³¿¼»á
  ïê   °±·²¬ ·² ¬·³» ¬¸¿¬ù- ®»º»®®»¼ ¬± ±² Ð¿¹» ïè ±º ¬¸»          ïê     ßò Ì©»²¬§ô §»-ò Ì¸¿¬ù- ©¸»² ¸» ·²¼·½¿¬»¼ ¬¸¿¬ ¸»
  ïé   ¬®¿²-½®·°¬ ©¸»®» ·¬ -¿§- ½´·½µ ±º ´·²» ¼·-½±²²»½¬ô          ïé   ¸¿¼ ²± ·²¬»²¬·±² ±º ¿½¬«¿´´§ °®±½»»¼·²¹ ©·¬¸ ¬¸» ¸»¿®·²¹
  ïè   ½±®®»½¬á                                                    ïè   ¿²¼ ¸» ©¿- ¹±·²¹ ¬± ½«¬ «- ±ººò ß²¼ ¸» ¬¸±«¹¸¬ óó ×
  ïç     ßò Ò±ô ×ù³ ¶«-¬ -·³°´§ -¿§·²¹ ¬¸»®» ¬¸¿¬ ¸» ¬¸±«¹¸¬       ïç   ¬¸·²µ ¸» ¬¸±«¹¸¬ »ª»®§¾±¼§ô ¿²¼ ¿¹¿·² ×ù³ -°»½«´¿¬·²¹ ¿¬
  îð   ¬¸¿¬ ©» ©»®» ±«¬ ±º ¸»¿®·²¹ò × ¸¿ª» ²± ·¼»¿ ©¸¿¬            îð   ¬¸·- °±·²¬ò ß- × ´±±µ ¾¿½µ × ¬¸·²µ ¸» ¬¸±«¹¸¬ »ª»®§¾±¼§
  îï   ³±¬·ª¿¬»¼ ¸·³ò                                              îï   ©¿- ±«¬ ±º »¿®- ®»¿½¸ò
  îî     Ïò ×ù³ ²±¬ ¿-µ·²¹ ¿¾±«¬ ¸·- ³±¬·ª¿¬·±²ò ×ù³ ¿-µ·²¹        îî     Ïò Ô»¬ ³» ¿-µ §±« ¬¸·- ©¿§ò Ì¸» ½±³³»²¬- ¬¸¿¬ -¬¿®¬
  îí   ¿¾±«¬ ¬¸» °±·²¬ ·² ¬·³» ¼«®·²¹ ¬¸» ®»½±®¼·²¹ò É¸»² §±«      îí   ±² °¿¹» îð ¬¸±-» ½±³³»²¬- ¬¸¿¬ §±« ¸¿ª» ±² §±«®
  îì   -¿§ ¿º¬»® Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¬¸» «²¼»®-·¹²»¼ ©¿- ±«¬ ±º    îì   ¬®¿²-½®·°¬ ©¸»² ¬¸±-» ©»®» -¿·¼ ¼·¼ §±« ¾»´·»ª» ¬¸¿¬
  îë   ¬¸» ¸»¿®·²¹ ¬¸¿¬ ½±®®»-°±²¼- ¬± °¿¹» ïè ©¸»®» ·¬ -¿§-       îë   ¾»½¿«-» ¬¸»§ ©»®» ¾»·²¹ -¿·¼ ±² ¬¸» ±¬¸»® ´·²» ¼± §±«
                                                         Ð¿¹» ìé                                                           Ð¿¹» ìç
   ï   ½´·½µ ±º ´·²» ¼·-½±²²»½¬ ¼±»- ·¬ ²±¬á                        ï   ¾»´·»ª» ¬¸¿¬ ¬¸»§ µ²»© §±« ©»®» -¬·´´ ´·-¬»²·²¹á
   î     ßò Ò±ò × ¬¸·²µ ·¬ ®»º»®- ¬± ¿ ´¿¬»® °±·²¬ ©¸»®»            î     ßò Ñ¸ ²± ¿- × ´±±µ ¾¿½µ ±² ·¬ô ²±ò
   í   ¿°°¿®»²¬´§ Ù¿®§ Í¬»©¿®¬ ¿²¼ Õ»´´§ Ð¿¹» ¸¿¼ ´»º¬ ¬¸»          í     Ïò Í± ·¬ù- §±«® ¾»´·»º ¬¸¿¬ ©¸»² ¬¸» ½±³³»²¬-
   ì   ±ºº·½»ò                                                      ì   -¬¿®¬»¼ ±² °¿¹» ïç §±«® ¾»´·»º ·- ¬¸¿¬ ¬¸»§ ¼·¼²ù¬ µ²±©
   ë     Ïò Í± ·¬ù- §±«® «²¼»®-¬¿²¼·²¹ ¬¸¿¬ §±« ¾»´·»ª» Ö«¼¹»       ë   ¬¸¿¬ §±« ©»®» -¬·´´ ´·-¬»²·²¹ô ½±®®»½¬á
   ê   Ø¿³®» ¬¸±«¹¸¬ §±« ©»®» ±² ¬¸» ´·²» ¬¸» ©¸±´» »²¬·®» ¬·³»     ê     ßò Ì¸¿¬ ·- ³§ ½«®®»²¬ ¾»´·»ºô §»-ò
   é   -¬¿®¬·²¹ ±² °¿¹» ïç ±º §±«® ¬®¿²-½®·°¬á                      é     Ïò Ý±²¬·²«·²¹ ±² °¿®¿¹®¿°¸ ïî ±º §±«® ¿ºº·¼¿ª·¬ §±«
   è     ßò × ¸¿ª» ²± ·¼»¿ ©¸¿¬ Ö«¼¹» óó × ½¿² -°»½«´¿¬» ¿-         è   -¿§ ³±®» ·³°±®¬¿²¬´§ Ö«¼¹» Ø¿³®» ½±²¬·²«»¼ ¬± ¼·-½«--
   ç   ¬± ©¸¿¬ Ö«¼¹» Ø¿³®» ¬¸±«¹¸¬ ¾«¬ × ¸¿ª» ²± ·¼»¿ò              ç   ¬¸» ³¿¬¬»® ©·¬¸ ß¬¬±®²»§ Ð¿¹»ò Ö«-¬ ß¬¬±®²»§ Ð¿¹»å ·-
  ïð     Ïò Ò±ò Ò±ô ×ù³ ²±¬ ¬¿´µ·²¹ ¿¾±«¬ ©¸¿¬ Ö«¼¹» Ø¿³®»         ïð   ¬¸¿¬ §±«® °±-·¬·±²á
  ïï   ¬¸±«¹¸¬ò ×ù³ ¬¿´µ·²¹ ¿¾±«¬ ©¸»² §±« -¿§ ¿º¬»® Ö«¼¹»         ïï     ßò Ò±ò ß- × ´±±µ ¿¬ ¬¸» ¬®¿²-½®·°¬ Ù¿®§ Í¬»©¿®¬ ©¿-
  ïî   Ø¿³®» ¬¸±«¹¸¬ ¬¸» «²¼»®-·¹²»¼ ©¿- ±«¬ ±º ¬¸» ¸»¿®·²¹ò ×     ïî   ·²ª±´ª»¼ ¾«¬ × ®»³»³¾»® ¸»¿®·²¹ Õ»´´§ Ð¿¹»ò É¸»² ×
  ïí   ©¿²¬ §±« ¬± ´±±µ ¬¸»² ¿¬ §±«® ¬®¿²-½®·°¬ Û¨¸·¾·¬ í ¿²¼      ïí   ©®±¬» ¬¸·- ¿ºº·¼¿ª·¬ × ®»³»³¾»® ¸»¿®·²¹ Õ»´´§ Ð¿¹»ò
  ïì   ¬»´´ ³» ©¸¿¬ °±·²¬ ·² ¬¸» ¬®¿²-½®·°¬ ¼±»- ¬¸¿¬ -¬¿¬»³»²¬    ïì     Ïò Ñ® ©¸± §±« ¬¸±«¹¸¬ ©¿- Õ»´´§ Ð¿¹»á
  ïë   ½±®®»-°±²¼ ¬±á                                              ïë     ßò Ñ¸ ²± ×ù³ °®»¬¬§ -«®»ò
  ïê     ßò ×¬ ©±«´¼ ¾» °®±¾¿¾´§ -»½±²¼ ¬± ¬¸» ¾±¬¬±³ ´·²» ±²      ïê     Ïò Ç±«ù®» °®»¬¬§ -«®»á
  ïé   °¿®¿¹®¿°¸ óó ±² °¿¹» ïçò                                    ïé     ßò Í«®»ò
  ïè     Ïò Ò±ò Ò±ò × ©¿²¬ ¬± ¬¿´µ ¿¾±«¬ §±« -¿§ ¬©± ¼¿§-          ïè     Ïò Ü·¼ §±« µ²±© ¬¸¿¬ Õ»´´§ Ð¿¹» «-»- ¸»¿®·²¹ ¿·¼-á
  ïç   ¿º¬»® ¬¸» º¿½¬ óó                                           ïç     ßò Ç»-ò
  îð     ßò Ñ¸ ×ù³ -±®®§ò ×ù³ -±®®§ò                               îð     Ïò Ü·¼ §±« µ²±© ¿¬ ¬¸» ¬·³» ¬¸¿¬ §±« ³¿¼» ¬¸·-
  îï     Ïò Ç±« -¿§ ¬©± ¼¿§- ¿º¬»® ¬¸» º¿½¬ Ö«¼¹» óó               îï   ¿ºº·¼¿ª·¬ ¬¸¿¬ º±® ª¿®·±«- ®»¿-±²- Õ»´´§ Ð¿¹» ¼·¼ ²±¬
  îî     ßò Ì¸» ¬±° ±º °¿¹» îðò                                    îî   ¸¿ª» ¬¸±-» ¸»¿®·²¹ ¿·¼- ·²á
  îí     Ïò Ç±« -¿§ ¬©± ¼¿§- ¿º¬»® ¬¸» º¿½¬ ¿º¬»® Ö«¼¹» Ø¿³®»      îí     ßò × ¸¿ª» ²± ·¼»¿ò × ¼·¼²ù¬ »ª»² µ²±© ·º ¸» ©±®»
  îì   ¬¸±«¹¸¬ ¬¸» «²¼»®-·¹²»¼ ©¿- ±«¬ ±º ¬¸» ¸»¿®·²¹ò ß²¼ ²±©     îì   °¿²¬- ¬¸¿¬ ¼¿§ò
  îë   §±«ù®» ¬»´´·²¹ ³» ¬¸¿¬ ¿º¬»® ¿´´ ±º ¬¸» ½±³³»²¬- ³¿¼»       îë     Ïò ×ù³ -±®®§á

                                                                                                           ïí øÐ¿¹»- ìê ó ìç÷
                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                         Ð¿¹» ëð                                                         Ð¿¹» ëî
   ï      ßò × ¼±²ù¬ »ª»² µ²±© ·º ¸» ©±®» °¿²¬- ¬¸¿¬ ¼¿§ò           ï     Ïò É»´´ ·¬ù- ±² §±«® ¬®¿²-½®·°¬ò
   î      Ïò Ñµ¿§ º¿·® »²±«¹¸ò × ¼±²ù¬ »·¬¸»® ¾«¬ ×ù³ ¹±·²¹         î     ßò É»´´ ¿¹¿·² × ¸¿ª»²ù¬ ®»¿¼ ¬¸» ¼»¬¿·´- ±º ¬¸»
   í   ¬± ¹± ±«¬ ±² ¿ ´·³¾ ¿²¼ -¿§ ¬¸¿¬ ¸» ©¿-ò ß²¼ ¿¹¿·² §±«       í   ¬®¿²-½®·°¬ò Ì¸»®» ½±«´¼ ¾» ª¿®·¿¬·±²- ¾«¬ ³§
   ì   ¼±²ù¬ µ²±© ©¸»®» ß¬¬±®²»§ Ð¿¹» ©¿- -·¬«¿¬»¼ ·² ¬¸» ®±±³      ì   ®»½±´´»½¬·±² ©¿- ·- ¬¸¿¬ ¬¸»§ ©»®» ¹±·²¹ ¬± ¸¿ª» ¿
   ë   ¿²¼ ©¸»¬¸»® ¸» ©¿- ¸¿ª·²¹ ¸»¿®·²¹ ¼·ºº·½«´¬§ô ½±®®»½¬á       ë   ³»»¬·²¹ ¿²¼ ¼·-½«-- ·¬ ¿²¼ ´¿«¹¸»¼ ¿¾±«¬ ©¸»¬¸»® ¬¸»§
   ê      ßò × ¸¿ª» ²± ·¼»¿ô ³¿ù¿³ò                                 ê   ©»®» ¹±·²¹ ¬± ·²ª·¬» ³»ò × ¿--«³» ³» ¿- ±°°±-»¼ ¬± ³§
   é      Ïò Þ«¬ §±«ùª» -·²½» ¬¸»² -»»² ¼±½«³»²¬- ¬¸¿¬ ¸¿ª»         é   -±² ¾«¬ ·¬ ½±«´¼ ¸¿ª» ¾»»² ³§ -±² ¾«¬ ¿¾±«¬ ·²ª·¬·²¹
   è   -¬¿¬»¼ ¶«-¬ ¬¸¿¬ ¸¿ª» §±« ²±¬ô ©¸»¬¸»® ¬¸»§ ¾» ·² ¬¸·-       è   Ê·--»®ò
   ç   ´·¬·¹¿¬·±²ô ¬¸» «²¼»®´§·²¹ ´·¬·¹¿¬·±²ô ±® ¬¸» ßÙÝ            ç     Ïò ß²¼ ¬¸¿¬ ©¿- ¾¿-»¼ ±² ©¸¿¬ §±« ¸»¿®¼ ±® ©¸¿¬ §±«
  ïð   ³¿¬¬»®á Ç±« ¸¿ª» -»»² ¼±½«³»²¬- ¬± ¬¸¿¬ »ºº»½¬á             ïð   ®»¿¼ ·² §±«® ¬®¿²-½®·°¬á
  ïï      ßò Ô»¬ ³» °«¬ ·¬ ¬¸·- ©¿§ × ¼±²ù¬ ¬¸·²µ ¬¸¿¬ × ¸¿ª»      ïï     ßò É¸¿¬ × ¸»¿®¼ò
  ïî   -»»² ¿²§¬¸·²¹ ¬± ¬¸¿¬ »ºº»½¬ ·² ¬¸·- ´·¬·¹¿¬·±² ±® ¬¸»      ïî     Ïò ×- ·¬ °±--·¾´» §±« ¸»¿®¼ ·²½±®®»½¬´§á
  ïí   «²¼»®´§·²¹ ÛÔÝ ´·¬·¹¿¬·±²ò                                  ïí     ßò Ûª»®§¬¸·²¹ù- °±--·¾´» ·² ¬¸·- ©±®´¼ò ×¬ ¿´´ ¹»¬-
  ïì      Ïò Ø¿ª» §±« -»»² ¿²§¬¸·²¹ ·² ¬¸» ßÙÝ ³¿¬¬»® ¬± ¬¸¿¬      ïì   ¼±©² ¬± °®±¾¿¾·´·¬·»-ò
  ïë   »ºº»½¬á                                                     ïë     Ïò Ð¿®¿¹®¿°¸ ïë §±« -¿§ ©¸·´» ¸¿ª·²¹ ¸·- »¨ó°¿®¬»
  ïê      ßò × ¿³ ²±¬ ¹±·²¹ ¬± ¼·-½«-- ¬¸» ßÙÝ ³¿¬¬»®ò             ïê   ½±³³«²·½¿¬·±²- ©·¬¸ ß¬¬±®²»§ Ð¿¹» §±« µ»»° ®»º»®®·²¹ ¬±
  ïé      Ïò ×- ¬¸»®» ¿ ®»¿-±² ©¸§á                                ïé   ß¬¬±®²»§ Ð¿¹» ¼«®·²¹ ¬¸·- ©¸±´» °®±½»--á
  ïè      ßò × ¾»´·»ª» »ª»®§¬¸·²¹ ¬¸¿¬ × ¸¿ª» -»»² -«¾-»¯«»²¬      ïè     ßò Ý±®®»½¬ò
  ïç   ¬± ¬¸» ·²·¬·¿´ ®»¯«»-¬ º±® ·²ª»-¬·¹¿¬·±² ¿²¼ ¬¸»            ïç     Ïò Í± ·¬ù- §±«® ¾»´·»ª» ¬¸¿¬ Ó®ò Í¬»©¿®¬ ©¿- ²±¬
  îð   ®»-°±²-» ·- -«¾¶»½¬ ¬± ½±²º·¼»²¬·¿´·¬§ò                     îð   ¬¸»®»å ·- ¬¸¿¬ ¬®«»á
  îï      Ïò Ûª»² ¼»-°·¬» ¬¸» º¿½¬ ¬¸¿¬ ¬¸» º±®³¿´ ½±³°´¿·²¬       îï     ßò Ò±ò
  îî   ¸¿- ¾»»² º·´»¼ §±« -¬·´´ ¾»´·»ª» ¬¸¿¬ ¬± ¾» ¬®«»á           îî     Ïò Ì¸»² ©¸§ ¼·¼²ù¬ §±« ®»º»®»²½» Ó®ò Í¬»©¿®¬ ·² ¿²§
  îí      ßò × ¸¿ª»²ù¬ -»»² ©·¬¸ ¬¸» óó × ¸¿ª»²ù¬ -»»²             îí   ±º ¬¸»-» ¿´´»¹»¼ »¨ó°¿®¬» ½±³³«²·½¿¬·±²-á
  îì   ¿²§¬¸·²¹ °«¾´·½´§ò                                          îì     ßò Þ»½¿«-» × ®»³»³¾»® ¸»¿®·²¹ ©¸¿¬ × ¾»´·»ª»¼ ©¿-
  îë      Ïò Ñµ¿§ò                                                 îë   ß¬¬±®²»§ Ð¿¹» ¿²¼ ¬¸¿¬ù- ©¸¿¬ × °«¬ ·² ³§ ¿ºº·¼¿ª·¬ò
                                                         Ð¿¹» ëï                                                         Ð¿¹» ëí
   ï     ßò Í± × ¿³ ½±²½»®²»¼ ¿¾±«¬ óó × ¿³ ²±¬ ½±²½»®²»¼           ï     Ïò Ü»-°·¬» ¬¸» º¿½¬ ¬¸¿¬ §±«® ¬®¿²-½®·°¬ ²±¬»-
   î   ¿¾±«¬ ¼·-½´±-·²¹ ¬¸» º¿½¬ ¬¸¿¬ ¿ ®»¯«»-¬ º±®                 î   -¬¿¬»³»²¬- ¬¸¿¬ ©»®» ¿´´»¹»¼´§ ³¿¼» ¾§ Ó®ò Í¬»©¿®¬
   í   ·²ª»-¬·¹¿¬·±² ©¿- º·´»¼ò ×ù³ ²±¬ ½±²½»®²»¼ò × ¼±²ù¬          í   ¼«®·²¹ ¬¸·- ¬·³» °»®·±¼á
   ì   ¾»´·»ª» ¬¸¿¬ù- ½±ª»®»¼ ¾§ ¬¸» ½±²º·¼»²¬·¿´·¬§                ì     ßò × «²¼»®-¬¿²¼ò Ì¸·- ©¿- °®»°¿®»¼ º®±³ ©¸¿¬ ×
   ë   ®»¯«·®»³»²¬ ±® ¬¸» ®»-°±²-» ¾«¬ × ¾»´·»ª» ¬¸¿¬ ¿²§¬¸·²¹      ë   ¸»¿®¼ ¿²¼ ©¸¿¬ × ®»½¿´´»¼ò É» ¸¿¼ ²± ¬®¿²-½®·°¬ ¿¬ ¬¸¿¬
   ê   ¿º¬»®©¿®¼- ·- ½±ª»®»¼ò                                       ê   ¬·³» ¿²¼ × ½¿² ¬»´´ §±« ¿- ©» -·¬ ¸»®» × ¼±²ù¬ ®»½¿´´
   é     Ïò Ñµ¿§ò                                                   é   »ª»® ¸¿ª·²¹ ®»ª·»©»¼ ¬¸» ¬®¿²-½®·°¬ò
   è     ßò ×º ·² º¿½¬ ¬¸»®» ·- ¿²§¬¸·²¹ò                           è     Ïò Ñµ¿§ò É¸»² ©¿- ¬¸·- ¬®¿²-½®·°¬ °®»°¿®»¼ §±«®
   ç     Ïò Ñµ¿§ò                                                   ç   ¬®¿²-½®·°¬ Û¨¸·¾·¬ íá
  ïð     ßò ß²¼ ×ù³ ²±¬ »ª»² ¹±·²¹ ¬± ¿½µ²±©´»¼¹» ¿¬ ¬¸·-          ïð     ßò × ¼± ²±¬ µ²±©ò
  ïï   °±·²¬ ¬¸¿¬ ¬¸»®»ù- ¾»»² ¿ º±®³¿´ ½±³°´¿·²¬ò ×ù´´ ¬¿µ»       ïï     Ïò É¿- ·¬ô §±« µ²±©ô ³±²¬¸- ¿º¬»® ¬¸» ®»½±®¼·²¹á
  ïî   §±«® ©±®¼ º±® ·¬ò                                           ïî   É¿- ·¬ ©·¬¸·² îì ¸±«®- ±º ¬¸» ®»½±®¼·²¹á
  ïí     Ïò Ñµ¿§ò                                                  ïí     ßò Ò±ò ×¬ ©¿- -¸±®¬´§ ¿º¬»® ¬¸» ®»½±®¼·²¹ ¾«¬ ×
  ïì     ßò × ¼±²ù¬ ³»¿² ¬± ¾» »ª¿-·ª» ¾«¬ × ¬¸·²µ ¬¸¿¬ù-          ïì   ¼±²ù¬ óó ·¬ ©±«´¼²ù¬ ¸¿ª» ¾»»² ©·¬¸·² îì ¸±«®-ò × µ²±©
  ïë   ·³°±®¬¿²¬ ¬¸¿¬ × ¼±²ù¬ µ²±© ·º ¬¸»®»ù- ¿ ©¿·ª»®             ïë   ¬¸¿¬ Ô§²² ¸¿¼ ¿ º»© ¯«»-¬·±²- ©¸»®» -¸» -¿·¼ × ½¿²ù¬
  ïê   °®±ª·-·±² ¬¸¿¬ §±«ù®» ¿¾´» ¬± ¹·ª» ±² ¾»¸¿´º ±º §±«®        ïê   ¸»¿® ©¸¿¬ù- ¹±·²¹ ±²ò
  ïé   ½´·»²¬ ±® ²±¬ ¾«¬ × ¿³ ½±²½»®²»¼ ¿¾±«¬ò                     ïé     Ïò Í± »ª»² Ô§²² ©¸± ©¿- ¬®¿²-½®·¾·²¹ ¬¸·- ©¿- ¸¿ª·²¹
  ïè     Ïò Ñµ¿§ò Ù±·²¹ ¾¿½µ ¬± °¿®¿¹®¿°¸ ïî ¿¹¿·² §±« -¿§         ïè   ¼·ºº·½«´¬§ ¸»¿®·²¹ ¿¬ -±³» °±·²¬ô ½±®®»½¬á
  ïç   ³±®» ·³°±®¬¿²¬´§ Ö«¼¹» Ø¿³®» ½±²¬·²«»¼ ¬± ¼·-½«-- ¬¸»       ïç     ßò É»´´ × ¿--«³» ±¬¸»®©·-» -¸» ©±«´¼²ù¬ ¸¿ª» ³¿¼»
  îð   ³¿¬¬»® ©·¬¸ ß¬¬±®²»§ Ð¿¹» ¿²¼ ©¸¿¬ ¸» ·²¬»²¼»¼ ¬± ¼± ¬±     îð   ¬¸» -¬¿¬»³»²¬ò
  îï   ¸»´° ¬¸» ÛÔÝ Ü»º»²¼¿²¬-á                                    îï     Ïò Ñµ¿§ò
  îî     ßò Ý±®®»½¬ò                                               îî     ßò ß²¼ × ¼±²ù¬ µ²±©òòò
  îí     Ïò É¸¿¬ ¼·¼ §±« ¸»¿® ¬¸¿¬ -«°°±®¬- §±«® -¬¿¬»³»²¬         îí     Ïò Ç±« -¿§ ·² °¿®¿¹®¿°¸ ïë ©¸·´» ¸¿ª·²¹ ¸·- »¨ó°¿®¬»
  îì   ¬¸¿¬ Ö«¼¹» Ø¿³®» ·²¬»²¼»¼ ¬± ¸»´° ¬¸» ÛÔÝ Ü»º»²¼¿²¬-á       îì   ½±³³«²·½¿¬·±²- ©·¬¸ ß¬¬±®²»§ Ð¿¹» Ö«¼¹» Ø¿³®» ·²¼·½¿¬»¼
  îë     ßò × ½¿² °®±¾¿¾´§ ´·-¬»² ¬± ¬¸» ¬¿°» ¿²¼ ¹·ª» §±« óó      îë   ¬¸¿¬ ¸» ¼·¼ ²±¬ ®»ª·»© ¬¸» «²¼»®-·¹²»¼ù- -¬¿¬«-

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                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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                                                         Ð¿¹» ëì                                                         Ð¿¹» ëê
   ï   ½±²º»®»²½»ù- -«¾³·--·±² ¿²¼ ¬¸¿¬ ¸» ¬¸®»© ·¬ ¿©¿§ô           ï   Ü»°±-·¬·±² Û¨¸·¾·¬ ê ¿²¼ ¬¸·- ·- ¿ ®¿¬¸»® ª±´«³·²±«-
   î   ½±®®»½¬á                                                     î   »¨¸·¾·¬ ¬¸¿¬ù- ½±°·»¼ ±² ¾±¬¸ -·¼»- º±® ¬¸» ®»½±®¼ -±
   í     ßò Ý±®®»½¬ò                                                í   §±« µ²±© ©¸»² §±«ù®» ³¿µ·²¹ §±«® ½±°·»-ò Ì¸»-» ¸¿ª»
   ì     Ïò Þ«¬ ¿¹¿·² ©»ùª» ¿´®»¿¼§ ¬¿´µ»¼ ¿¾±«¬ §±« ¼±²ù¬          ì   ¾»»² ®»°®»-»²¬»¼ ¿- ¾»·²¹ §±«® ·²ª±·½»- ¬± ØÔÊ ·² ¬¸»
   ë   µ²±© ©¸»² ±® »ª»² ¬± §±«® ¾»²»º·¬ ·º ß¬¬±®²»§ Ð¿¹» ´»º¬      ë   «²¼»®´§·²¹ ³¿¬¬»®á
   ê   ¬¸» ®±±³ ©¸»² Ö«¼¹» Ø¿³®» ©¿- ¼·-½«--·²¹ §±«® -¬¿¬«-         ê     ßò Ì± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹»ô §»-ò
   é   ½±²º»®»²½» -«¾³·--·±²ô ½±®®»½¬á                              é     Ïò ß²¼ ©» ¸¿¼ ¼·-½«--·±²- ±ºº ¬¸» ®»½±®¼ ½±²½»®²·²¹
   è     ßò Ì¸¿¬ ©±«´¼ ¾» ¬®«»ò                                     è   ¬¸» ®»¼¿½¬»¼ °±®¬·±²- ¿²¼ ¬¸±-» ©±«´¼ ¾» ¬¸»
   ç     Ïò Ñµ¿§ò Í± §±« ¼±²ù¬ µ²±© ·º Ö«¼¹» Ø¿³®»ù-                ç   ¼»-½®·°¬·±²- º±® ¬¸» ¾·´´·²¹ »²¬®§á
  ïð   ½±³³»²¬- ¿¾±«¬ §±«® -¬¿¬«- ½±²º»®»²½» -«¾³·--·±² ©¿-        ïð     ßò Ý±®®»½¬ò
  ïï   ³¿¼» ·² ¬¸» °®»-»²½» ±º ß¬¬±®²»§ Ð¿¹»ô ½±®®»½¬á             ïï     Ïò Í± ¿¬ ¬¸·- °±·²¬ ¬¸»-» ¿®» ¾»·²¹ °®±¼«½»¼ º±®
  ïî     ßò Ì¸¿¬ ·- ¬®«»ò                                          ïî   ¼±´´¿® ¿³±«²¬- ©¸·½¸ ¸¿ª» ²±¬ ¾»»² ®»¼¿½¬»¼ ¿²¼ ¬¸±-»
  ïí     Ïò Ü·¼ §±« -«¾³·¬ ¿²§ ½±®®»-°±²¼»²½» ¬± ¬¸» ß¬¬±®²»§      ïí   ¿®» -¸±©²ô ½±®®»½¬á
  ïì   Ù®·»ª¿²½» Ý±³³·--·±² ¿º¬»® Ó®ò Ð¿¹» -«¾³·¬¬»¼ ¸·-           ïì     ßò Ý±®®»½¬ò
  ïë   ®»-°±²-» ¬± ¬¸» ®»¯«»-¬ º±® ·²ª»-¬·¹¿¬·±²á ß²¼ × ©¿²¬       ïë     Ïò Í± §±«® º·®-¬ ·²ª±·½» ·- ¼¿¬»¼ ß«¹«-¬ ïí¬¸ô îððçá
  ïê   ¬± -¿§ ´»¬ ³» ¬¿µ» ¬¸·- «° ¿²¼ ¬± ¬¸» °±·²¬ ±º óó «°        ïê     ßò ×¬ ¿°°»¿®- ¬¸¿¬ ©¿§ô §»-ò
  ïé   «²¬·´ ¬¸» °±·²¬ ©·¬¸ ¬¸» ¾®·»º·²¹ ©·¬¸ ¬¸» ¿¬¬±®²»§         ïé     Ïò ß²¼ ¬¸»² §±«® ´¿-¬ ¾·´´·²¹ ·²ª±·½» ¿°°»¿®- ¬± ¾»
  ïè   ¼·-½·°´·²» ¾±¿®¼ ¿²¼ × ¬¸·²µ §±« ©±«´¼ ¿¹®»» ©·¬¸ ³»        ïè   ß«¹«-¬ ïê¬¸ô îðïêá
  ïç   ¬¸¿¬ù- ¬¸» ³±-¬ ®»½»²¬ »ª»²¬á                               ïç     ßò Ç»°ô -»ª»² §»¿®- × ¹«»--ò
  îð     ßò × ¸¿ª» ¬®±«¾´» ·² ¿²-©»®·²¹ ¬¸¿¬ ±² ¬¸» ®»½±®¼ò        îð     Ïò Ò±© ©¿- ¬¸·- ¬¸» ´·¬·¹¿¬·±² °¿®¬ ±® ©¿- ¬¸»®»
  îï     Ïò ß®» §±« ¿©¿®» ±º ¬¸» ½±«®¬ ®«´» ¬¸¿¬ ³¿µ»- ¬¸»         îï   ³±®» ¬± ·¬ ¬¸¿² ¶«-¬ ¬¸» ´·¬·¹¿¬·±²á
  îî   ®»¯«»-¬ º±® ·²ª»-¬·¹¿¬·±² ¯«¿-·ó°«¾´·½ ¬¸¿¬ ¬¸»§ù®»         îî     ßò Ò±ô ¬¸¿¬ù- ¬¸» »²¬·®» ¬¸·²¹ò Ì¸¿¬ù- ©¸¿¬ ×
  îí   ¿ª¿·´¿¾´» ¬± ¬¸» °«¾´·½ ±²½» ¿ º±®³¿´ ½±³°´¿·²¬ ·- ³¿¼»á    îí   ¬¸±«¹¸¬ §±« ©¿²¬»¼ò
  îì     ßò Ñ²½» ¿ º±®³¿´ ½±³°´¿·²¬ ·- ³¿¼»ô §»-ò                  îì     Ïò Í± ¬¸·- ·²½´«¼»- ³±®» ¬¸¿² ¬¸» ´·¬·¹¿¬·±²á
  îë     Ïò Í± ©·¬¸ ¬¸¿¬ ¿¹®»»³»²¬ ¬¸»² ¿®» §±« -¬·´´              îë     ßò Ý±®®»½¬ò Ç»-ò Ì¸» ´·¬·¹¿¬·±² ©±«´¼ ¸¿ª»
                                                         Ð¿¹» ëë                                                         Ð¿¹» ëé
   ï   ¬®±«¾´»¼á                                                    ï   ¿½¬«¿´´§ -¬¿®¬»¼ ©·¬¸ ¬¸¿¬ º·®-¬ »¨ó°¿®¬» ±®¼»® º®±³
   î     ßò × ¿³ -¬·´´ ¬®±«¾´»¼ò                                    î   Ó®ò Ð¿¹» ¾¿½µ ·² Ó¿®½¸ ±º îðïíô »¿®´§ Ó¿®½¸ò
   í     Ïò ß®» §±« ®»º«-·²¹ ¬± ¿²-©»®á                             í      Ïò É»´´ Ó®ò Ð¿¹» ©¿- ²±¬ ¬¸» ±®·¹·²¿´ ¿¬¬±®²»§ ±²
   ì     ßò ß¬ ¬¸·- °±·²¬ × ¬¸·²µ × ²»»¼ ¬±ò                        ì   ¬¸» ´·¬·¹¿¬»¼ ³¿¬¬»®ô ½±®®»½¬á Ç±«ù´´ ¿¹®»» ©·¬¸ ³»
   ë     Ïò Ñµ¿§ò × ¿³ ¼±²» ©·¬¸ ³§ ¯«»-¬·±²- óó ±¸ ×ù³             ë   ¬¸»®»á
   ê   -±®®§á                                                       ê      ßò Ì¸¿¬ ·- ¬®«»ò Ì¸¿¬ ·-òòò ¬¸¿¬ù- ½±®®»½¬ò ×¬ ³¿§
   é     ßò Ç»¿¸ô ©» ½¿² ¼·-½«-- ·¬ ±ºº ¬¸» ®»½±®¼                  é   ¾» × ¶«-¬ µ·²¼ ±º ³·--¬¿¬»¼ ¬¸·²¹- ¾»½¿«-» ±º ³§
   è   °±¬»²¬·¿´´§ ³¿§¾» §±« ½¿² °®±ª·¼» -±³» ¹«·¼¿²½» º±® ³»       è   ·²ª±´ª»³»²¬ò × ¼·¼ ²±¬ ¹»¬ ·²ª±´ª»¼ «²¬·´ ·¬ ¾»½¿³»
   ç   ¿- ¬± ¸±© §±« -»» ¬¸·- ¾«¬ ¼«» ¬± ½»®¬¿·² »ª»²¬- ©¸·½¸       ç   ¿¾±«¬ ¬¸» -¿³» ¬·³» Ó®ò Ð¿¹» ¾»½¿³» ·²ª±´ª»¼ ¾»½¿«-» ±º
  ïð   ×ù³ ²±¬ ©·´´·²¹ ¬± ¼»-½®·¾» ¬¸¿¬ ¿®» -¬·´´ °»²¼·²¹ ×        ïð   ¸·- ·²ª±´ª»³»²¬ ¿²¼ ©¸¿¬ ©¿- ¸¿°°»²·²¹ò
  ïï   ¼±²ù¬ µ²±© ¬¸¿¬ ©»ù®» ¿½¬«¿´´§ ¿¬ ©¸¿¬ §±« ½¿´´ ¿ º±®³¿´    ïï      Ïò Ñµ¿§ò
  ïî   ½±³°´¿·²¬ò                                                  ïî      ßò Í± ·º × -¿·¼ »¿®´·»® ¬¸¿¬ × ¾»½¿³» ·²ª±´ª»¼ ©¸»²
  ïí     Ïò × ©¿²¬ ¬± ¸¿ª» ¬¸» ±°°±®¬«²·¬§ ¬± ´±±µ ¬¸®±«¹¸         ïí   ·¬ ©¿- ´·¬·¹¿¬»¼ ²±¬ º®±³ ¬¸» ª»®§ ¾»¹·²²·²¹ ¾»½¿«-» ·¬
  ïì   ¬¸»-» »ó³¿·´- ¿²¼ §±«® ·²ª±·½»- -± ·º ©» ½±«´¼ ¬¿µ» ¿       ïì   ©¿- ´·¬·¹¿¬»¼ò ×¬ ©¿- ´·¬·¹¿¬»¼ ¬± ¿ -»¬¬´»³»²¬ò
  ïë   ¾®»¿µ ²±©ò                                                  ïë      Ïò Þ§ §±«® º·®³ ¬¸±«¹¸ô ½±®®»½¬á
  ïê     ßò Ç»°ò                                                   ïê      ßò Þ§ ±«® º·®³ ¿²¼ ¿²±¬¸»® ¿¬¬±®²»§ ¿ Ó®ò Ø¿§©±±¼ ×
  ïé           øÑºº ¬¸» ®»½±®¼ ¿¬ ïîæïç°ò³ò÷                      ïé   ¬¸·²µ ¿²¼ ³§ -±² Ü±²±ª¿² Ê·--»® ¸¿²¼´»¼ ¬¸¿¬ °±®¬·±² ±º
  ïè           øÞ¿½µ ±² ¬¸» ®»½±®¼ ¿¬ ïîæìì°ò³ò÷                  ïè   ·¬ò × ¸¿¼ ²±¬ ¾»»² ·²ª±´ª»¼ò Ø±©»ª»® ©¸»² ·¬ ¾»½¿³»
  ïç        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑÍò ê ¿²¼ é                        ïç   ½±²¬»-¬»¼ ©·¬¸ ¬¸» »¨ó°¿®¬» ±®¼»®- ¿²¼ -± º±®¬¸ ¬¸¿¬
  îð        ØÔÊ ×²ª±·½»- º®±³ Ê·--»® ú ß--±½·¿¬»- º®±³             îð   ©»®» ±¾¬¿·²»¼ ¾§ Ó®ò Ð¿¹» ¬¸»² × ¾»½¿³» ·²ª±´ª»¼ò
  îï        éñçñðçóêñîìñïê                                         îï      Ïò Ò±© óó
  îî        ¿²¼ Û´·¶¿¸ ×²ª±·½»-                                    îî      ßò Ì¸¿¬ù- ®»¿´´§ ©¸»² §±« ´±±µ ¿¬ ©¸¿¬ × ½¿´´ ¬¸»
  îí        ÉÛÎÛ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ                         îí   ½±²¬»-¬»¼ ¿²¼ ©¸¿¬ × ©¿- ¬¸·²µ·²¹ ·² ³§ ¸»¿¼ ©¿- ®»¿´´§
  îì   ÞÇ ÓÍò ÞËÎÕÛæ                                               îì   º®±³ »¿®´§ Ó¿®½¸ ±º îðïí ±²ò
  îë     Ïò Ó®ò Ê·--»®ô §±« ¸¿²¼»¼ ³» ©¸¿¬ × ³¿®µ»¼ ¿-             îë      Ïò Í± ¬¸»² ¬¸» ¾·´´·²¹- º®±³ ß«¹«-¬ ïí¬¸ô îððç

                                                                                                          ïë øÐ¿¹»- ëì ó ëé÷
                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                  çéíóìïðóìðìð
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                                                           Ð¿¹» ëè                                                          Ð¿¹» êð
   ï   ¬¸®±«¹¸ ´»¬ù- ¶«-¬ -¿§ Ú»¾®«¿®§ ±º îðïí ¬¸¿¬ ·²½´«¼»¼          ï     ßò Ý±®®»½¬ò × ¸¿ª» µ²±©´»¼¹» ±º ©¸¿¬ ´»¼ «° ¬± ·¬
   î   ¬¸» ´·¬·¹¿¬·±² ¾»º±®» §±« ¹±¬ ·²ª±´ª»¼ ¾«¬ §±«® º·®³ ©¿-       î   ¿º¬»® ¬¸» ·²½·¼»²¬ ¿¬ ØÔÊò × ¸¿ª» º·®-¬ó¸¿²¼ µ²±©´»¼¹»ò
   í   ·²ª±´ª»¼ô ½±®®»½¬á                                             í     Ïò Ç±« ³»¿² ¿¬ ÛÔÝá
   ì     ßò Ý±®®»½¬ò                                                  ì     ßò ß¬ ÛÔÝò Þ«¬ô §±« µ²±©ô ¬± -¿§ ·¬ù- ¿´´ ·¬ ³·¹¸¬
   ë     Ïò ß²¼ ¬¸»² ¾«¬ ©¸¿¬ ¿®» ¬¸» -»®ª·½»- ¬¸¿¬ ©»®»              ë   ¾» ¿´´ §±«ù®» ·²¬»®»-¬»¼ ·² × ¼±²ù¬ µ²±©ò
   ê   °®±ª·¼»¼ ¾»¬©»»² îððç ¿²¼ îðïï ©¸»² ¬¸» ´¿©-«·¬ ©¿-            ê     Ïò É»´´ × ¿°°®»½·¿¬» óó
   é   º·´»¼á                                                         é     ßò × ³»¿² × ©¿- ·²ª±´ª»¼ ·² ¼¿§ ¬± ¼¿§ -¬«ºº ¹±·²¹
   è     ßò ×¬ ©±«´¼ ¸¿ª» ¾»»² ·²·¬·¿´´§ ¼®¿º¬·²¹ ±º ¬¸» ´±¿²         è   ¼±©²ò Ú±® ·²-¬¿²½»ô × ©¿- ·²ª±´ª»¼ ·² ¬¸» ¸»¿®·²¹ ¬¸»
   ç   ¼±½«³»²¬- ¿²¼ ¿´´ ¬¸» ®»´¿¬»¼ ³¿¬¬»®- »ª»®§¬¸·²¹               ç   ©»»µ °®·±® ¬± ¬¸» -¬¿¬«- ½±²º»®»²½»ô ¬¸» -¸±© ½¿«-»
  ïð   ¸¿ª·²¹ óó ¹»¬¬·²¹ ¬¸» ¬·¬´»- ¬®¿²-º»®®»¼ º±® -»½«®·¬§ô        ïð   ¸»¿®·²¹ô ©¸·½¸ô §±« µ²±©ô ¿´´ ¬¸» »ª»²¬- ¬¸¿¬ù- ±²» ±º
  ïï   ËÝÝ -¬¿¬»³»²¬-ô °´»¼¹»-ô »ª»®§¬¸·²¹ ¿--±½·¿¬»¼ ©·¬¸ ¿         ïï   ¬¸» »ª»²¬-ò × ©¿- ·²ª±´ª»¼ ·² ¿ °®·±® -¸±© ½¿«-»
  ïî   ¬®¿²-¿½¬·±²ò Ð®±³·--±®§ ²±¬»-ô ´±¿² ¿¹®»»³»²¬-ò               ïî   ¸»¿®·²¹ ®»´¿¬·ª» ¬± ÛÔÝò Í± ¬¸»®»ù- ¬©± ¸»¿®·²¹- ·²
  ïí     Ïò Ñµ¿§ò É» ³¿®µ»¼ ¿- Ü»°±-·¬·±² Û¨¸·¾·¬ é ¬¸»-»            ïí   º®±²¬ ±º Ö«¼¹» Ø¿³®»ò
  ïì   ¿®» ·²ª±·½»- ¾»¬©»»² §±«® º·®³ ¿²¼ ¬¸» Û´·¶¿¸ »²¬·¬§          ïì     Ïò Ô»¬ ³» ¿-µ ¬¸»-» ¹»²»®¿´ ¯«»-¬·±²-ò Ø¿ª» §±«
  ïë   ¬¸¿¬ ©¿- ¼±·²¹ ½±³°«¬»® ©±®µ º±® §±«á                         ïë   »ª»® -»»² ¿²§ ¼±½«³»²¬- ±® ½±³³«²·½¿¬·±²- ¾»¬©»»² »·¬¸»®
  ïê     ßò Ý±®®»½¬ò                                                 ïê   ¿²¼ñ±® Ó®ò Ð¿¹»ô Ó®ò Í¬»©¿®¬ô ¿²¼ Ö«¼¹» Ø¿³®» ¬¸¿¬ ©±«´¼
  ïé     Ïò Ì¸¿¬ ©¿- ®»´¿¬·ª» ¬± ¬¸» ¼»ª·½»- ¬¸¿¬ ©»®»               ïé   -«°°±®¬ §±«® °±-·¬·±² ±º ¬¸»-» »¨·-¬»²½» ±º »¨ó°¿®¬»
  ïè   ®»¬®·»ª»¼ º®±³ ÛÔÝô ½±®®»½¬á                                  ïè   ½±³³«²·½¿¬·±²-á
  ïç     ßò ×ù¼ ¸¿ª» ¬± ´±±µ ¿¬ ¬¸»³ò Ì¸»-» × ¿-µ»¼ ¬± °«´´          ïç     ßò Ø¿ª» × -»»² ¿²§ ¼±½«³»²¬-á
  îð   ¿´´ ±º ¬¸» óó ©» ¸¿¼ ¬± ¼·¹ ¬¸®±«¹¸ ±«® º·´»- ¬± °«´´         îð     Ïò Ç»-ô -·®ò
  îï   »ª»®§¬¸·²¹ ¬¸¿¬ ©» ¸¿¼ò × ¿³ ²±¬ óó × ¿--«³» -± ¾«¬òòò        îï     ßò Ò±ô × ¬¸·²µ ·¬ù- ¬¸» ¿¾-»²½» ±º ¼±½«³»²¬- ¬¸¿¬
  îî   × ¿--«³» -± ¾»½¿«-» ·º ·¬ù- °±-¬»¼ ¬± ¬¸·- º·´»               îî   ¸¿- ¾»»² ½±²½»®²·²¹ ¬± ³»ò
  îí   ¸±°»º«´´§ ·¬ù- ®»´¿¬»¼ ¬± ¬¸·- º·´»ò Ç»-ò Ì¸»-» ¿®»           îí     Ïò Ø¿ª» §±« »ª»® ©·¬²»--»¼ Ö«¼¹» Ø¿³®» ¿²¼ Õ»´´§
  îì   ¿´´ ®»´¿¬»¼ ¬± ¬¸» ÛÔÝ ³¿¬¬»®ò                                îì   Ð¿¹» ·² ¿ -±½·¿´ -»¬¬·²¹ ©¸»®» ¬¸¿¬ §±« ¾»´·»ª» ¬¸¿¬
  îë     Ïò Ñµ¿§ò ß²¼ ¬¸»² ·- §±«® ¿--·-¬¿²¬ -¬·´´                   îë   ¬¸»®» ©»®» »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ±½½«®®·²¹á
                                                           Ð¿¹» ëç                                                          Ð¿¹» êï
   ï   ®»¬®·»ª·²¹ ¬¸» ·²ª±·½»- º±® ¬¸» ½«®®»²¬ ³¿¬¬»®á                ï     ßò Ò±ò
   î     ßò Ô»¬ ³» ½¸»½µò                                             î     Ïò Ø¿ª» §±« »ª»® ©·¬²»--»¼ Ö«¼¹» Ø¿³®» ¿²¼ Ù¿®§
   í        ÜÛÐÑÍ×Ì×ÑÒ ÛÈØ×Þ×Ì ÒÑò è                                  í   Í¬»©¿®¬ ·²ô × ¹«»-- × -¸±«´¼ ¾®±¿¼»² ·¬ ¿ ´·¬¬´» ¾·¬ô ·²
   ì        ØÔÊ ×²ª±·½»- Ú®±³ çñíðñïíóïñíïñïé                         ì   ¿²§ ¬§°» ±º -·¬«¿¬·±² ©¸»®» §±« ¾»´·»ª» ¬¸¿¬ ¬¸»®» ©»®»
   ë        ÉßÍ ÓßÎÕÛÜ ÚÑÎ ×ÜÛÒÌ×Ú×ÝßÌ×ÑÒ                             ë   »¨ó°¿®¬» ½±³³«²·½¿¬·±²- ±½½«®®·²¹á
   ê   ÞÇ ÓÍò ÞËÎÕÛæ                                                  ê     ßò Ø¿ª» × -»»² ¬¸»³ ·² ¬¸¿¬ -·¬«¿¬·±²á
   é     Ïò Ó®ò Ê·--»®ô ×ù³ ¹±·²¹ ¬± -¸±© §±« ©¸¿¬ ©» ³¿®µ»¼          é     Ïò Ç»-ô -·®ò
   è   ¿- Ü»°±-·¬·±² Û¨¸·¾·¬ è ¿²¼ ·¬ù- ³§ «²¼»®-¬¿²¼·²¹ ¬¸¿¬         è     ßò Ò±ò
   ç   ¬¸»-» ¿®» ¬¸» ®»¼¿½¬»¼ ·²ª±·½»- º®±³ §±«® º·®³ ®»´¿¬·ª»        ç     Ïò ß²¼ ·¬ù- ³§ «²¼»®-¬¿²¼·²¹ ¬¸¿¬ ¿²§ -±®¬ ±º
  ïð   ¬± ¬¸» °®»-»²¬ ´¿©-«·¬ô ½±®®»½¬á                              ïð   µ²±©´»¼¹» ¬¸¿¬ §±« ¸¿ª» ¹¿·²»¼ ¸¿- ¾»»² ¬¸®±«¹¸ ±¬¸»®
  ïï     ßò Ì¸¿¬ ·- ½±®®»½¬ò                                         ïï   °»±°´» ¬»´´·²¹ §±« -± ®»´¿¬·ª» ¬± ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸»
  ïî     Ïò Ñµ¿§ò ß²¼ ¬¸»-» ¾»¹¿² Í»°¬»³¾»® íð¬¸ ±º îðïí             ïî   ¿³»²¼»¼ ½±³°´¿·²¬ ·² ¬¸·- ½¿-»ô ½±®®»½¬á Ô»¬ ³» ¿-µ ·¬
  ïí   ¬¸¿¬ù- ¬¸» º·®-¬ ·²ª±·½»ô ¬¸» ¼¿¬» ±º ¬¸» º·®-¬ ·²ª±·½»á      ïí   ¬¸·- ©¿§ò Ü± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ±º ¬¸»
  ïì     ßò Ç»-ô ¿²¼ ¬¸» ´¿-¬ ±²» × ¬¸·²µ ·- Ó¿®½¸ ±º îðïéò          ïì   ª»®¿½·¬§ ±º ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸» ½±³°´¿·²¬á
  ïë     Ïò Ñµ¿§ò Ó®ò Ê·--»®ô §±« ¸¿¼ ´·-¬»¼ §±«®-»´º ±²             ïë     ßò Ç»-ò
  ïê   Ð´¿·²¬·ººù- ·²·¬·¿´ ¼·-½´±-«®»- º±® ¬¸·- ½«®®»²¬              ïê     Ïò ß²¼ ¿- ¬± ©¸·½¸ ·²-¬¿²½»-á
  ïé   ´¿©-«·¬å ¼± §±« ®»½¿´´ ¬¸¿¬á                                  ïé     ßò É»´´ × ¸¿ª»ô ¿¹¿·²ô ³§ ½±²½´«-·±²- ¾¿-»¼ «°±²
  ïè     ßò Ç»-ò                                                     ïè   ©¸¿¬ ©¿- º·´»¼ ¿²¼ ²±¬ º·´»¼ ¿²¼ ©¸¿¬ Ö«¼¹» Ø¿³®» -¿·¼
  ïç     Ïò Ø¿ª» ©» ¬¿´µ»¼ ¿¾±«¬ ¿´´ ±º ¬¸» »ª»²¬- ±®                ïç   ¿²¼ -± º±®¬¸ò Ì¸» ·²½·¼»²¬ ¬¸¿¬ ±® ¬¸» -¬¿¬«-
  îð   ·²½·¼»²¬- ¬¸¿¬ ¾®±«¹¸¬ ¿¾±«¬ ¬¸» ·²½´«-·±² ±º §±«® ²¿³»       îð   ½±²º»®»²½» ¬¸¿¬ ©»ùª» ¬¿´µ»¼ ¿¾±«¬ò Ì¸» ½±«®¬
  îï   ±² ¬¸» ·²·¬·¿´ ®«´» îê ¼·-½´±-«®»á                            îï   ¿°°»¿®¿²½»- ·²½´«¼·²¹ ¬¸» ¬©± -¸±© ½¿«-» ¸»¿®·²¹-ò Ì¸»
  îî     ßò × ¸¿ª» ²± ·¼»¿ò × °«¬ ³§-»´º ±² ¬¸»®» ¾»½¿«-» ×          îî   ±®¼»® ¬¸¿¬ù- ®»¿´´§ ²±¬ ¿² ±®¼»®ò Ç±« µ²±©ô × ½¿² ´±±µ
  îí   ¸¿ª» -±³» µ²±©´»¼¹» º±® ·²-¬¿²½» × ¸¿ª» µ²±©´»¼¹» ±º ¬¸»      îí   ¿¬ ¬¸» -·¹²¿¬«®» ¿²¼ ¼± ¿ ½±³°¿®·-±² ¿²¼ ¾«¬ ×ù³ ²±¬ ¿²
  îì   ½±²ª»®-¿¬·±² ©·¬¸ ¬¸» ¶«¼¹»ò                                  îì   »¨°»®¬ ¾«¬ ·¬ ¼±»-²ù¬ ´±±µ ¬± ¾» ¬¸» -¿³» ¬± ³»ò Ì¸»²
  îë     Ïò Ì¿´µ·²¹ ¿¾±«¬ ¬¸» Ó¿§ ïð¬¸ô îðïíá                        îë   µ²±©·²¹ -·²½» ¬¸»² ¬¸¿¬ ·¬ù-ô §±« µ²±©ô ²±¬ ¬¸» -¿³»

                                                                                                            ïê øÐ¿¹»- ëè ó êï÷
                                                  Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                     çéíóìïðóìðìð
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                                                          Ð¿¹» êî                                                           Ð¿¹» êì
   ï   ¿²¼ô §±« µ²±©ô µ²±©·²¹ ¬¸¿¬ ·¬ù- ²±¬ óó × ¸¿ª» °»®-±²¿´       ï     ßò Ý±®®»½¬ò Ì¸»² × -¿·¼ Ù¿®§ ×ù³ ¹±·²¹ ¬± ¼± ©¸¿¬
   î   µ²±©´»¼¹» ¬¸¿¬ ·¬ù- ²±¬ ±² ¬¸» ¼±½µ»¬ò                        î   ¬¸» ½±«®¬ ®«´» ®»¯«·®»- ×ù³ ½¿´´·²¹ ¬¸» ½±«®¬ ®·¹¸¬ ²±©
   í     Ïò Ñµ¿§ò                                                    í   ¿²¼ ×ù³ ¹±·²¹ ¬± ¬®§ óó ×ù³ ´»¬¬·²¹ §±« µ²±© ×ù³ ¹±·²¹
   ì     ßò Þ»½¿«-» ×ùª» ´±±µ»¼ô §±« µ²±©ô ×ùª» ´±±µ»¼ ¿¬ ¬¸»        ì   ¬± ¬®§ ¬± -»¬ «° »·¬¸»® ·² °»®-±² ª·-·¬ ©·¬¸ ¬¸» ¶«¼¹»
   ë   ¼±½µ»¬ò ×¬ ©¿- ²»ª»® »²¬»®»¼ ¿- ¿² ±®¼»®ò × ¸¿ª»              ë   ±® ¿ ¬»´»°¸±²» ª·-·¬ §»¬ ¬¸·- ¿º¬»®²±±² ¾»½¿«-» × ©¿²¬
   ê   µ²±©´»¼¹» ¬¸¿¬ Õ»´´§ Ð¿¹» ¿¬ ´»¿-¬ ¬¸» ®»°®»-»²¬¿¬·±² ±º      ê   ¬± ¼·-½«-- ±¬¸»® ¬¸·²¹- ¬¸¿¬ ·º ·¬ù- ¹±·²¹ ¬± ¾»
   é   Õ»´´§ Ð¿¹» -»²¬ «- ¬¸» ±®¼»® ¿- ·º ·¬ ©»®» ¿ ®»¿´ ±®¼»®ò      é   »¨¬»²¼»¼ × ©¿²¬ ¬± ¼·-½«-- ¾±²¼ô × ©¿²¬ ¬± ¼·-½«-- -±³»
   è     Ïò ß²¼ §±«ù®» ®»º»®®·²¹ ¬± ¬¸» Ó¿®½¸á                       è   ±¬¸»® ¬¸·²¹- ¿- ©»´´ò Ì¸»² × ½¿´´»¼ ¬¸» ½±«®¬ ¿²¼ º±«²¼
   ç     ßò îîò                                                      ç   ±«¬ ¬¸¿¬ Ö«¼¹» Ø¿³®» ©¿-²ù¬ ¿®±«²¼ò
  ïð     Ïò îðïí ®»¬®¿·²·²¹ ±®¼»® ÌÎÑô ®·¹¸¬á                       ïð     Ïò Ñµ¿§ ©¸± ¼·¼ §±« -°»¿µ ¬± ¿¬ ¬¸¿¬ ¬·³» ½±«®¬á
  ïï     ßò Û¨¬»²-·±² ±º ÌÎÑ ±® ®»-«®®»½¬·±² ±º ¬¸» ÌÎ óó ×         ïï     ßò Ñ¸ ¸»¿ª»²- µ²±©-ò × °®»-«³»òòò
  ïî   ¹«»-- ¬¸¿¬ù- °®±¾¿¾´§ ¿ ¾»¬¬»® ¬»®³ô ®»-«®®»½¬·±² ±º ¬¸»     ïî     Ïò Í±³»±²» º®±³ ¸·- -¬¿ººá
  ïí   ÌÎÑò ß²¼ × ¸¿ª» µ²±©´»¼¹» ¬¸¿¬ Ù¿®§ Í¬»©¿®¬ù-                ïí     ßò × ©±«´¼ ¸¿ª» ½¿´´»¼ ¸·- -¬¿ººò × °®»-«³» ·¬ ©¿-
  ïì   »¨°´¿²¿¬·±² ©¿- ¬¸¿¬ ¸» ¸¿¼ ¬± ¼± -±³»¬¸·²¹ ¾»½¿«-»          ïì   Ð»¹¹§ò
  ïë   Û²¹´» ø-·½÷ ©¿- ½¿´´·²¹ ¸·³ íð ¬·³»- ¿ ¼¿§å ¸» ¸¿¼ ¬± ¼±     ïë     Ïò ×¬ ©¿- ¿ º»³¿´»á
  ïê   -±³»¬¸·²¹ò Ì¸¿¬ ©¿- ¸·- »¨°´¿²¿¬·±² ±º ©¸§ ¸» ¼·¼ -»¬        ïê     ßò ×¬ ©¿-ò Ò±¬ ¿®±«²¼ ¸»ù- ¹±²» º±® ¬¸» ¼¿§ò
  ïé   «° ¿ ³»»¬·²¹ ©·¬¸ ¬¸» ¶«¼¹» ¿²¼ ¹·ª» ³» ²±¬·½» ¿²¼ -±        ïé     Ïò Ñµ¿§ò Ü·¼ ¬¸»§ ³¿µ» ¿²§ ·²¼·½¿¬·±² ¬¸¿¬ ¸» ¸¿¼
  ïè   º±®¬¸ò Í± × ¸¿ª» µ²±©´»¼¹» ±º ¬¸±-» ¬¸·²¹- ¿²¼ ¬¸» º¿½¬      ïè   ¾»»² ¬¸»®» »¿®´·»®á
  ïç   ¬¸¿¬ ¾¿-·½¿´´§ ¸·- ¿¼³·--·±² ¬¸¿¬ ·¬ ©¿- ±¾¬¿·²»¼            ïç     ßò Ò±°»ò Ù±²» º±® ¬¸» ¼¿§ò
  îð   µ²±©·²¹´§ ©·¬¸±«¬ ¹·ª·²¹ ¿²§¾±¼§ ²±¬·½» ¿²¼ ¬¸®±«¹¸          îð     Ïò Ñµ¿§ ¼·¼ ¬¸»§ ³¿µ» ¿²§ ·²¼·½¿¬·±² ¬± -¿§ ¬¸¿¬ ¸»
  îï   ½±³³«²·½¿¬·±²- ©·¬¸ ¬¸» ½±«®¬ò                               îï   ©¿- ¸»®» ¾»º±®» ¾«¬ ²±© ¸»ù- ´»º¬á
  îî     Ïò Ø±´¼ ±² ´»¬ù- ¾¿½µ «° ¬¸¿¬ ¬¸»®» ¿ ´±¬ ±º               îî     ßò Ò±ò
  îí   °®±²±«²- ¬¸¿¬ ©»®» «-»¼ ¬¸¿¬ ½¿²ù¬ ·¼»²¬·º§ ©¸± ¬¸»§         îí     Ïò Þ«¬ ©¸¿¬ ©¿- ¬±´¼ ¬± §±« ¿¬ ¬¸» ¬·³» ¬¸¿¬ §±«
  îì   ©»®»ò                                                        îì   ½¿´´»¼ ¸» ©¿- ¹±²» º±® ¬¸» ¼¿§á
  îë     ßò × ³·¹¸¬ ¸¿ª» ¼±²» ¬¸¿¬ô §»-ò                            îë     ßò Ø» óó × ¬¸·²µ ¬¸»§ -¿·¼ ¸» ©¿- ¿¬ ¿ ½±²º»®»²½»
                                                          Ð¿¹» êí                                                           Ð¿¹» êë
   ï     Ïò Ç±« -¿·¼ ¬¸¿¬ Ù¿®§ Í¬»©¿®¬ ¸¿¼ ¬± -»¬ -±³»¬¸·²¹          ï   º±® ¬¸» ¼¿§ò
   î   «° ¾»½¿«-» Ó®ò Û²¹´» ©¿- ½¿´´·²¹ ¸·³ ¿ ²«³¾»® ±º ¬·³»-        î     Ïò Ü·¼ ¬¸»§ ³¿µ» ¿²§ -±®¬ ±º ·²¼·½¿¬·±² ¬¸¿¬ ¬¸»§
   í   °»® ¼¿§á                                                      í   ¸¿¼ ¾»»² ·² ½±³³«²·½¿¬·±² ©·¬¸ ¸·³ ¬¸¿¬ ¼¿§á
   ì     ßò íð ¬·³»- ¿ ¼¿§ ·- ¬¸» ²«³¾»® ¸» «-»¼ò                    ì     ßò Ò±ò Ê»®§ ½´»¿® ¿¬ ´»¿-¬ ©·¬¸ ¬¸¿¬ ¬¸»®»ù- ²±
   ë     Ïò É¿- ¬¸·- ¼«®·²¹ ¿ ¬»´»°¸±²» ½¿´´ ¾»¬©»»² §±« ¿²¼         ë   ½¸¿²½» ¬¸¿¬ §±«ù®» ¹±·²¹ ¬± ¸¿ª» ¿«¼·»²½» ©·¬¸ ¸·³ ¬±¼¿§
   ê   Ó®ò Í¬»©¿®¬á                                                  ê   ¸»ù- óó
   é     ßò Ì¸¿¬ù- ½±®®»½¬ò                                          é     Ïò × «²¼»®-¬¿²¼ò Ó§ ¿¹¿·² ©¿- ¿ ´·¬¬´» ¾·¬
   è     Ïò ß²¼ ©¸¿¬ ¿®» §±« ®»º»®®·²¹ ¬± ©¸»² §±« -¿§ ¬¸¿¬          è   ¼·ºº»®»²¬ ¬¸±«¹¸ò Ü·¼ ¬¸»§ ³¿µ» ¿²§ -±®¬ ±º
   ç   Ù¿®§ ¸¿¼ ¬± -»¬ -±³»¬¸·²¹ «°á                                 ç   ®»°®»-»²¬¿¬·±² ¬± §±« ¬¸¿¬ ¬¸»§ ¸¿¼ ¾»»² ·²
  ïð     ßò Ù¿®§ -¿·¼ ¬¸¿¬ ¸» óó ©¸·½¸ ·- µ·²¼ ±º -¬®¿²¹»           ïð   ½±³³«²·½¿¬·±² ©·¬¸ ¸·³ °®·±® ¬± ¬¸» °±·²¬ ±º §±«® ½¿´´á
  ïï   ¾»½¿«-» Ð¿¹»ù- ´»¬¬»®¸»¿¼ ·- ½±³·²¹ ±ª»®ò Ì¸·-               ïï     ßò Ò±ò
  ïî   ½±³³«²·½¿¬·±² ·- º®±³ Ð¿¹» -»²¼·²¹ «- ±ª»® ¬¸»               ïî     Ïò Ñµ¿§ò ß²¼ ¼·¼ ¬¸»§ ³¿µ» ¿²§ -±®¬ ±º ·²¼·½¿¬·±²
  ïí   ®»-«®®»½¬·±² ±® ¬¸» Ó¿®½¸ îî ±®¼»®ò Ù¿®§ ©¿- ·² ¬¸»          ïí   ¬¸¿¬ ¸» ¸¿¼ ¾»»² ¿¬ ¬¸» ±ºº·½» ¾»º±®» ¬¸» °±·²¬ ±º §±«®
  ïì   ±ºº·½» ¿¬ ¬¸» ¬·³»ò ß- -±±² ¿- ©» ¹±¬ ·¬ × ½¿´´»¼ ¿²¼        ïì   ½¿´´á
  ïë   Ù¿®§ -¿·¼ ¬¸¿¬ ¸» ¸¿¼ ¬± ¼± -±³»¬¸·²¹ò Ø»ò Ø» ¼·¼²ù¬         ïë     ßò Ç»-ò
  ïê   -¿§ Ð¿¹» ¸¿¼ ¬± ¼± -±³»¬¸·²¹å ¸» -¿·¼ ¸» ¸¿¼ ¬± ¼±           ïê     Ïò Ì¸»§ ¬±´¼ óó
  ïé   -±³»¬¸·²¹ ¾»½¿«-» ¬¸» ¹«§ ©¿- ½¿´´·²¹ô ¬¸» ¹«§ ¾»·²¹         ïé     ßò Ì¸»§ ³¿¼» ¬¸» ·²¼·½¿¬·±² ¬¸¿¬ ¸» ¸¿¼ ²±¬ ¾»»²
  ïè   Û²¹´»ô ©¿- ½¿´´·²¹ ¸·³ íð ¬·³»- ¿ ¼¿§ò                       ïè   ¬¸»®» ¬¸¿¬ ©¿- ¬¸» ½´»¿® ·³°¿½¬ ¬¸¿¬ ¸» ¸¿¼²ù¬ ¾»»²
  ïç     Ïò Í± ¬¸·- ©¿- Ù¿®§ Í¬»©¿®¬ù- ®»-°±²-» ¬± §±«® ½¿´´        ïç   ¬¸»®» ¿´´ ¼¿§ò
  îð   -¿§·²¹ ¸»§ ©¸¿¬ù- ¬¸·- ÌÎÑá                                  îð     Ïò Í± ©¸¿¬ ¼·¼ ¬¸»§ -¿§á Ì»´´ ³» »¨¿½¬´§ ©¸¿¬ ¬¸»§
  îï     ßò É¸¿¬ ·² ¬¸» Í¿³ ¸»´´ §±«ù®» ¼±·²¹å ¬¸·- ·- ¬¸»          îï   -¿·¼ ±® ¬¸·- °»®-±²ô ¬¸·- ©±³¿²ò
  îî   -»½±²¼ ¬·³» §±«ùª» ¹±¬¬»² ¿² »¨ó°¿®¬» ±®¼»® ©·¬¸±«¬          îî     ßò × ¼±²ù¬ ®»³»³¾»® »¨¿½¬´§ ©¸¿¬ ©¿- -¿·¼ ¾«¬ ·¬ ©¿-
  îí   ²±¬·º§·²¹ «- ·² ª·±´¿¬·±² ±º ¬¸» ½±«®¬ ®«´»ò                 îí   ª»®§ô ª»®§ ½´»¿® ¸±© ·² ¬¸» Í¿³ ¸»´´ ¼·¼ ¬¸·- ¸¿°°»²
  îì     Ïò Í± ¬¸¿¬ ©¿- §±«® °±-·¬·±² ©¸»² §±« ½¿´´»¼ Ù¿®§          îì   ¬¸»² ¾»½¿«-» ¬¸» ¶«¼¹» ©¿-²ù¬ ¬¸»®»ò
  îë   Í¬»©¿®¬á                                                     îë     Ïò Ü·¼ §±« -¿§ ¬¸¿¬ ¬± ¬¸» °»®-±² §±« ©»®» -°»¿µ·²¹

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                                                  Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                    çéíóìïðóìðìð
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                                                          Ð¿¹» êê                                                          Ð¿¹» êè
   ï   ¬± ±² ¬¸» °¸±²»á                                              ï     ßò ß ©»»µ ¾»º±®» ¬¸» -¬¿¬«- ½¿´´ò
   î     ßò Ò±ò                                                      î     Ïò Ì¸» Ó¿§ ïð¬¸ -¬¿¬«- ½±²º»®»²½»á
   í     Ïò É¸»² §±« ½¿´´»¼ ¼·¼ §±« ¬»´´ ¬¸» °»®-±² ±² ¬¸»           í     ßò Ó¿§ ïð -± ·¬ °®±¾¿¾´§ ©±«´¼ ¸¿ª» ¾»»²òòò
   ì   °¸±²» ¬¸¿¬ §±« ©¿²¬»¼ ¬± ¸¿ª» ¿ ½±²º»®»²½» ©·¬¸ ¬¸»           ì     Ïò Í± ¬¸» º·®-¬ -¸±© ½¿«-» ©»ù®» ¬¿´µ·²¹ ¿¾±«¬ ³¿§¾»
   ë   ¶«¼¹» ¾»½¿«-» ±º ¬¸·- ÌÎÑ ¬¸¿¬ ©¿- ¶«-¬ -·¹²»¼ ¬¸¿¬ ¼¿§       ë   ·² Ó¿®½¸á
   ê   ¬¸¿¬ §±« ¸¿¼ ¶«-¬ ®»½»·ª»¼á                                   ê     ßò Ó¿®½¸ ±® -± §»°ò
   é     ßò × ¼±²ù¬ µ²±© ¬¸¿¬ × ©±«´¼ ¸¿ª» °«¬ ·¬ ·² »¨¿½¬´§         é     Ïò É¸¿¬ ©¿- ¬¸» ¾¿-·- º±® ¬¸¿¬ -¸±© ½¿«-» ¸»¿®·²¹á
   è   §±«® ©±®¼- ¾«¬ ½´»¿®´§ × ¹±¬ ¬¸·- ÌÎÑ ¬¸¿¬ ©¿- ¶«-¬           è   É¸± ©¿- ¾»·²¹ ±®¼»®»¼ ¬± -¸±© ½¿«-»á
   ç   ·--«»¼ ¿²¼ × ²»»¼ ¬± -»¬ «° ¿² »¨ó°¿®¬» ·³³»¼·¿¬»             ç     ßò É»´´ ©» ©»®» ¿-µ·²¹ º±®ô × ¼±²ù¬ ®»³»³¾»® ·º ¬¸»
  ïð   ¼·-½«--·±² ©·¬¸ ¬¸» ¶«¼¹»ò × ´»¬ ¬¸» ±¬¸»® ¿¬¬±®²»§          ïð   ¶«¼¹» ·--«»¼ ¿ -¸±© ½¿«-» ±® ²±¬ ±² ¬¸¿¬ò Ó¿§¾» ×
  ïï   µ²±©ò Ø»ù- ¾»»² ¹±²»ò ×¬ ©¿- ª»®§ ½´»¿®ô §±« µ²±©ô ¿´´       ïï   ³·--°±µ» ¾«¬ ©» ©»®» ¿-µ·²¹ ¬± ¸¿ª» ¬¸» ÛÔÝ ¸»´¼ ·²
  ïî   ¼¿§ -±ò                                                      ïî   ½±²¬»³°¬ò
  ïí     Ïò ß²¼ ¬¸»§ ¬±´¼ §±« ¿´´ ¼¿§á                              ïí     Ïò Ñ² ©¸¿¬ ¹®±«²¼-á
  ïì     ßò Ò±ô ·¬ ©¿- ª»®§ ½´»¿® º®±³ ¬¸» ¼·-½«--·±²ò              ïì     ßò Þ¿-·½¿´´§ ®»´¿¬·ª» ¬± ¬¸» óó ×ù³ ¹±·²¹ ¬±
  ïë   ß¹¿·²ô × ¼±²ù¬ µ²±© ¬¸» »¨¿½¬ ©±®¼-ò Ì¸»®»ù- ¿ ¬·³» ×        ïë   °®±¾¿¾´§ ½±²º«-» ¬¸» ¬©±ò × µ²±© ¬¸¿¬ ¬¸®±«¹¸±«¬ ¬¸·-
  ïê   ©·-¸ × ¸¿¼ ®»½±®¼»¼ -±³»¬¸·²¹ò                               ïê   °®±½»-- ©» ¸¿¼ ¬®±«¾´» ©·¬¸ ¬«®²·²¹ ±ª»® ®»½±®¼-å ©» ¸¿¼
  ïé     Ïò Ç±«® ¬¿µ» ¿©¿§ ©¿- ¬¸¿¬ óó §±«® ¬¿µ» ¿©¿§ ©¿-           ïé   ¬®±«¾´» ©·¬¸ ¸·¼·²¹ ¿²¼ ½¸¿²¹·²¹ ¿--»¬-ô ¿²¼ ¬¸¿¬ ¾»½¿³»
  ïè   ¬¸¿¬ Ö«¼¹» Ø¿³®» ©¿-²ù¬ ¬¸»®» ¿¬ ¿´´ ¬¸¿¬ ¼¿§å ·- ¬¸¿¬       ïè   ³±®» °®±²±«²½»¼ ¿¬ ¬¸» óó ¾»º±®» ¬¸» Ó¿§ ¸»¿®·²¹ò
  ïç   §±«®á                                                        ïç     Ïò Ñµ¿§ò Í± ¬¸» º·®-¬ -¸±© ½¿«-» ¸»¿®·²¹ ¬¸¿¬ ©»ù®»
  îð     ßò Ì¸¿¬ù- ½±®®»½¬ò Þ»½¿«-» × ©¿´µ»¼ óó × ¸«²¹ «°           îð   ¬¿´µ·²¹ ¿¾±«¬ ¬¸¿¬ ±½½«®®»¼ ·² ¿°°®±¨·³¿¬»´§ Ó¿®½¸ ¼·¼
  îï   ©·¬¸ ¬¸» ©»·®¼ ½±²½»°¬ ±º ¸±© ·² ¬¸» Í¿³ ¸»´´ ¬¸»² ¼·¼       îï   §±« ¿°°»¿® ¿¬ ¬¸¿¬á
  îî   ¬¸·- ¬¸·²¹ ¹»¬ -·¹²»¼á ß²¼ ¬¸¿¬ ±º ½±«®-» ©¿- ¬¸»            îî     ßò × ¾»´·»ª» × ¼·¼ò
  îí   ·³°»¬«- ¬± -»²¼ ·¬ ¬± ±ª»® ¬± »ª»²¬«¿´´§ ´±±µ ¿¬ ·¬ò         îí     Ïò ß²¼ §±«® º·®³ ©¿- ¿-µ·²¹ ±² ¾»¸¿´º ±º ØÔÊ ¬± ¸±´¼
  îì   ß²¼ º·¹«®» ±«¬ ³¿§¾» ·¬ ©¿-²ù¬ -·¹²»¼ò                       îì   ÛÔÝ ·² ½±²¬»³°¬ ®»´¿¬·ª» óó
  îë     Ïò Ü·¼ §±« óó                                              îë     ßò Ý±®®»½¬ò
                                                          Ð¿¹» êé                                                          Ð¿¹» êç
   ï     ßò É» ¿--«³»¼ ¿¬ ¬¸» ¬·³» ¬¸¿¬ Ù¿®§ ¸¿¼ ¹±²»                ï     Ïò óó ¬± ©¸¿¬á
   î   -±³»°´¿½» ¿²¼ º±«²¼ Ö«¼¹» Ø¿³®»ò × ¬¸·²µ ¬¸¿¬ù- ©®±²¹ò        î     ßò Ì¸»·® º¿·´«®» ¬± °»®º±®³ ±² ¬¸» -¬·°«´¿¬»¼
   í     Ïò Ü·¼ §±« »ª»® ¿-µ ¿²§±²» º®±³ Ö«¼¹» Ø¿³®»ù- -¬¿ºº         í   -»¬¬´»³»²¬ò
   ì   ¿- ¬± ©¸»¬¸»® -±³»±²» º®±³ ¬¸» -¬¿ºº ¸¿¼ ½±²¬¿½¬ ©·¬¸         ì     Ïò É¸¿¬ -°»½·º·½¿´´§ ©»®» §±« ½´¿·³·²¹ ¬¸¿¬ ¬¸»§
   ë   Ö«¼¹» Ø¿³®» ¿¾±«¬ ¬¸·- ÌÎÑá                                   ë   ©»®» º¿·´·²¹ ¬± ¼±á
   ê     ßò Ò±ò                                                      ê     ßò ×ù¼ ¸¿ª» ¬± ´±±µ ¿¬ ¬¸» °´»¿¼·²¹ ¬± º·²¼ ±«¬ò
   é     Ïò Ø¿ª» §±« ¬¿´µ»¼ ¬± ¿²§ ©·¬²»--»- ©¸± ¸¿ª» -¿·¼           é     Ïò Ñµ¿§ò ß²¼ ©¸¿¬ ©¿- ¬¸» ®»-«´¬ ±º ¬¸¿¬ ¸»¿®·²¹á
   è   ¬¸¿¬ ¬¸»§ùª» ¸¿¼ ½±³³«²·½¿¬·±²- ©·¬¸ Ö«¼¹» Ø¿³®»              è     ßò Õ·²¼ ±º ¬¸» -¿³» ¿- ¬¸» -»½±²¼ ±²»ò Ö«¼¹» Ø¿³®»
   ç   ®»¹¿®¼·²¹ ¬¸·- ÌÎÑá                                           ç   -¬¿®¬»¼ ¾¿-·½¿´´§ ¬®·»¼ ¬± ²»¹±¬·¿¬» ¿ ²»© ¼»¿´ º±® ¬¸»
  ïð     ßò Ò±ò                                                     ïð   Ü»º»²¼¿²¬-ô º±® ÛÔÝò
  ïï     Ïò Ø¿ª» §±«ô ¿²¼ ¿¹¿·² × ¬¸·²µ §±« ¿²-©»®»¼ ¬¸·-           ïï     Ïò ß²¼ × «²¼»®-¬¿²¼ ¬¸¿¬ ¬¸¿¬ù- §±«® °±-·¬·±² ¾«¬
  ïî   ¾»º±®»ô §±« ¸¿ª»²ù¬ óó §±« ¸¿ª» ²±¬ ¸¿¼ ¿²§                  ïî   §±«ù®» ¿´-± ¿©¿®» ¬¸» ±¬¸»® -·¼» ·- -¿§·²¹ ¬¸¿¬ Ø¿³®»
  ïí   ½±³³«²·½¿¬·±²- ©·¬¸ Ö«¼¹» Ø¿³®» ¿¾±«¬ ¬¸» -·¹²·²¹ ±º         ïí   ©¿-²ù¬ ²»¹±¬·¿¬·²¹ ¿ ²»© ¼»¿´ ±® ¬¸» Ü»º»²¼¿²¬- ©»®»²ù¬
  ïì   ¬¸·- ÌÎÑô ½±®®»½¬á                                           ïì   ¬®§·²¹ ¬± ²»¹±¬·¿¬» ¿ ²»© ¼»¿´ ¾«¬ ¶«-¬ °«¬ ØÔÊ ¾¿½µ
  ïë     ßò Ì¸¿¬ù- ½±®®»½¬ò                                         ïë   ·²¬± ¬¸» °±-·¬·±² ¬¸¿¬ ·¬ ©¿- ®»´¿¬·ª» ¬± ¬¸» ´±¿²á
  ïê     Ïò Ñµ¿§ò Ç±« ³»²¬·±²»¼ ¬¸» -¸±© ½¿«-» ¸»¿®·²¹ -¿·¼         ïê   Ç±«ù®» ¿©¿®» ¬¸¿¬ ¬¸¿¬ ©¿- ¬¸» ´»¬ù- ¶«-¬ -¿§ ¬¸» ±¬¸»®
  ïé   ¬¸¿¬ ¬¸»§ ©»®» ¬©± ±º ¬¸»³ ¿²¼ ¬¸¿¬ ¬¸±-» ¿®» ¿´-±           ïé   -·¼» ±º ¬¸» ½±·²ô ¬¸» ±¬¸»® ¿®¹«³»²¬á
  ïè   ¹®±«²¼- º±® §±«® ²¿³» ¾»·²¹ ·²½´«¼»¼ ±² ¬¸» ·²·¬·¿´          ïè     ßò × µ²±© ¬¸»®» ©¿- ¿² ¿®¹«³»²¬ ¾»·²¹ ³¿¼» ¾«¬ ·¬
  ïç   ¼·-½´±-«®»-ò Ô»¬ù- ¬¿´µ ¿¾±«¬ ¬¸» º·®-¬ -¸±© ½¿«-»           ïç   ©¿- ½´»¿® ¬¸¿¬ Ö«¼¹» Ø¿³®» ©¿- ¬®§·²¹ ¬± ²»¹±¬·¿¬» ¿ ²»©
  îð   ¸»¿®·²¹ ©¸»² ©¿- ¬¸¿¬á                                       îð   ¼»¿´ò
  îï     ßò × ¼±²ù¬ ®»½¿´´ò                                         îï     Ïò ×² §±«® ±°·²·±²ô ¬®«»á
  îî     Ïò × «²¼»®-¬¿²¼ò Ñµ¿§ ©¸¿¬ ©¿- óó                          îî     ßò ×¬ù- ¬¸» ±²´§ ±²» ¬¸¿¬ ½±«²¬-ô ®·¹¸¬á ×º ×
  îí     ßò Ó¿§¾» ¿ ³±²¬¸ô ¿ ³±²¬¸ ¿²¼ ¿ ¸¿´º ¾»º±®» ¬¸»            îí   ¬¸±«¹¸¬ ¼·ºº»®»²¬´§ô ·¬ ©±«´¼²ù¬ ¾» ³§ ±°·²·±² ¿²§³±®»ò
  îì   -»½±²¼ -¸±© ½¿«-»ò                                           îì     Ïò Ú¿·® »²±«¹¸ò Ú¿·® »²±«¹¸ò ß²¼ ¬¸»² ¬¸» -»½±²¼
  îë     Ïò Ñµ¿§ò É¸»² ©¿- ¬¸» -»½±²¼ -¸±© ½¿«-»á                   îë   -¸±© ½¿«-» ¸»¿®·²¹ §±« -¿·¼ ¬¸¿¬ ¸¿°°»²»¼ ¿¾±«¬ ¿ ©»»µ

                                                                                                           ïè øÐ¿¹»- êê ó êç÷
                                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                                                    çéíóìïðóìðìð
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                                                          Ð¿¹» éð                                                         Ð¿¹» éî
   ï   ¾»º±®» ¬¸» Ó¿§ ïð¬¸á                                          ï     Ïò ß²¼ §±« -¿·¼ §±« ©»®» ¬¸»®» ©¸»² ¬¸» ¶«¼¹» ³¿¼» ¿
   î     ßò Û¨¿½¬´§ ¿ ©»»µ ¾»º±®»ò                                   î   ®«´·²¹á
   í     Ïò ×ù³ -±®®§á                                               í     ßò Ý±®®»½¬ò
   ì     ßò Û¨¿½¬´§ ±²» ©»»µ ¾»º±®»ô §»-ò                            ì     Ïò ß²¼ ©¸¿¬ ®«´·²¹ ©¿- ¬¸¿¬á
   ë     Ïò ß²¼ ©¸¿¬ ©¿- ¬¸¿¬ -¸±© ½¿«-» ¸»¿®·²¹ ±²á                 ë     ßò Ì± ½±²º·®³·²¹ ¬¸¿¬ ¬¸» ±®¼»®- »²¬»®»¼ ¾§ ·² ¬¸»
   ê     ßò Ì¸¿¬ ¸¿¼ ¬± ¼± ©·¬¸ ¿ ¹®»¿¬ ¼»¿´ ³±®» ·²½´«¼·²¹          ê   ½¿-» ¹¿ª» Ü±²±ª¿² Ê·--»® ¿²¼ ØÔÊ ¿² ¿¾-±´«¬» ®·¹¸¬ ¬± ¾»
   é   ¬¸» ·²½·¼»²¬ ¿¬ ÛÔÝ ¿²¼ ¬¸»·® ®»º«-¿´ ¬± ¿´´±© ¿½½»-- ¬±      é   ±² ¬¸» °®»³·-»- ¿²¼ ¹®¿²¬·²¹ ¿ ¼·®»½¬ ª»®¼·½¬ ±²
   è   ¬¸» ®»½±®¼- ¿²¼ -± º±®¬¸ò                                     è   ¬®»-°¿--ò × ©¿- ¿´-± °®»-»²¬ ©¸»² Ó®ò Þ»¼º±®¼ ¿--¿«´¬»¼
   ç     Ïò ß²¼ ·- ·¬ ½±®®»½¬ º±® ³» ¬± -¬¿¬» ¬¸¿¬ §±«® ¬¿µ»         ç   Þ¿µ»®ò
  ïð   ¿©¿§ º®±³ ¬¸¿¬ -¸±© ½¿«-» ¸»¿®·²¹ ©¿- ¬¸» -¿³» ¿- ¬¸»        ïð     Ïò É¸»² ¼·¼ ¬¸¿¬ ¸¿°°»²á
  ïï   º·®-¬ ¬¸¿¬ §±« ¾»´·»ª» ¬¸¿¬ Ö«¼¹» Ø¿³®» ©¿- ¿¬¬»³°¬·²¹       ïï     ßò É»´´ ¬¸» ¶«®§ ©¿- ±«¬ ±² ¬¸» ¿--¿«´¬ ½´¿·³
  ïî   ¬± ²»¹±¬·¿¬» ¿ ²»© ¼»¿´ -»°¿®¿¬» º®±³ ¬¸» -¬·°«´¿¬»¼         ïî   ¿¹¿·²-¬ Ü±²±ª¿² Ê·--»®ò Ó®ò Þ»¼º±®¼ ©¿- óó ½¿³» ¼±©²
  ïí   -»¬¬´»³»²¬ ¬¸¿¬ ©¿- »²¬»®»¼ ¾¿½µ ·² îðïîá                    ïí   ¿²¼ ¼»½·¼»¼ ¸» ²»»¼»¼ ¬± ¿°°¿®»²¬´§ ¼± ¸·- ª·½¬±®§ ´¿°ò
  ïì     ßò Ò±¬ ±²´§ ¬¸¿¬ ·¬ ©¿- ³±®» °®±²±«²½»¼ ¿²¼ ¸» ©¿-         ïì   × ¼±²ù¬ µ²±©ò
  ïë   ¼®¿¹¹·²¹ ±«¬ ¬¸» ½±²¬»³°¬ ·--«» -± ¸» ¼·¼ ²±¬ ¸¿ª» ¬±        ïë     Ïò Ó®ò Þ»¼º±®¼ ©¿- ¬¸» °®±-»½«¬±®ô ½±®®»½¬á
  ïê   ¿¼¼®»-- ¬¸»³ò                                                ïê     ßò Ì¸¿¬ù- ½±®®»½¬ò É¿- ²±¬ °®±-»½«¬·²¹ ¬¸» ½¿-» ¿²¼
  ïé     Ïò É»®» §±« ¬¸» ±²´§ ¿¬¬±®²»§ ¿°°»¿®·²¹ ±² ¾»¸¿´º ±º       ïé   -¿·¼ ¸» ¸¿¼ ²±¬¸·²¹ ¬± ¼± ©·¬¸ ¬¸» ½¿-» ¾«¬ò
  ïè   ØÔÊ ¿¬ ¬¸» -»½±²¼ -¸±© ½¿«-» ¸»¿®·²¹á                        ïè     Ïò É¸± ©¿- °®±-»½«¬·²¹ ¬¸» ½¿-»á
  ïç     ßò × ¿³ ²±¬ -«®» ±º ¬¸¿¬ ¾«¬ × ¾»´·»ª» -±ò                 ïç     ßò Ó·µ» Ó½Õ¿§ò
  îð     Ïò Ñµ¿§ò É»®» §±« ¬¸» ±²´§ ¿¬¬±®²»§ ¿°°»¿®·²¹ ¿¬           îð     Ïò ß²¼ ¬¸¿¬ ©¿- °®±-»½«¬·²¹ Ü±²±ª¿²ù- ½¿-»ô ½±®®»½¬á
  îï   ¬¸» º·®-¬ -¸±© ½¿«-» ¸»¿®·²¹á                                îï     ßò Ý±®®»½¬ò
  îî     ßò Í¿³» ¬¸·²¹ × ¼±²ù¬ -°»½·º·½¿´´§ ®»½¿´´ ¾«¬ ×            îî     Ïò ß²¼ §±«ù®» ¬¿´µ·²¹ ¿¾±«¬ ¿² ·²¬»®¿½¬·±² ¾»¬©»»²
  îí   ¾»´·»ª» -±ò                                                  îí   Ó®ò Þ»¼º±®¼ ¿²¼ Ó®ò Þ¿µ»®á
  îì     Ïò ß²§ ±¬¸»® »ª»²¬- ¬¸¿¬ º±®³ ¬¸» ¾¿-·- º±® §±«®           îì     ßò Ý±®®»½¬ò
  îë   ·²½´«-·±² ±² ¬¸» ·²·¬·¿´ ¼·-½´±-«®»- ±¬¸»® ¬¸¿² ±²»-         îë     Ïò Ü«®·²¹ ¬¸» ¬®·¿´ ±º Ü±²±ª¿² Ê·--»®á
                                                          Ð¿¹» éï                                                         Ð¿¹» éí
   ï   ©»ùª» ¿´®»¿¼§ ¬¿´µ»¼ ¿¾±«¬á                                   ï     ßò Ý±®®»½¬ò
   î     ßò × ©¿- °®»-»²¬ ©¸»² Ö«¼¹» Ü±¼¹» ³¿¼» ¸·- ®«´·²¹ò          î     Ïò Ç±« -¿§ ¬¸¿¬ Ó®ò Þ»¼º±®¼ ¸¿¼ ¬¸»² ½±³» ·²¬± ¬¸»
   í     Ïò ß®» §±« ®»º»®®·²¹ ¬± ¬¸» ®«´·²¹ ©¸»®» ¸» -»¬             í   ½±«®¬®±±³á
   ì   ¿-·¼» Ö«¼¹» Ø¿³®»ù- ±®¼»®-á                                   ì     ßò É¸»² ¬¸» ½¿-» ©¿- ±ª»® Ó®ò Þ»¼º±®¼ -¸±©»¼ «° ¿²¼
   ë     ßò Ý±®®»½¬ò × ©¿- °®»-»²¬ ¬¸»®»ò Ð®»-»²¬ ¿´-± ©¸»²          ë   ¬¸» ¶«®§ ©¿- ±«¬ ¯«·¬» ¿ ´»²¹¬¸§ ¬·³» °»®·±¼ ¾»º±®» ¿
   ê   Ö«¼¹» É»-¬®¿ ³¿¼» ¸·- ®«´·²¹ò                                 ê   ³·-¬®·¿´ ©¿- ¼»½´¿®»¼ ¿²¼ ¬¸»®» ©¿- ¿º¬»® ¿² ¸±«® ¿²¼ ¿
   é     Ïò ×ù³ -±®®§ ¶«¼¹» ©¸±á                                     é   ¸¿´º ±® -± Þ»¼º±®¼ ©¿- -·¬¬·²¹ ¬¸»®» ´¿«¹¸·²¹ ¿²¼ -±
   è     ßò É»-¬®¿ò                                                  è   º±®¬¸ ¿²¼ °®±½´¿·³»¼ -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ ±º ©¸±
   ç     Ïò Ì¸¿¬ ©¿- óó ·¬ ©¿- ·² ¬¸» ½®·³·²¿´ ³¿¬¬»®-á              ç   ©±«´¼ ¸¿ª» ¬¸±«¹¸¬ ©» ½±«´¼ ¹»¬ ¬¸·- ³«½¸ »²¬»®¬¿·²³»²¬
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  ïî     ßò Ì¸¿¬ ©¿- Ü±²±ª¿² Ê·--»®ù- ½®·³·²¿´ ³¿¬¬»®ò              ïî   ¬¸¿¬ ½±³³»²¬á
  ïí     Ïò Ü·¼ §±« ®»°®»-»²¬ §±«® -±² ·² ¬¸» ½®·³·²¿´ ½¿-»á        ïí     ßò Ì± Ó·½¸¿»´ Ó½Õ¿§ ¿²¼ ¸·- »²¬±«®¿¹»ò Ì©± ±¬¸»®
  ïì     ßò × ¼·¼ ²±¬ò                                              ïì   ¿--·-¬¿²¬-ô ·²¬»®²- ±® ©¸¿¬»ª»® ¬¸¿¬ ©»®» ¿--·-¬·²¹ ¸·³ò
  ïë     Ïò É¸± ®»°®»-»²¬»¼ ¸·³á                                    ïë     Ïò Ì¸»² ©¸¿¬ ¸¿°°»²»¼á
  ïê     ßò Ü¿ª·¼ Ü±¼¹»ò                                            ïê     ßò ß²¼ Ó®ò Þ¿µ»® ©¿- -·¬¬·²¹ ·² ¬¸» ¾¿½µ ®±© ¿²¼
  ïé     Ïò ß²¼ ©¸± °¿·¼ º±® Ü±²±ª¿²ù- ®»°®»-»²¬¿¬·±²á              ïé   Ü±²±ª¿² ¿°°¿®»²¬´§ ³¿¼»ô ©»´´ô ¿°°¿®»²¬´§ ¸» ³¿¼» ¿ ¯«·°
  ïè     ßò ØÔÊò                                                    ïè   -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ × ¼±²ù¬ ¬¸·²µ ·¬ù- º«²²§ô
  ïç     Ïò Ü± §±« ¸¿ª» ·²ª±·½»- º®±³ ß¬¬±®²»§ Ü±¼¹» º±® ¬¸¿¬       ïç   Ó®ò Þ»¼º±®¼ò × ¼±²ù¬ ¬¸·²µ ·¬ù- »²¬»®¬¿·²³»²¬ ¿¬ ¿´´å
  îð   ®»°®»-»²¬¿¬·±²á                                              îð   §±«ù®» -½®»©·²¹ ¿®±«²¼ ©·¬¸ ³» ±® -±³»¬¸·²¹ ¬± ¬¸¿¬
  îï     ßò × ¼± ²±¬ µ²±© ¬¸¿¬ × ¼±ò                                îï   »ºº»½¬ ¿²¼ Þ±¾ Þ¿µ»® -¿·¼ -±³»¬¸·²¹ ¬± ¬¸» »ºº»½¬ ±º
  îî     Ïò Ü±»- ØÔÊá                                               îî   ¶«-¬ ©¿·¬ô Ó®ò Þ»¼º±®¼ô §±«ù´´ ¹»¬ §±«® ½¸¿²½» ±®
  îí     ßò × ¼±²ù¬ µ²±©ò                                           îí   ©¸¿¬»ª»®ò ß²¼ Þ»¼º±®¼ ¹±¬ ®»¼ ·² ¬¸» º¿½»ô ª»·² °±°°»¼
  îì     Ïò Ñµ¿§ò Ü± §±« µ²±© ¸±© ³«½¸ ·¬ ©¿-á                      îì   ±«¬ô ¿²¼ ¸» ½¿³» ½¸¿®¹·²¹ ¬±©¿®¼ ¬¸» ¾¿½µæ ß®» §±«
  îë     ßò Ò±¬ ±ºº ¬¸» ¬±° ±º ³§ ¸»¿¼ô ²±ò                         îë   ¬¸®»¿¬»²·²¹ ¿ °«¾´·½ ±® »´»½¬»¼ ±ºº·½·¿´á ß®» §±«

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                                                        Ð¿¹» éì                                                         Ð¿¹» éê
   ï   ¬¸®»¿¬»²·²¹ óó -±³»¾±¼§ »´-» ±²» ±º ¬¸» ©·¬²»--»- ¸¿¼ ¬±    ï     Ïò Ü·¼ §±« »ª»® ©·¬²»-- ¿²§ ½±³³«²·½¿¬·±² óó ¿²§
   î   -¬»° ·² ¾»¬©»»² ¾»º±®» ¸» ¹±¬ ¬¸»®» ¿²¼ -¬±° ¸·³ò           î   ½±²ª»®-¿¬·±² ¾»¬©»»² Ó®ò Ð¿¹» ¿²¼ Ó®ò Ó½Õ¿§ ®»´¿¬·ª» ¬±
   í     Ïò É¸± ©¿- ±²» ±º ¬¸» ©·¬²»--»- ¬¸¿¬ ¸¿¼ ¬± -¬»° ·²       í   ¬¸» ½®·³·²¿´ ½¸¿®¹»- º·´»¼ ¿¹¿·²-¬ Ü±²±ª¿² Ê·--»®á
   ì   ¾»¬©»»²á                                                    ì     ßò Ò±ò
   ë     ßò Î«-¬§ Î·½¬±® ø-·½÷ò                                    ë     Ïò Í¿³» ¯«»-¬·±² ¿- ¬± ¬¸» ½®·³·²¿´ ½¸¿®¹»- ¿- ¬±
   ê     Ïò Ñµ¿§ò É¿- ¬¸»®» ¿²§ °¸§-·½¿´ ½±²¬¿½¬ ¾»¬©»»² óó        ê   Ó®ò Þ¿µ»®á
   é     ßò Ì¸»®» ©¿- ²±¬ò                                         é     ßò Ò±ò
   è     Ïò Ø±´¼ ±²ò Þ»¬©»»² Ó®ò Þ»¼º±®¼ ¿²¼ Ó®ò Þ¿µ»®á            è     Ïò Ñµ¿§ò Ü·¼ §±« »ª»® óó °«¬ ¿ ²·½» ¾±© ±² ·¬ óó
   ç     ßò Ì¸»®» ©¿- ²± °¸§-·½¿´ ½±²¬¿½¬ ¾»½¿«-» Ó®ò Î·½¬±®       ç   ¼·¼ §±« »ª»® -»» ¿²§ ©®·¬¬»² ½±³³«²·½¿¬·±²- ¾»¬©»»²
  ïð   -¬±°°»¼ ¸·³ ¾»º±®» ¸» ¹±¬ ¬¸»®»ò                           ïð   Ó®ò Í¬»©¿®¬ ¿²¼ Ó®ò Þ»¼º±®¼ ½±²½»®²·²¹ ¬¸» ½®·³·²¿´
  ïï     Ïò É¿- Ó®ò Þ»¼º±®¼ ¿¬¬»³°¬·²¹ ¬± ¬¸±«¹¸ × ¹«»-- °«-¸     ïï   ½¸¿®¹»- º·´»¼ ¿¹¿·²-¬ »·¬¸»® Ó®ò Ê·--»® ±® Ó®ò Þ¿µ»®á
  ïî   ¬¸®±«¹¸ Ó®ò Î·½¬±® ¬± ¹»¬ ¬± Ó®ò Þ¿µ»®á                    ïî     ßò Ò±ò
  ïí     ßò Ç»-ò × ©¿- ¿º®¿·¼ ¬¸¿¬ ©» ©»®» ¹±·²¹ ¬± ¸¿ª»          ïí     Ïò Ü·¼ §±« »ª»® ©·¬²»-- ¿²§ ½±²ª»®-¿¬·±²- ¾»¬©»»²
  ïì   °¸§-·½¿´ ª·±´»²½» ·² ¬¸» ¾¿½µ ±º ¬¸» ½±«®¬®±±³ò            ïì   Ó®ò Í¬»©¿®¬ ¿²¼ Ó®ò Ó½Õ¿§ ×ù³ -±®®§ Ó®ò Í¬»©¿®¬ ¿²¼
  ïë     Ïò É»®» ¬¸» ¾¿·´·ºº- ·²ª±´ª»¼á                           ïë   Ó®ò Þ»¼º±®¼ ®»´¿¬·ª» ¬± ¬¸» ½®·³·²¿´ ½¸¿®¹»- º·´»¼
  ïê     ßò Ò±ò Ì¸» ¾¿·´·ºº- ©»®» ²±¬ ·² ¬¸» ®±±³ ¿¬ ¬¸»          ïê   ¿¹¿·²-¬ Ó®ò Ü±²±ª¿² Ê·--»® ±® Ó®ò Þ¿µ»®á
  ïé   ¬·³»ò                                                      ïé     ßò Ò±ò
  ïè     Ïò Ì¸»² ©¸¿¬ ¸¿°°»²»¼á                                   ïè     Ïò Ü·¼ §±« »ª»® -»» ¿²§ ½±²ª»®-¿¬·±²- ¾»¬©»»²
  ïç     ßò Ì¸»² -±³»¾±¼§ -¿·¼ -±³»¬¸·²¹ ¬± Ó®ò Þ»¼º±®¼ ¿²¼ ×     ïç   Ó®ò Í¬»©¿®¬ ¿²¼ Ó®ò Ó½Õ¿§ ®»´¿¬·ª» ¬± ¬¸» ½®·³·²¿´
  îð   ¸»¿®¼ ©»´´ × ¹«»-- × ±«¹¸¬ ¬± ´»¿ª» ¿²¼ ¸» ´»º¬ò           îð   ½¸¿®¹»- º·´»¼ ¿¹¿·²-¬ Ó®ò Ü±²±ª¿² Ê·--»® ±® Ó®ò Þ¿µ»®á
  îï     Ïò Ñµ¿§ò Ü± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ±º ¿²§       îï     ßò Ò±ò
  îî   ½±³³«²·½¿¬·±²- ¾»¬©»»² Õ»´´§ Ð¿¹» ¿²¼ Ó®ò Þ»¼º±®¼          îî     Ïò Ø¿ª» ©» ²±© ¬¿´µ»¼ ¿¾±«¬ ¿´´ ±º ¬¸» ·²-¬¿²½»-
  îí   ½±²½»®²·²¹ ¬¸» ½®·³·²¿´ ½¸¿®¹»- ±º Ü±²±ª¿²á                îí   ¬¸¿¬ ¾®±«¹¸¬ §±«® ²¿³» ±² Ð´¿·²¬·ººù- ·²·¬·¿´ ¼·-½´±-«®»
  îì     ßò Ò±¬¸·²¹ ¬¸¿¬ × ¸¿ª» ²±¬ »¨½»°¬ ©¸¿¬ ×ùª» ´»¿®²»¼      îì   ´·-¬á
  îë   ¿- ½±«²-»´ò                                                îë     ßò × ¬¸·²µ -±ò ×ù³ ¬®§·²¹ ¬± ¹± ±ª»® ¬¸¿¬ »²¬·®»
                                                        Ð¿¹» éë                                                         Ð¿¹» éé
   ï     Ïò Ñµ¿§ò Ü·¼ §±« ©·¬²»-- ¿²§ ½±²ª»®-¿¬·±²- ¾»¬©»»²        ï   ¬·³» °»®·±¼ ©¸»®» × ©±«´¼ ¸¿ª» ¸¿¼ °»®-±²¿´ µ²±©´»¼¹» ±º
   î   Ó®ò Ð¿¹» ¿²¼ Ó®ò Þ»¼º±®¼ ½±²½»®²·²¹ ¬¸» ½®·³·²¿´ ½¸¿®¹»-    î   ¿²§¬¸·²¹ò ß²¼ × ¾»´·»ª» ¬¸¿¬ ·- óó ¬¸¿¬ ½±ª»®- ·¬ò
   í   º·´»¼ ¿¹¿·²-¬ Ü±²±ª¿²á                                      í     Ïò Ñµ¿§ò
   ì     ßò Ò±ò                                                    ì           ÓÍò ÞËÎÕÛæ Ì¸»² ¬¸¿¬ ½±²½´«¼»- ³§
   ë     Ïò Ü·¼ §±« ©·¬²»--ô ¬¸» -¿³» ¯«»-¬·±² ¾«¬ ¿- ¬± ¬¸»       ë   ¯«»-¬·±²·²¹ ¿¬ ¬¸·- ¬·³»ò
   ê   ½®·³·²¿´ ½¸¿®¹»- º·´»¼ ¿¹¿·²-¬ Ó®ò Þ¿µ»®á                   ê           ÓÎò ÝßÔÔßØßÒæ ß²¼ ×ù³ ¹±·²¹ ¬± ®»-»®ª» ¬¸»
   é     ßò Ò±ò                                                    é   ®·¹¸¬ ¬± ¿-µ ¯«»-¬·±²-ò ×ùª» ¹±¬ -±³» ¬¸·²¹- ¬± ®»ª·»©
   è     Ïò Ü·¼ §±« »ª»® -»» ¿²§ ¼±½«³»²¬- ¾»¬©»»² Ó®ò Ð¿¹»        è   ¸»®» ¿²¼ ©» -¬·´´ ¸¿ª» × ¬¸·²µ ¿ º»© ´·²¹»®·²¹ ´»¹¿´
   ç   ¿²¼ Ó®ò Þ»¼º±®¼ ®»´¿¬·ª» ¬± ¬¸» ½®·³·²¿´ ½¸¿®¹»- º·´»¼      ç   ¬¸·²¹- ©»ùª» ¹±¬ ¬± ¬¿µ» ½¿®» ±ºò
  ïð   ¿¹¿·²-¬ Ó®ò Þ¿µ»®á                                         ïð           ÌØÛ É×ÌÒÛÍÍæ Ì¸»®»ù- ¿ ´±¬ ±º ´·²¹»®·²¹
  ïï     ßò Ì¸» ±²´§ ¬¸·²¹ ©±«´¼ ¸¿ª» ¾»»² ¬¸» ®»-«´¬ ±º          ïï   ´»¹¿´ ¬¸·²¹- ¬¸¿¬ ¸¿ª» ¬± ¾» ¬¿µ»² ½¿®» ±ºò
  ïî   ¿¬¬±®²»§ ©±®µ °®±¼«½¬ò                                     ïî           ÓÎò ÝßÔÔßØßÒæ × µ²±©ò ß ½±«°´» ¿®±-» ¸»®»
  ïí     Ïò Í¿³» ¯«»-¬·±² ©·¬¸ ®»¹¿®¼- ¬± Ó®ò Ó½Õ¿§ ¼·¼ §±«       ïí   ¼«®·²¹ ¬¸» ¼»°±-·¬·±²ò
  ïì   »ª»® -»» ¿²§ ½±³³«²·½¿¬·±²- ¾»¬©»»² Ó®ò Ð¿¹» ¿²¼           ïì           ÌØÛ É×ÌÒÛÍÍæ ß º»© ³·¹¸¬ ¾» ±²» ±º §±«®
  ïë   Ó®ò Ó½Õ¿§ ®»´¿¬·ª» ¬± ¬¸» ½®·³·²¿´ ½¸¿®¹»- º·´»¼ ¿¹¿·²-¬   ïë   ¾»¬¬»® «²¼»®-¬¿¬»³»²¬- ¿¬ ´»¿-¬ ±º ¬¸·- ©»»µò
  ïê   Ü±²±ª¿²á                                                   ïê           ÓÎò ÝßÔÔßØßÒæ É» ¿¬¬±®²»§- ©±®µ ¹±±¼ ¿¬
  ïé     ßò Ò±ò                                                   ïé   -»´ºó¯«¿´·º§·²¹ ±«® ½±³³»²¬-ò Í± ©·¬¸ ¬¸¿¬òòò
  ïè     Ïò Ü·¼ §±« -»» ¿²§ ½±³³«²·½¿¬·±²- ¾»¬©»»² Ó®ò Ð¿¹»       ïè           ÓÍò ÞËÎÕÛæ Ì¸¿²µ §±« º±® §±«® ¬·³»ò
  ïç   ¿²¼ Ó®ò Ó½Õ¿§ ®»´¿¬·ª» ¬± ¬¸» ½®·³·²¿´ ½¸¿®¹»- º·´»¼       ïç           øÜ»°±­·¬·±² ½±²½´«¼»¼ ¿¬ ïæîð°ò³ò÷
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   ï ÍÌßÌÛ ÑÚ Ó×ÝØ×ÙßÒ                ÷
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   ë ÝÛÎÌ×Ú×ÝßÌÛ ÑÚ ÒÑÌßÎÇ ÐËÞÔ×Ý ßÒÜ ÝÑËÎÌ ÎÛÐÑÎÌÛÎ
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   è ¬¿µ»² ¾»º±®» ³» ·² ¬¸» ¿¾±ª»ó»²¬·¬´»¼ ³¿¬¬»®ô ©¿- ¾§ ³»
   ç º·®-¬ ¼«´§ -©±®² ¬± ¬»-¬·º§ ¬± ¬¸» ¬®«¬¸ô ¬¸» ©¸±´»
  ïð ¬®«¬¸ô ¿²¼ ²±¬¸·²¹ ¾«¬ ¬¸» ¬®«¬¸å ¬¸¿¬ ¬¸» º±®»¹±·²¹
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  ïí ¬§°»©®·¬¬»² º±®³ ¾§ ³»¿²- ±º ½±³°«¬»®ó¿·¼»¼
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  ïë ½±®®»½¬ ¬®¿²-½®·°¬ ±º ³§ -¬»²±¹®¿°¸·½ ²±¬»- -± ¬¿µ»²ò
  ïê   × º«®¬¸»® ½»®¬·º§ ¬¸¿¬ × ¿³ ²»·¬¸»® ±º ½±«²-»´ ¬±
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Åú ó ¿´´»¹»¼´§Ã                                                              Ð¿¹» ï

          ú           îððç ëêæïë ëéæîë      ìèðéë îæïí           ¿½µ²±©´»¼¹»
 ú ïæïî íæîì ëëæîð      ëèæê                ìçððî îæîï             ëïæïð
                      îðïï ëèæê             ìçëïî îæë            ¿½µ²±©´»¼¹»¼
         ï
                      îðïî îîæïè éðæïí              ë              íèæîë
 ï ïæïç íæïí ëæé      îðïí ïìæïì îîæïè                           ¿½¬·±² ïæè
   ïíæç                                     ë íæïíôîï íèæïðôïë
                        îëæïè îèæïê íïæïð                        ¿½¬·ª¿¬»¼ íïæïë
 ïôèðð ìëæìôîî                              ëððð ïìæïï
                        íèæìôïèôîí íçæïôí                        ¿½¬«¿´ îíæïï îèæî
 ïð êèæí                                    ëíïóçèêð îæê
                        íçæïè ìðæïôìôïê                          ¿¼ ïæïî
 ïðæðð ïæîí ëæí                             ëë íæîí ìæî
                        ìïæïë ìîæí ììæè                          ¿¼¾ ïîæïé
 ïð¬¸ ïìæïì îëæïè                           ëç ìæì
                        ëéæîôîì ëèæï                             ¿¼¼·¬·±² íïæïé
   îéæïë îèæïîôïê       ëçæïîôîë êîæïð               ê           ¿¼¼·¬·±²¿´ ìíæçôïï
   íïæïð ìîæí ììæè    îðïê ëêæïè            ê íæîí ëëæïç ëêæï      ìíæïï
   ëçæîë êèæî éðæï    îðïé ïæîì ëæî         êñïèñïíóïñíïñïé      ¿¼¼®»-- éðæïê
 ïï ìîæï ìíæïê ìëæî     ëçæïì                 ìæë                ¿¼³·--·±² êîæïç
   ìëæê               îðîï éèæîì            êïê îæê              ¿¼³·¬¬»¼ ïîæêôè
 ïïóëïóëëè íçæîð      îî êîæç êíæïí         ê¬¸ íçæïè ìðæí       ¿¼ª±½¿¬»¼ ìíæíôïî
 ïï¬¸ ìðæï            îî²¼ ìðæïëôîð                  é           ¿¼ª±½¿¬·²¹ ìîæïï
 ïî ìêæïôïôë ìçæé       ìïæïëôïç                                 ¿ºº·¼¿ª·¬ íæîî
                                            é ìæî ëëæïç ëèæïí
   ëïæïè              îì ïìæîð ëíæïîôïì                            íèæïïôïë íçæïì
                                            éñçñðçóêñîìñïê
 ïîæïç ëëæïé          îìè îæïì                                     ìçæéôïíôîï ëîæîë
                                              íæîì ëëæîï
 ïîæìì ëëæïè          îìèð ïæîï îæì                              ¿ºº·¼¿ª·¬- íðæîì
                                            éè ïæïç
 ïî¬¸ íèæïèôîí íçæï   îê ëçæîï                                     íçæïð
   íçæí                                              è
                      îêç îæîî                                   ¿º®¿·¼ éìæïí
 ïíêê ïæç                                   è ìæì ëçæíôè         ¿º¬»®²±±² êìæë
                               í
 ïí¬¸ ëêæïë ëéæîë                           èòïðç îéæïç          ¿¹½ ëðæçôïìôïê
 ïë ëîæïë ëíæîí       í íæïé íðæïï ííæîì    èèèé ïæîë éèæîï      ¿¹± ïïæïç îïæïéôïé
   éèæîì                íìæì ìéæïí ëíæç
                                                     ç           ¿¹®»» íîæîï íëæïôí
 ïëð ïæîï îæì         íð êîæïë êíæìôïè
                                            ç îæïî                 ìëæïé ëìæïè ëéæì
 ïê¬¸ ëêæïè           íð¬¸ ëçæïî
                                            çñíðñïíóïñíïñïé      ¿¹®»»³»²¬ ëæïê
 ïè ïæîì ëæî íìæîí    íïð îæîð
                                              ëçæì                 ïëæíôïîôïê ïêæì
   íëæïéôïé ìêæçôïê   íí íæïé
                                            çëð îæîð               íçæîîôîì ëìæîë
   ìêæîë              íëëóìïìï îæïì
                                                     ¿           ¿¹®»»³»²¬- ëèæïî
 ïç ìéæéôïé ìèæè      íé íæïç
                                                                 ¿¸»¿¼ íëæîï
   ìçæì               íè íæîï               ¿ò³ò ïæîí ëæí        ¿·¼»¼ éèæïí
 ïçéé ïîæç            íèîóëçíë îæîî         ¿¾´» éæê ïèæê        ¿·¼- ìçæïèôîî
 ïæïí ïæç                      ì              ëïæïê              ¿´ êæí
 ïæîð ééæïç           ì íæèôïç íéæïçôîë     ¿¾-»²½» êðæîï        ¿´´»¹¿¬·±²- êïæïï
          î           ìðð ïëæîï             ¿¾-±´«¬» éîæê          êïæïì
                      ìððð îæïî ïìæïé       ¿¾-±´«¬»´§ îíæîð     ¿´´»¹»¼ èæí ëîæîí
 î íæïë îðæêôïð                             ¿½½»-- éðæé
 îð íæïë ìéæîî ìèæì   ìì¬¸ ïæîï îæì                              ¿´´»¹»¼´§ ëíæî
                                            ¿½½«®¿½§ íëæïð
   ìèæïìôîí
                               Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                          çéíóìïðóìðìð
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Å¿´´±© ó ¾»¬¬»®Ã                                                                Ð¿¹» î

 ¿´´±© éðæé           ¿®®·ª¿´ îíæïï           ìëæîì ìçæçôç ëðæì    ¾¿® ïîæéôè îðæîï
 ¿´´±©- ïïæîì           îëæïîôïëôïê           ëïæîð ëîæïêôïéôîë    ¾¿-»¼ íðæîì íéæïî
 ¿³»²¼»¼ êïæïî        ¿®®·ª»¼ îìæéôîîôîì      ëíæîì ëìæëôïïôïí       ìðæïìôïé ìïæîï
 ¿³±«²¬- ëêæïî          îëæç                  ëìæïé ëéæíôïê          ëîæç êïæïé
 ¿²²±«²½»¼ îéæë       ¿-·¼» éïæì              êêæïð éðæïéôîð       ¾¿-·½¿´´§ ïðæèôïî
 ¿²-©»® èæïë îçæî     ¿-µ»¼ ïíæïïôïí          éïæïç éëæïî            îìæïî êîæïç êèæïì
   íîæîì ìðæîí ëëæí     ïìæê ïêæïïôïîôïí    ¿¬¬±®²»§ù- îçæïê         êçæç
 ¿²-©»®»¼ êéæïï         ïéæîì ïèæï ëèæïç    ¿¬¬±®²»§- ééæïê        ¾¿-·- ïëæïèôïç
 ¿²-©»®·²¹ îèæîë      ¿-µ·²¹ îéæïëôïë       ¿«¼·»²½» êëæë            íçæïë êèæé éðæîì
   ëìæîð                ìêæîîôîî êèæçôïï    ¿«¼·± ïíæïí îèæíôç     ¾¾«®µ» îæé
 ¿²-©»®- éèæïï          êèæîí               ¿«¹«-¬ íèæì ëêæïë      ¾»¼º±®¼ ïæïê éîæè
 ¿²§¾±¼§ îíæîí        ¿--¿«´¬ éîæïï           ëêæïè ëéæîë éèæîì      éîæïîôïëôîí éíæîôì
   îçæé íîæïê íéæè    ¿--¿«´¬»¼ éîæè        ¿ª¿·´¿¾´» ëìæîí          éíæéôïïôïçôîîôîí
   íéæïð êîæîð        ¿--»¬- ìëæë êèæïé     ¿©¿®» çæï îéæïè          éìæèôïïôïçôîî éëæî
 ¿²§¾±¼§ù- íîæïé      ¿--·-¬¿²½» íìæïí        îèæïôèôïð íðæïé        éëæç éêæïðôïë
 ¿²§³±®» ììæì         ¿--·-¬¿²¬ ëèæîë         íïæïðôïìôïé ììæîë    ¾»¼º±®¼ù- èæí
   êçæîí              ¿--·-¬¿²¬- éíæïì        ëìæîï êçæïîôïê       ¾»¹¿² îêæïë ëçæïî
 ¿°±´±¹·»- ïêæîë      ¿--·-¬·²¹ éíæïì                 ¾            ¾»¹·²²·²¹ ëéæïí
 ¿°°¿®»²¬ íèæç        ¿--±½·¿¬»¼ ëèæïï                             ¾»¸¿´º îæèôïêôîì
                                            ¾ íæïï
 ¿°°¿®»²¬´§ ìéæí      ¿--±½·¿¬»- îæí íæîì                            ììæîí ìëæïë ëïæïê
                                            ¾¿½µ îìæïì îëæç
   éîæïí éíæïéôïé       ëëæîð                                        êèæîí éðæïé
                                              íëæç íèæí ìëæî
 ¿°°»¿® íîæç íêæïê    ¿--«³» íîæç ëîæê                             ¾»¸¿ª·±® íéæç
                                              ìèæîð ìçæî ëïæïè
   êèæîï                ëíæïç ëèæîïôîî                             ¾»´·»º éæì ìçæíôìôê
                                              ëëæïè ëéæî êîæîî
 ¿°°»¿®¿²½» îêæî      ¿--«³»¼ êéæï                                 ¾»´·»ª» éæîôîì çæïé
                                              êçæïì éðæïí éíæïê
 ¿°°»¿®¿²½»- îæï      ¿--«³»- îçæï                                   ïðæîë ïëæëôïë
                                              éíæîì éìæïì
   êïæîï                íîæîì                                        îëæî îêæè îçæîì
                                            ¾¿·´·ºº- éìæïëôïê
 ¿°°»¿®·²¹ îæèôïê     ¿--«³·²¹ ïèæîí                                 íðæïôïç íïæèôîí
                                            ¾¿µ»® ïæë îæîë êæî
   îæîì îíæï éðæïé      íîæîï ííæì                                   íìæïï íêæïðôïðôîð
                                              éæîï èæïé ïïæîî
   éðæîð              ¿--«³°¬·±² ïèæîî                               íèæîî ìðæïí ìéæë
                                              ïëæïð îðæïî îïæì
 ¿°°»¿®- íèæîð        ¿¬¬¿½¸»¼ ìæè éèæé                              ìèæïôîì ìçæï
                                              îïæèôïëôïç îîæè
   ëêæïêôïé           ¿¬¬»³°¬·²¹ éðæïï                               ëðæïèôîî ëïæìôë
                                              îëæîîôîí îêæíôêôè
 ¿°°®»½·¿¬» êðæê        éìæïï                                        ëîæïç êðæîì êïæì
                                              îêæçôçôïîôïí îçæïí
 ¿°°®±¨·³¿¬»´§        ¿¬¬»²¼·²¹ íîæí                                 êèæîî éðæïïôïçôîí
                                              íïæïïôïè éîæçôîí
   êèæîð              ¿¬¬»-¬»¼ íêæîì                                 ééæî
                                              éíæïêôîï éìæèôïî
 ¿°®·´ ïæîì ëæî         íéæí                                       ¾»´·»ª»¼ íëæîë
                                              éëæêôïðôîð éêæêôïï
   îîæïè              ¿¬¬±®²»§ êæïôéôïî                              íêæîôì ëîæîì
                                              éêæïêôîð
 ¿®»¿ ïíæë              êæïê ïïæîï ïëæç                            ¾»´±²¹ ìëæë
                                            ¾¿µ»®ù- îïæèôîð
 ¿®¹«³»²¬ êçæïé         îðæîì îïæïì îêæç                           ¾»²»º·¬ ëìæë
                                              îêæîë îéæì íïæïî
   êçæïè                îçæïìôïì íçæïç                             ¾»-¬ ëêæê
                                              íïæïè
 ¿®±-» ééæïî            ìðæïé ìïæïïôïê                             ¾»¬¬»® éæïî êîæïî
                                            ¾¿²µ- ïêæîî
                        ìîæéôîì ìíæï                                 ééæïë

                               Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                             çéíóìïðóìðìð
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Å¾·´´·²¹ ó ½±³³«²·½¿¬·±²-Ã                                                      Ð¿¹» í

 ¾·´´·²¹ ïêæîð ëêæç             ½            ½»º´¿©§»®-ò½±³        ½´·»²¬ éæïíôïê
   ëêæïé               ½ îéæïç îèæë            îæïë                  îçæïí ìïæï ëïæïé
 ¾·´´·²¹- ëéæîë        ½¿·¬´§² ïæîë éèæê     ½»´´- ïèæè            ½´·»²¬- íçæîí
 ¾·¬ îèæîï íêæí êïæí     éèæîï               ½»²¬»® îæïî           ½±·² êçæïé
   êëæé                ½¿´»²¼¿® íêæïë        ½»²¬®» îæîð           ½±´´»»² îæïð íæè
 ¾´»²¼ îíæïí           ½¿´´ ïíæïìôîí ïìæî    ½»®¬¿·² ïìæïë ííæé    ½±´´»»²ò¾«®µ» îæïë
 ¾´«» íêæïé              ïìæíôïì îëæïçôîì      íëæë ëëæç           ½±´´·²- îæïï
 ¾±¿®¼ ëìæïè             îêæíôé îéæïë        ½»®¬¿·²´§ îìæè        ½±´±®- íéæç
 ¾±¾ îæîë éíæîï          îèæïìôîí îçæì       ½»®¬·º·½¿¬» éèæë      ½±³» çæîí ïðæîí
 ¾±²¼ êìæé               íïæïç íîæïð ìëæïî   ½»®¬·º·½¿¬·±² íèæí      ïèæç íçæïî ììæïí
 ¾±±µ îîæé               ëëæïï ëéæîî êíæë    ½»®¬·º§ éèæêôïìôïê      éíæî
 ¾±¬¬±³ íëæïéôïç         êíæïç êëæïðôïì      ½¸ íçæîð              ½±³·²¹ ìíæîð
   ìéæïê                 êèæï                ½¸¿·® íîæïé             ììæïð êíæïï
 ¾±© éêæè              ½¿´´¿¸¿² îæïè çæé     ½¸¿²½» ïëæïî êëæë     ½±³³»²½·²¹ ïæîí
 ¾®»¿µ ïêæî îðæïî        ïîæïè ïéæêôïð         éíæîî               ½±³³»²¬ ìèæí
   ìïæïî ëëæïë           ééæêôïîôïê          ½¸¿²¹» îðæïç            éíæïî
 ¾®·»º·²¹ ëìæïé        ½¿´´»¼ çæïé îçæïë     ½¸¿²¹·²¹ êèæïé        ½±³³»²¬- èæì
 ¾®·²¹ ïíæïïôïé          îçæîî êíæïìôîì      ½¸¿²²»´ íðæïï           ííæïíôïìôïç ìðæí
   ïìæé                  êìæèôïíôîì êêæí     ½¸¿®¹»- éìæîí           ìéæîë ìèæéôïìôîî
 ¾®·²¹·²¹ ìîæïð        ½¿´´·²¹ êîæïë êíæî      éëæîôêôçôïëôïçôîì     ìèæîí ìçæí ëìæïð
 ¾®·¬¬¿²§ îæî            êíæïéôïè êìæî         éêæíôëôïïôïëôîð       ééæïé
 ¾®±¿¼»² êïæí          ½¿°¿½·¬§ îðæïë        ½¸¿®¹·²¹ éíæîì        ½±³³·--·±² îçæïë
 ¾®±«¹¸¬ ïéæïî           îïæïï               ½¸»½µ ëçæî              ëìæïì éèæîì
   ëçæîð éêæîí         ½¿®¼- ïçæïë           ½¸»½µ- ïêæîï          ½±³³«²·½¿¬·²¹
 ¾«²½¸ ïëæîë           ½¿®» ééæçôïï          ½·®½«·¬ êæçôîë          îíæì
 ¾«®»² ïæïï êæçôîë     ½¿-» êæè éæîî èæïé      ïíæïé ïêæëôïðôïé    ½±³³«²·½¿¬·±²
   èæè ïðæîîôîì          ïïæïé ïîæïí ïéæïè     íçæîë                 îìæîíôîë îëæè
   ïíæïê ïêæëôçôïé       ïéæïèôïç îðæïôî     ½·®½«´¿¬»¼ îìæïê        ìëæïðôïè êíæïî
   íðæïì                 îçæïîôïé íïæç       ½·ª·´ ïæè               êëæíôïð éêæï
 ¾«®µ» îæîôïð íæè        íçæîð êïæïî éïæïí   ½´¿·³ éîæïï           ½±³³«²·½¿¬·±²-
   ëæïð çæçôïï ïîæîð     éîæêôïêôïéôïèôîð    ½´¿·³·²¹ êçæì           îìæïîôîï îëæëôïï
   ïéæèôïï îðæç íìæî     éíæìôïð             ½´¿--·º§ îèæïéôîì       îëæïì ìðæïêôïèôîï
   íìæïç íéæîí íèæïí   ½¿-»- ïðæîì ïèæèôç    ½´»¿® ìîæêôîî êëæì      ìïæïïôïêôïç ìîæêôè
   ëëæîì ëçæê ééæì     ½¿¬½¸ ïéæìôì            êëæïèôîí êêæïïôïì     ìîæîíôîë ìíæïë
   ééæïè               ½¿«-» êðæçôïï           êçæïç                 ììæïôìôé ìëæîì
 ¾«-·²»-- ïðæïôíôì       êïæîï êéæïêôïçôîì   ½´»¿®´§ êêæè            ëîæïêôîí ëíæîì
   ïðæéôçôïð ïîæïî       êéæîë êèæìôéôèôïð   ½´»®µ îðæïéôïè          êðæïëôïèôîë êïæë
 ¾«-·²»--»- ïðæï         êèæïç êçæîë éðæë      îïæïí                 êîæîï êéæèôïí
 ¾«-§ íêæïì              éðæïðôïèôîï éèæïé   ½´·½µ íëæïè íêæîð       éìæîî éëæïìôïè
                       ½¼ ïíæîï                íéæí ìêæïé ìéæï       éêæç


                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                             çéíóìïðóìðìð
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Å½±³°¿²·»- ó ¼¿«¹¸¬»®Ã                                                           Ð¿¹» ì

 ½±³°¿²·»- çæìôïí      ½±²º·®³·²¹ éîæë         îðæïí îïæçôïð        ½±«°´» ïíæé ïçæïè
   çæïë ïðæîð          ½±²º«-» êèæïë           îîæëôïêôïéôïèôïç       íðæïê ééæïî
 ½±³°¿²§ ïïæîí         ½±²-«´¬¿¬·±² éæïè       îîæîð îëæîë îêæì     ½±«®-» îêæïê
   ïëæïï ïéæïë îíæï      çæïì                  îêæïêôïé îèæïí         êêæîî
   îìæê                ½±²-«´¬·²¹ éæïï         îçæîðôîï íïæïïôïë    ½±«®¬ ïæï íæîð
 ½±³°¿®» íìæîð         ½±²¬¿½¬ îîæîë îíæê      íïæïêôîð íîæèôïë       ëæïéôïè êæìôç ïïæè
 ½±³°¿®·-±² êïæîí        îìæí êéæì éìæêôç      íîæïèôîð ííæíôïï       ïïæïï ïíæïé ïêæë
 ½±³°´¿·²¬ ëðæîï       ½±²¬¿½¬»¼ ïéæïé         íëæêôéôïïôïêôîð        ïêæïðôïè îéæïìôïè
   ëïæïï ëìæîíôîì      ½±²¬¿·²»® ïæì èæîì      íêæïôêôîë íèæïêôïç     îéæïçôîî îèæïôîôê
   ëëæïî êïæïîôïì        ïïæîî ïëæïð           íèæîì íçæï ìðæî        îèæèôïðôïïôïëôïç
 ½±³°´»¬»¼ ïðæë        ½±²¬»³°¬ êèæïîôîì       ìïæïí ìîæí ìíæî        îèæîî îçæí íðæî
 ½±³°´»¨ íðæïð           éðæïë                 ìíæïêôïèôîë ììæïî      íîæìôïî íéæîð
   ìðæîí               ½±²¬»²¬·±«- êæïì        ììæïëôîë ìëæïðôïí      íèæîôé íçæïëôîë
 ½±³°«¬»® ïèæïî        ½±²¬»²¬- íæï            ìëæïèôîð ìêæéôïð       ìëæíôïêôîî ëìæîï
   ëèæïë éèæïí         ½±²¬»-¬ îçæïï           ìêæïè ìèæïð ìçæë       êïæîð êîæîï êíæîí
 ½±³°«¬»®- ïëæï        ½±²¬»-¬»¼ ëéæïçôîí      ëðæë ëïæîî ëîæïè       êìæîôîôèôïð éèæë
   ïèæïôïêôïê îíæïé    ½±²¬·²«»¼ ìæï ìçæè      ëíæïè ëìæîôíôéôïï    ½±«®¬®±±³ éíæí
   îíæîî                 ëïæïç                 ëêæïðôïíôïìôîë         éìæïì
 ½±²½»°¬ êêæîï         ½±²¬·²«·²¹ ìçæé         ëéæìôêôïë ëèæíôì     ½±ª»®»¼ ëïæìôê
 ½±²½»®²»¼ ëïæïôï      ½±²¬·²«±«-´§ êæîë       ëèæïêôïè ëçæïðôïï    ½±ª»®- ééæî
   ëïæíôïé             ½±²¬®¿¼·½¬ ííæïð        êðæï êïæïî êíæé      ½®¿½µ»®- ïðæèôïì
 ½±²½»®²·²¹ ëêæé       ½±²ª»®-¿¬·±²            êìæï êêæîð êéæïì     ½®¿¦§ íïæï
   êðæîî éìæîí éëæî      îìæïð íëæîî ëçæîì     êéæïë êèæîë éðæç     ½®»¿¬»¼ íïæîë
   éëæîí éêæïð           éëæîî éêæî            éïæë éîæíôïëôïêôîð   ½®·³·²¿´ éïæçôïð
 ½±²½´«¼»¼ ééæïç       ½±²ª»®-¿¬·±²-           éîæîïôîì éíæï          éïæïïôïîôïí éìæîí
 ½±²½´«¼»- ééæì          îëæí éëæï éêæïí       éèæïë                  éëæîôêôçôïëôïçôîí
 ½±²½´«-·±²- ìíæîï       éêæïè               ½±®®»½¬´§ îíæç           éêæíôëôïðôïëôïç
   êïæïé               ½±±µ·»- ïðæèôïí         íðæîí ìðæï           ½®±©¼ ïéæè
 ½±²º»®»²½» íæîð       ½±±²»§ îæïç           ½±®®»-°±²¼ ìéæïë       ½-® ïæîë éèæîï
   ïíæîí ïìæíôïì       ½±°·»¼ ëêæî           ½±®®»-°±²¼»²½»         ½«®®»²¬ ìçæê ëçæï
   îëæïçôîì îêæé       ½±°·»® ïêæïð            ïìæîí ëìæïí            ëçæïê
   îéæïë îèæïèôîí      ½±°·»- ëêæí           ½±®®»-°±²¼- ìêæîë      ½«®®»²¬´§ ïëæîð
   îçæì íéæîð íèæïç    ½±°§ ïíæîð ïêæï       ½±-¬ ïêæîî             ½«¬ ìèæïè
   ìîæîôíôëôïì ììæè      ïêæîî íðæîôíôê      ½±«²-»´ ëæïê ïçæîë     ½ª ïæç
   ììæïëôîî ìëæïîôïë     íìæì                  îðæîôì éìæîë                   ¼
   ìêæí ëìæéôïð êðæç   ½±®° ïëæï               éèæïê
                                                                    ¼ íìæïé
   êïæîð êìæîë êêæì    ½±®°±®¿¬·±² ïæíôë     ½±«²¬- êçæîî
                                                                    ¼¿®» íéæïð
   êèæî                  ïæïïôïî             ½±«²¬§ ïæïï êæçôîë
                                                                    ¼¿¬» ëçæïí
 ½±²º»®»²½»ù- ëìæï     ½±®®»½¬ êæëôêôç         èæè ïðæîîôîì
                                                                    ¼¿¬»¼ íèæïè ëêæïë
 ½±²º·¼»²¬·¿´·¬§         éæîð ïîæìôîë ïíæï     ïíæïê íðæïì éèæí
                                                                    ¼¿«¹¸¬»® îïæè
   ëðæîð ëïæì            ïíæïî ïìæïí ïéæïè     éèæîí

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                              çéíóìïðóìðìð
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Å¼¿ª·¼ ó »´½Ã                                                                   Ð¿¹» ë

 ¼¿ª·¼ éïæïê           ¼»-½®·°¬·±²- ëêæç     ¼·-½±²²»½¬»¼ íêæï        éìæîí éëæíôïê
 ¼¿§ îîæïê îìæíôïí     ¼»-µ¬±° ïçæïê           íêæê ìêæïð             éêæíôïêôîð
   îìæîë îëæëôïîôïë    ¼»-°·¬» íçæîí         ¼·-½«-- ìçæè ëðæïê     ¼±²±ª¿²ù- éïæïé
   ìîæïì ìçæîì ëðæï      ëðæîï ëíæï            ëïæïç ëîæë ëëæé        éîæîð
   êðæéôé êîæïë êíæí   ¼»¬¿·´- ïèæê ëîæî       êìæêôéôé             ¼±©²´±¿¼»¼ ïìæîð
   êíæìôïè êìæïêôïç    ¼»ª»´±°³»²¬           ¼·-½«--·²¹ ëìæê        ¼®¿º¬·²¹ éæïïôïè
   êìæîì êëæïôíôïç       ïðæïêôïè            ¼·-½«--·±² êêæïð         çæïì ëèæè
   êêæëôïîôïíôïè       ¼»ª·½» îêæîï îéæî       êêæïì                ¼®¿¹ îìæï
 ¼¿§- íèæïç ìéæïè        îéæé íïæïè          ¼·-½«--·±²- ëêæé       ¼®¿¹¹·²¹ éðæïë
   ìéæîïôîí            ¼»ª·½»- ïìæê ïèæïç    ¼·-³·--»¼ èæïîôïí      ¼®·ª·²¹ íïæïôï
 ¼»¿´ ïîæïïôïî êçæç      ïçæíôéôïðôïìôïè     ¼·-°±-·¬·±² èæîð       ¼- ïìæïï
   êçæïíôïìôîð éðæê      íïæïë ëèæïé         ¼·-°«¬» ïíæïê          ¼«» ïèæïï ëëæç
   éðæïî               ¼·½¬¿°¸±²» ïìæïð      ¼·-¯«¿´·º·½¿¬·±²       ¼«´§ ëæë éèæçôïï
 ¼»½·¼»¼ íëæïî           ïìæïï                 íçæïê                ¼«°´·½¿¬·ª» ïêæîì
   éîæïí               ¼·ºº»®»²½»- íèæç      ¼·-¬·²½¬·±² ììæïé                »
 ¼»½´¿®»¼ éíæê         ¼·ºº»®»²¬ ïðæïôî      ¼·-¬®·¾«¬» îçæéôç
                                                                    » íæêôïïôïê ïìæîí
 ¼»º¿«´¬ êæïë            ïèæïè ïçæïè îèæîï   ¼·-¬®·½¬ ïæïôî êæìôì
                                                                      ïçæïîôîð îðæé
 ¼»º»²¼¿²¬ îæïêôîì       íðæïê íêæí êëæè       ïïæé
                                                                      îìæïîôïë íìæïé
   èæïè                ¼·ºº»®»²¬´§ êçæîí     ¼±½µ»¬ êîæîôë
                                                                      ìíæîí ëëæïì
 ¼»º»²¼¿²¬ù- èæîð      ¼·ºº·½«´¬ îíæïí       ¼±½«³»²¬ íëæïí
                                                                    »¿®´·»® ïíæîî
 ¼»º»²¼¿²¬- ïæïé       ¼·ºº·½«´¬§ ëðæë         íèæîí ìðæéôç ìïæï
                                                                      ëéæïî êìæïè
   íçæîî ëïæîïôîì        ëíæïè                 ìïæîï ìíæîí
                                                                    »¿®´·»-¬ ïëæïí
   êçæïðôïí            ¼·¹ ëèæîð             ¼±½«³»²¬- ïíæïç
                                                                    »¿®´§ ïëæïí ëéæî
 ¼»º»²-» ïîæïì         ¼·¹·¬¿´ ïíæîï ïìæïê     ïìæîî ïêæïëôïê
                                                                      ëéæîì
 ¼»¹®»» ïïæîë            ïìæïèôïç              ïéæïî ïèæîë ïçæï
                                                                    »¿®- ìèæîï
 ¼»°»²¼ îðæïê          ¼·®»½¬ ìïæïç éîæé       îíæïê ìíæïí ëðæé
                                                                    »¿-¬ ïæîï
 ¼»°·½¬»¼ íëæîî        ¼·®»½¬´§ ííæïç          ëðæïð ëèæç êðæïë
                                                                    »ºº»½¬ îìæïëôïé
 ¼»°±-·¬·±² ïæîð       ¼·®»½¬±®§ ïìæîð         êðæïçôîï éëæè
                                                                      îéæç ëðæïðôïîôïë
   íæïíôïìôïëôïéôïç    ¼·-½·°´·²¿®§ ïîæïí    ¼±¼¹» îçæïðôïç
                                                                      éíæèôïèôîïôîï
   íæîïôîí ìæîôì ëæé     ïîæîí                 íðæé éïæîôïêôïç
                                                                    »ºº±®¬ ïêæîï
   ëæèôïëôîîôîì ïíæç   ¼·-½·°´·²» îçæïì      ¼±·²¹ îéæè ëèæïë
                                                                    »·¹¸¬ ïêæïë
   ïíæïð îðæêôïð         ëìæïè                 êíæîï
                                                                    »·²¸±®² îæïï
   îêæîë îéæì ííæîì    ¼·-½´±-·²¹ ëïæî       ¼±´´¿® ëêæïî
                                                                    »·¬¸»® ïïæîï ïêæé
   íìæí íéæïçôîì       ¼·-½´±-«®» ëçæîï      ¼±²¿´¼ ïæîð íæíôîî
                                                                      ïçæîî îîæîë îíæê
   íèæïðôïì ëëæïç        éêæîí                 ëæìôïíôïë íèæïï
                                                                      íìæîë ìîæïí ìíæë
   ëêæï ëèæïí ëçæíôè   ¼·-½´±-«®»- ëçæïê       éèæé
                                                                      ëðæî êðæïë êìæì
   ééæïíôïç éèæé         êéæïç éðæîë         ¼±²±ª¿² êæîðôîï
                                                                      éêæïï éèæïé
 ¼»®»µ îçæïë           ¼·-½±²²»½¬ íëæïè        îîæïìôîî îíæï
                                                                    »´½ êæè ïïæï ïíæïê
 ¼»-½®·¾» ëëæïð          íêæîð íéæí ìêæïé      îìæê îëæì îêæïì
                                                                      ïìæí ïëæï ïêæç
 ¼»-½®·°¬·±² éæïî        ìéæï                  ëéæïé éïæïî éîæê
                                                                      ïéæîï ïèæïíôïê
                                               éîæïîôîë éíæïé
                                                                      ïçæîôëôê îîæïëôîî
                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                              çéíóìïðóìðìð
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Å»´½ ó º±®»²-·½Ã                                                                  Ð¿¹» ê

   îíæîôéôïê îìæîî      »²¬±«®¿¹» éíæïí          îðæïð ííæîì íìæì    º»²½» îìæï
   íçæîî ììæîí ìëæë     »²¬®§ ëêæç               íéæïçôîì íèæïðôïì   º·¹«®» ïèæîí êêæîì
   ìëæïë ëðæïí ëïæîï    »°·-±¼» íðæîí            ìéæïí ëíæç ëëæïç    º·¹«®·²¹ îðæîî
   ëïæîì ëèæïèôîì       »-°»½·¿´´§ íðæïï         ëêæïôî ëèæïí ëçæí   º·´» ïïæì ïëæïí
   êðæíôìôïî êèæïïôîì   »-¬¿¬» ïðæïêôïè          ëçæè                   ïêæé îéæïì îèæïï
   êçæïð éðæé             ïîæïï                »¨¸·¾·¬- ìæïôè           ëèæîîôîí
 »´½ù- ïèæïôïì          »¬ êæí                 »¨·-¬»²½» êðæïé       º·´»¼ êæíôç èæé
 »´»½¬»¼ éíæîë          »ª¿-·ª» ëïæïì          »¨°»®¬ êïæîì             ïðæîïôîì ïïæïðôïé
 »´·¶¿¸ ìæí ïéæïë       »ª»²¬ ïíæïë ëìæïç      »¨°·®»- éèæîì            ïîæïèôîì îèæî
   ïçæìôîðôîîôîì          éèæïé                »¨°´¿²¿¬·±² êîæïì        íçæïð ëðæîî ëïæí
   ëëæîî ëèæïì          »ª»²¬- ïìæé ëëæç         êîæïê                  ëèæé êïæïèôïè
 »´·¶¿¸ò½±³ ïìæîë         ëçæïç êðæïðôïï       »¨°®»--»¼ ìîæïï          éëæíôêôçôïëôïçôîì
   ïéæïì ïèæïé            éðæîì                »¨¬»²¼»¼ êìæé            éêæíôïïôïëôîð
 »´·¶¿¸ò½±³ò ïèæîë      »ª»²¬«¿´´§ îðæîï       »¨¬»²-·±² êîæïï       º·´»- ïëæïí ëèæîð
 »´-»ù- ìïæê              êêæîí                »¨¬»²¬ íëæïð          º·´·²¹ ïíæê îéæîð
 »³°´±§ îïæïë           »ª»®§¾±¼§ ìèæïç        »¨¬®¿ íìæì            º·²¼ íïæîë êçæê
 »³°´±§»¼ îðæïë           ìèæîð                          º           º·²·-¸ éæï
   îïæîë îîæçôïî        »ª»®§¬¸·²¹ù- ëîæïí                           º·®³ êæîíôîìôîì
                                               º¿½» íéæïï éíæîí
 »³°´±§»» êæîî          »ª·¼»²½» ëæïç                                   éæëôïìôïê èæîí
                                               º¿½»¬·±«- ëæîë
   îðæïî                  ììæïèôïèôîï                                   ïëæíôîí ïêæëôçôïé
                                                 ïéæé
 »³°´±§³»²¬ îïæïê       »¨ íçæïè ìðæìôïê                                ïéæïê îðæïî ëéæïë
                                               º¿½¬ íïæë íîæï íéæê
 »²¼»¼ ïíæì               ìðæïèôïçôîï ìïæì                              ëéæïê ëèæîôïì
                                                 íçæîí ìïæîï ìîæîë
 »²º±®½»³»²¬ êæïë         ìïæïïôïë ìîæêôîí                              ëçæç êèæîí
                                                 ìîæîë ìíæïì ìéæïç
 »²º±®½·²¹ íçæîï          ììæìôé ìëæïðôïéôîð                         º·®-¬ ëæë ïíæïí
                                                 ìéæîïôîí ëðæîï
 »²¹¿¹·²¹ íéæè            ìëæîí ëîæïëôîí                                îíæêôç ìêæì ëêæïë
                                                 ëïæîôè ëíæï êîæïè
 »²¹´» êîæïë êíæî         ëíæîí ëéæïôïç                                 ëéæï ëçæïíôïí
                                               º¿½¬±® ìðæïï
   êíæïè                  êðæïéôîë êïæë                                 êðæî êéæïç êèæì
                                               º¿½¬«¿´ íçæïë
 »²¶±·²»¼ íçæîï           êíæîî êêæç                                    êèæïç éðæïïôîï
                                               º¿·´·²¹ êçæë
 »²¶±·²·²¹ ìðæïç        »¨¿½¬ êêæïë                                     éèæç
                                               º¿·´«®» êçæî
 »²¬»®»¼ êæïé íçæîì     »¨¿½¬´§ êæïí éæî                             º·ª» ïëæîî
                                               º¿·® ëðæî êçæîìôîì
   êîæë éðæïí éîæë        ïèæîì îëæê êëæîð                           º´¿¬ ïëæïé
                                               º¿³·´§ îîæïï
 »²¬»®¬¿·²³»²¬            êëæîî êêæé éðæîôì                          º´±±® îæïî
                                               º¿® ïèæîì
   éíæçôïç              »¨¿³·²¿¬·±² íæè                              º±´µ- îìæîïôîî
                                               º¿®®»´´ îæïï
 »²¬·®» ííæïè ìéæê        ëæïð ïçæì                                  º±´´±© îìæïí
                                               º¿-¸·±² éæïë
   ëêæîî éêæîë          »¨¿³·²»¼ ëæë                                 º±´´±©·²¹ íêæïèôïç
                                               º¿¨ ìíæîí
 »²¬·®»´§ éæî           »¨¿³°´» íîæê ìëæí                               íçæïð
                                               º»¾®«¿®§ ëèæï
 »²¬·¬·»- çæîë            ìëæïïôïí                                   º±´´±©- ëæê
                                               º»¼»®¿´ ëæïèôïè
 »²¬·¬´»¼ éèæè          »¨¿³°´»- ìëæîï                               º±±¼ ïðæç
                                                 ïïæèôïï
 »²¬·¬§ çæïé ïðæêôïï    »¨¸·¾·¬ íæïîôïíôïë                           º±®»¹±·²¹ éèæïð
                                               º»» ïëæïé
   ïïæïðôïð ïëæïï         íæïéôïçôîïôîí ìæî                          º±®»²-·½ ïéæïê
                                               º»³¿´» êìæïë
   ëèæïì                  ìæì ëæé ïíæç îðæê                             ïçæì

                                  Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                               çéíóìïðóìðìð
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Åº±®¹»¬ ó ¸±°»º«´´§Ã                                                            Ð¿¹» é

 º±®¹»¬ ïéæçôïð          îéæê íðæïè íîæç       íéæì íçæïêôïèôîë      ìçæîî ëðæë ëîæîì
 º±®³ íîæîî éðæîì        íìæí íéæîë ìðæè       ìðæïêôïèôîð ìïæì      ëíæïè êðæèôïðôïî
   éèæïí                 ìíæïç ìëæî ìêæï       ìïæïðôïëôïçôîîôîí     êéæïêôîð êèæéôïè
 º±®³¿´ ëðæîï            ìèæïè ëðæîôïê         ìîæéôçôîì ìíæïôí      êèæïç êçæéôîë
   ëïæïï ëìæîíôîì        ëïæïðôïè ëîæìôê       ìíæïë ììæîôé          éðæëôïðôïèôîï
   ëëæïï                 ëíæïê ëçæé êðæé       ìëæîì ìêæëôïìôîì    ¸»¿®·²¹- êðæïî
 º±®³¿¬ íîæïë            êìæïôíôíôê êëæë       ìéæêôçôïðôïîôîí       êïæîï
 º±®³»¼ éæè îçæï         êèæïì éìæïí ééæê      ìèæïôïî ìçæè        ¸»¿ª»²- êìæïï
 º±®¬¸ ïçæïí íðæîë     ¹±±¼ ëæïçôîðôîë         ëïæïçôîì ëíæîì      ¸»¿ª·´§ ïêæï
   ëéæïç êïæïç êîæïè     ïîæïïôïî íïæïí        ëìæê êðæïíôïêôîí    ¸»´¼ êèæïï
   éðæè éíæè             ééæïê                 êïæîôïè êìæç        ¸»´´ êíæîï êëæîí
 º±®©¿®¼ íéæïð         ¹±¬¬»² îìæïì íçæïï      êêæïè êéæîôëôèôïí     êêæîï
 º±«²¼ ìðæîì ìïæë        ìíæïð êíæîî           êçæèôïîôïç éðæïï    ¸»´° ìêæïí ëïæîï
   êìæè êéæî           ¹®¿¼«¿¬»¼ ïîæê        ¸¿³®»ù- ìïæêôè          ëïæîì
 º±«® íçæïé            ¹®¿²¼ ïæîî ëæï          ëìæç êéæí éïæì      ¸»§ êíæîð
 º®¿²µ´§ îêæïïôîî        ïîæî                ¸¿²¼ êðæî             ¸·¼·²¹ êèæïé
 º®±²¬ íðæé êðæïí      ¹®¿²¬·²¹ éîæé         ¸¿²¼»¼ ëëæîë          ¸·¹¸´·¹¸¬»¼ îèæê
 º«´´ ëæïï ïçæïî       ¹®»¿¬ éðæê            ¸¿²¼´»¼ ëéæïé           ìêæìôì
 º«²²§ éíæïè           ¹®·»ª¿²½» ïîæïè       ¸¿°°»² êëæîí          ¸·¹¸´§ ïëæïì
 º«®¬¸»® îìæîí           îçæïì ëìæïì           éîæïð               ¸·®»¼ îïæí
   éèæïê               ¹®·»ª¿²½»- ïîæîì      ¸¿°°»²»¼ éæí          ¸´½ éæë
          ¹              ïíæê                  ìëæïî êçæîë éíæïë   ¸´ª ïæí íæîì ìæë
                       ¹®·²¼»® ììæïç           éìæïè                 êæîôîôèôèôïî éæëôé
 ¹¿·²»¼ êïæïð
                       ¹®±¬» ïæïë ííæïç      ¸¿°°»²·²¹ íðæïì         éæèôïðôïîôïéôïç
 ¹¿®§ ïæïì îìæïì
                       ¹®±«²¼- êéæïè           ëéæïð                 çæïëôîïôîí ïðæïë
   îëæïì îçæïí ìîæîð
                         êèæïí               ¸¿°°§ îéæîí             ïðæïé ïïæïôîî
   ìíæê ìéæí ìçæïï
                       ¹«»-- éæéôïë ïíæë     ¸¿®±´¼ çæéôçôïð         ïìæí ïëæïð ïêæëôç
   êïæî êîæïí êíæïôç
                         îèæîë íéæïëôïë        îïæîï                 ïçæî îîæïë îíæïë
   êíæïðôïíôïëôïçôîì
                         ìíæì ëêæïç êïæí     ¸¿§©±±¼ ëéæïê           îìæîî íçæîï ìðæïç
   êìæï êéæï
                         êîæïî éìæïïôîð      ¸»¿¼ ïïæïè ïèæé         ìëæë ëëæîð ëêæì
 ¹»²»®¿´ êðæïì
                       ¹«·¼¿²½» ëëæè           îçæïè ëéæîí éïæîë     ëçæì êðæî êèæîí
 ¹»²»®¿¬»¼ ïëæîî
                       ¹«§ êíæïéôïé          ¸»¿® ëïæîí ëíæïê        êçæïì éðæïè éïæïè
 ¹»¬¬·²¹ íïæï ëèæïð
                                 ¸           ¸»¿®¼ îëæîî ííæïî       éïæîî éîæê
 ¹·ª» îèæë ëïæïêôîë
                                               ëîæçôïïôïî ëíæë     ¸±½ ïæïí
   êîæïé               ¸ îæïð íæïï
                                               éìæîð               ¸±´¼ êîæîî êèæîí
 ¹·ª·²¹ êîæîð          ¸¿´º îïæîôïé êéæîí
                                             ¸»¿®·²¹ íæïè            éìæè
 ¹± ëæîì îíæïê           éíæé
                                               ïîæïéôîï íðæîôé     ¸±´´¿²¼ çæîí ïðæïé
   îéæîí ííæïí íìæïê   ¸¿³®» ïæïì ïîæîì
                                               ííæîë íêæîï íéæë    ¸±² ïæïð
   íëæçôîï íçæïï         ïíæîì îëæïç íðæïê
                                               ìêæêôïëôîðôîë       ¸±²»-¬´§ íîæîì
   ìêæí ëðæí éêæîë       íðæîð íïæì íîæé
                                               ìéæïîôîì ìèæîôïí    ¸±°»º«´´§ ëèæîí
 ¹±·²¹ ïíæî îðæîð        íîæïì ííæîð íëæîí
                                               ìèæïé ìçæïîôïíôïè
   îîæîî îíæé îìæïè      íëæîë íêæïêôîï
                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                             çéíóìïðóìðìð
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Å¸±¬ ó µ²±©Ã                                                                      Ð¿¹» è

 ¸±¬ íðæïïôïí           ·²½´«-·±² ëçæîð       ·²ª»-¬·¹¿¬·±²            ìðæïêôïèôîð ìïæìôë
 ¸±«® ïëæîï éíæê          éðæîë                 ëðæïç ëïæí ëìæïë       ìïæèôïðôïëôïçôîî
 ¸±«®´§ ïëæïèôïç        ·²½±®®»½¬´§ ëîæïî       ëìæîî                  ìïæîí ìîæéôçôîìôîë
  ïëæîð                 ·²½«®®»¼ ïêæîî        ·²ª·¬» ëîæê              ìíæíôçôïë ììæïôé
 ¸±«®- ïìæîï ëíæïî      ·²¼·½¿¬»¼ ìèæïê       ·²ª·¬·²¹ ëîæé            ììæîí ìëæçôîì
  ëíæïì                   ëíæîì               ·²ª±·½» ëêæïëôïé         ìêæëôïìôîì ìéæëôè
 ¸±©¿®¼ çæî             ·²¼·½¿¬·±² êìæïé        ëçæïíôïí               ìéæçôïðôïïôîïôîí
 ¸«²¹ êêæîð               êìæîð êëæîôïîôïé    ·²ª±·½»- íæîì ìæíôë      ìèæïôïî ìçæè
         ·              ·²¼·ª·¼«¿´ ïæêôïí       ïìæîì ïëæîî ïêæè       ëïæïçôîì ëíæîì
                          ïæïìôïëôïëôïêôïê      ïêæïîôïí îðæïï         ëìæêôç ëçæîì
 ·¼»¿ íïæïîôïí
                          éæîï                  ëëæïìôîðôîî ëêæì       êðæïíôïêôîí êïæî
    íîæïê ííæïê íêæî
                        ·²¼·ª·¼«¿´- ïíæè        ëèæïì ëçæïôìôç         êïæïè êîæïé êìæì
    ìîæç ìêæîð ìéæèôç
                        ·²º±®³ îçæí             éïæïç                  êìæç êëæîì êêæë
    ìçæîí ëðæê ëçæîî
                        ·²º±®³¿¬·±² ïìæîî     ·²ª±´ª»¼ éæí èæë         êêæïðôïè êéæîôíôë
 ·¼»²¬·º·½¿¬·±² ëæç
                          ïèæïè îíæîî îìæïè     ïðæïç ïïæîï ïîæïí      êéæèôïí êèæïð
    îðæè íìæï íéæîî
                          ííæïð ìíæíôçôïð       ïîæïë ìçæïî ëéæè       êçæèôïç éðæïï
    íèæïî ëëæîí ëçæë
                        ·²º±®³»¼ íîæïï          ëéæçôïîôïèôîð ëèæî     éïæîôìôêôé éîæï
 ·¼»²¬·º·»¼ ïìæé
                        ·²·¬·¿´ ïéæîð ëðæïç     ëèæí êðæéôèôïï       ¶«³°»¼ ïéæï
    íïæïç
                          ëçæïêôîï êéæïè        éìæïë                ¶«®§ éîæïï éíæë
 ·¼»²¬·º§ íëæè
                          éðæîë éêæîí         ·²ª±´ª»³»²¬ îðæí                 µ
    êîæîí
                        ·²·¬·¿´´§ îçæîí         ëéæèôïð
 ·´´·²±·- ïðæîî ïïæí                                                 µ íìæïé
                          ëèæè                ·²ª±´ª·²¹ ïíæïë
    ïïæìôïï                                                          µ»»° ëîæïê
                        ·²°«¬ íëæïî             îîæïì íïæì
 ·³¿¹·²» íéæè                                                        µ»´´§ ïæïí îæïê êæí
                        ·²-¬¿²½» ïçæïî        ·®±´ çæïéôïç ïðæíôì
 ·³³»¼·¿¬» êêæç                                                        îëæïôïï íçæïçôîí
                          ëçæîí êðæè            ïðæïð ïïæïîôïì
 ·³°¿½¬ êëæïè                                                          ìðæëôêôïîôïéôîï
                        ·²-¬¿²½»- êïæïê       ·--«» íðæïîôïí
 ·³°»¬«- êêæîí                                                         ìïæïôèôïïôïêôîð
                          éêæîî                 ììæïì éðæïë
 ·³°±®¬¿²¬ ëïæïë                                                       ìîæïç ìíæêôïë
                        ·²¬»²¼»¼ ëæïê         ·--«»¼ íçæïè ìðæïè
 ·³°±®¬¿²¬´§ ìçæè                                                      ììæï ìéæí ìçæïî
                          îèæïç ëïæîðôîì        êêæç êèæïð
    ëïæïç                                                              ìçæïíôïìôïèôîï
                        ·²¬»²¬·±² ìèæïé       ·¬»³- ïíæïï íðæïé
 ·³°®»--·±² íëæîì                                                      êðæîí êîæêôé
                        ·²¬»®¿½¬·±² éîæîî               ¶
    íéæïî                                                              éìæîî
                        ·²¬»®»-¬»¼ êðæë
 ·²¿«¼·¾´» íìæîë                              ¶»®»³§ îïæéôïïôïè      µ»²¬©±±¼ îæë
                          éèæïé
 ·²½»°¬·±² éæéôïç                               îïæîë                µ·²¼ ïéæïì ìíæïé
                        ·²¬»®º»®»¼ íçæîð
 ·²½·¼»²¬ îîæïì                               ¶±¿² íìæïí               ëéæé êíæïð êçæè
                        ·²¬»®² îðæîð
    êðæî êïæïç éðæé                           ¶® ïæïì                µ²»© ìçæï
                        ·²¬»®²- éíæïì
 ·²½·¼»²¬- ëçæîð                              ¶«¼¹» ïíæîí îëæïç      µ²±© êæïí èæïê
                        ·²¬»®°®»¬¿¬·±²
 ·²½´«¼»¼ ëèæï                                  îçæïðôïç íðæéôïë       çæïè ïïæïè ïéæí
                          îíæîì
    êéæïè                                       íðæîð íïæì íîæé        ïèæîî ïçæïðôïë
                        ·²¬»®ª·»© ïíæïë
 ·²½´«¼»- ëêæîì                                 íîæïì ííæîð íëæîí      îíæïí îëæëôè
                          ïìæî
 ·²½´«¼·²¹ ïìæîí                                íëæîë íêæïêôîï         îêæïìôïëôîî îéæïï
    êïæîï éðæê                                  íéæì íçæïêôïèôîë       íðæïôè íïæíôëôîï
                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                               çéíóìïðóìðìð
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Åµ²±© ó ³»»¬·²¹-Ã                                                                 Ð¿¹» ç

  íïæîî íîæëôïîôïë     ´»¿®²»¼ éìæîì             íçæîï ìðæïç         ³¿®½¸ îîæí íçæïé
  íîæïçôîí ííæïôëôîï   ´»¿-·²¹ ïíæïê ïëæï      ´±¿² ëèæèôïî êçæïë     ìðæíôïëôîð ìïæïì
  íêæïï íçæç ìîæîì     ´»¿ª» ïèæè îïæïë        ´±¹·-¬·½- çæïç         ìïæïè ëéæîôîôîì
  ììæëôç ìêæïí ìçæì       îîæîôê éìæîð           ïðæïð ïïæïë íîæë     ëçæïì êîæè êíæïí
  ìçæïèôîðôîí ëðæïôì   ´»¼ êðæï                  íîæïë                êèæëôêôîð
  ëïæïë ëíæïðôïïôïì    ´»º¬ ïëæîë îëæè         ´±²¹ éæë ïîæë îïæï    ³¿®µ»¼ ëæç ïíæîôç
  ëíæîî ëìæëôç            íîæîð ííæîôìôéôïï      ííæïë                îðæè íìæïôí íéæîî
  ëëæïï ëêæí êðæìôë       ìéæí ëìæë êìæîï      ´±²¹»® íéæïí           íéæîì íèæïîôïì
  êðæïð êïæîîôîë          éìæîð                ´±±µ ïëæê ïéæç         ëëæîíôîë ëèæïí
  êîæïôì êìæí êêæé     ´»¹¿´ ïêæïê ééæèôïï       ïèæï îìæïè íêæïë     ëçæëôé
  êêæïïôïïôïë êèæïë    ´»²¹¬¸§ éíæë              ìéæïí ìèæîð ìçæî    ³¿®µ- íëæî
  êçæïè éïæîïôîíôîì    ´»¬¬»® ìíæîî              ìçæïï ëëæïí ëéæîî   ³¿¬»®·¿´- ìîæêôîí
  éîæïì ééæïî          ´»¬¬»®¸»¿¼ êíæïï          ëèæïç êïæîîôîì      ³¿¬¬»® êæí éæï èæî
 µ²±©·²¹ ìèæèôç        ´»¬¬·²¹ êìæí              êêæîí êçæê           èæçôîì çæíôë ïíæïé
  êïæîë êîæï           ´·¿¾·´·¬§ ïæíôë         ´±±µ»¼ êîæìôì          ïìæí ïëæìôîì ïêæê
 µ²±©·²¹´§ êîæîð       ´·³¾ ëðæí               ´±±µ·²¹ éæè            ïêæïðôïîôïíôïè
 µ²±©´»¼¹» íëæïð       ´·³·¬»¼ ïæíôì ïìæîí     ´±±µ- ïêæîì            ïéæîïôîë îëæîð
  ìðæëôïîôîð ìïæïì        ïéæïë                ´±-¬ ïéæï              îçæîð ìçæç ëðæïð
  ìïæïè ëêæê ëçæîí     ´·³·¬·²¹ îíæè           ´±¬ ïíæì íïæî êîæîî    ëðæïìôïê ëïæîð
  ëçæîí êðæïôî         ´·²» íëæïè íêæïôê         ééæïð                ëêæë ëéæì ëèæîì
  êïæïðôïí êîæîôêôïí      íêæïîôîð íéæíôïí     ´±¬- îíæí              ëçæï éïæïðôïïôïî
  êîæïè éìæîï ééæï        ìêæçôïé ìéæïôêôïê    ´§²² íìæïïôïïôïë       éèæè
 µ²±©² ïðæê ìëæç          ìèæîë                  íèæîï íçæé ëíæïë    ³¿¬¬»®- ïðæîï
 µ²±©- êìæïï           ´·²¹»®·²¹ ééæèôïð         ëíæïé                ïëæçôïìôïê ëèæç
          ´            ´·-¬ éêæîì                       ³             éïæç
                       ´·-¬»¼ ëçæïë                                  ³½µ¿§ ïæïë éîæïç
 ´ ïæïð çæïé íìæïé                             ³ íæê íìæïé
                       ´·-¬»² íïæîï ëïæîë                             éíæïí éëæïíôïëôïç
 ´¿½µ éæïî                                     ³¿ù¿³ ïíæîë ïëæî
                       ´·-¬»²»¼ íéæé                                  éëæîí éêæîôïìôïç
 ´¿²¼©±®¬¸§ ïæì                                 îèæïð íèæïé ëðæê
                       ´·-¬»²·²¹ ìèæç ìçæï                           ³½® îéæïç
   êæî èæîì ïïæîî                              ³¿·´ îìæïîôïë
                          ìçæë                                       ³½®èòïðç îèæë
   ïëæïð                                        ìíæîí
                       ´·¬·¹¿¬»¼ ïðæîï                               ³»¿² ïéæîï íìæïê
 ´¿° éîæïí                                     ³¿·´- íæïê ïìæîí
                          ëéæìôïíôïìôïì                               íéæïë ììæîð ëïæïì
 ´¿®¿ éæç                                       ïçæïîôîð îðæé
                       ´·¬·¹¿¬·±² êæïì                                êðæíôé
 ´¿«¹¸»¼ ïéæè îéæé                              ëëæïì
                          éæïïôïè çæïì                               ³»¿²- éèæïí
   îéæïð ëîæë                                  ³¿¶±®·¬§ çæì
                          ïðæîð ïïæîð ïîæïî                          ³»¼·¿ îçæîíôîë
 ´¿«¹¸·²¹ îéæïî                                ³¿µ·²¹ ííæïç
                          ëðæçôçôïîôïí ëêæîð                          íðæïôêôèôïïôïç
   éíæé                                         íêæîî ëêæí
                          ëêæîïôîìôîë ëèæî                            íïæí
 ´¿© êæîï ïïæîë                                ³¿´±²»§ ïæïð
                       ´·¬¬´» ïíæí îèæîï                             ³»»¬·²¹ ëîæë
   ïîæîôïð îðæïéôïè                            ³¿²½·²· ïæîë éèæê
                          íêæí êïæí êëæé                              êîæïé éëæîî
   îïæïí                                        éèæîï
                       ´´½ ïæíôì çæïèôïç                             ³»»¬·²¹- ïíæïì
 ´¿©-«·¬ èæëôé ëèæê                            ³¿²²»® îèæîî
                          ïðæí ïïæïëôïê                               ïìæï
   ëçæïðôïé
                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                               çéíóìïðóìðìð
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Å³»³±®·¦»¼ ó ±«¹¸¬Ã                                                             Ð¿¹» ïð

 ³»³±®·¦»¼ îéæîî       ³±¬·ª¿¬·±² ìêæîî      ²«³¾»® ïíæïï           ±µ¿§ êæïôïï éæïé
 ³»³±®§ ïïæîì          ³«´¼»® íìæïíôïé         ïìæéôïë ïëæîî          ïðæí ïïæîë ïìæîî
  ïçæïë ìëæïï          ³«³¾´·²¹ íìæîë          ïêæèôïëôîìôîë ïéæì     ïêæïëôîì ïèæïëôîï
 ³»³±- ïìæîì           ³«²·½·°¿´ ïæïïôïî       ïéæì íçæçôîð êíæî      ïçæïç îïæê îîæîð
 ³»²¬·±²»¼ ïðæïç                ²              êíæì                   îíæèôïç îìæîð
  ïíæïé îðæïï îçæïç                          ²«³¾»®- ìíæïï            îëæíôïï îêæêôïîôîë
                       ² íæêôê
  êéæïê                                               ±               îèæîï îçæîî íðæè
                       ²¿³» ëæïï íìæïì
 ³»¬ ììæí                                                             ííæîí íìæîí íëæïì
                         ëçæîð êéæïè éêæîí   ± íæê çæïé
 ³·½¸¿»´ ïæïëôïê                                                      íêæîì íéæïè íçæì
                       ²»»¼ ëæîï ëëæì        ±¿¬¸ ëæê
  éíæïí                                                               íçæïíôïé ìîæïôïé
                         êêæç                ±¾¬¿·² ïïæîë îíæïê
 ³·½¸·¹¿² ïæîôíôì                                                     ìêæï ìèæë ëðæîôîë
                       ²»»¼»¼ éîæïí          ±¾¬¿·²»¼ ïèæïè
  ïæîî îæëôïíôîï ëæï                                                  ëïæéôçôïíôïè ëíæè
                       ²»¹±¬·¿¬» êçæçôïì       íðæî ìïæîôí ëéæîð
  ëæïé êæì éèæïôîí                                                    ëíæîï ëìæç ëëæë
                         êçæïç éðæïî           êîæïç
 ³·¼ îîæí                                                             ëéæïï ëèæïíôîë
                       ²»¹±¬·¿¬·²¹ êçæïí     ±¾ª·±«-´§ ìîæïï
 ³·¼¼´» ïïæé                                                          ëçæïîôïë êîæí
                       ²»·¬¸»® ííæè éèæïê      ìíæç
 ³·µ» éîæïç                                                           êìæïðôïéôîð êëæïî
                       ²»°¸»© îïæîð          ±½½¿-·±²¿´´§ ïîæïí
 ³·²¼ çæîì ïðæîí                                                      êéæïêôîîôîë êèæïç
                       ²»ª»® éæïë íêæîì        ïîæïë
 ³·²» ìîæïèôîï                                                        êçæé éðæîð éïæîì
                         íéæí ìîæïè ìíæïí    ±½½¿-·±²- íìæê
 ³·²«¬» íïæïí                                                         éìæêôîï éëæï éêæè
                         ìíæîî êîæë          ±½½«® íïæîî
 ³·-¼»³»¿²±®                                                          ééæí
                       ²»© çæîî ïèæç         ±½½«®®»¼ îëæê
  éíæïð                                                             ±´¼ ïêæîí ïèæè
                         íçæîí êçæçôïíôïì      êèæîð
 ³·--·²¹ ïçæïï                                                      ±´§³°«- ïìæïïôïê
                         êçæïç éðæïî         ±½½«®®·²¹ êðæîë
 ³·--°±µ» êèæïï                                                     ±²½» îçæê ëìæîíôîì
                       ²»©- îçæïëôîî           êïæë
 ³·--¬¿¬»¼ ëéæé                                                     ±²»- ïðæîí éðæîë
                         íðæêôïïôïê          ±½¬±¾»® íçæîë
 ³·-¬®·¿´ éíæê                                                      ±°·²·±² ìíæï ììæïï
                       ²·½» éêæè             ±ºº»® ìëæíôîî
 ³±½µ»¼ îéæéôïï                                                       ìëæîí ìêæî êçæîï
                       ²·²» ïêæîì ïéæîôë     ±ºº·½» ïîæî ïçæîð
 ³±³»²¬ îêæïï                                                         êçæîí
                       ²±°» îðæë êìæïç         ïçæîîôîí îïæîë
  íèæï                                                              ±°°±®¬«²·¬§ ëëæïí
                       ²±- ëëæïç               îîæèôïîôîí îíæî
 ³±²¼¿§ íêæïè                                                       ±°°±-»¼ éæïí ëîæê
                       ²±¬¿®§ éèæëôîî          îìæîîôîî îëæïðôîî
  íçæïð                                                             ±®¼»® èæïë íçæïç
                       ²±¬»- ïìæîì îêæîì       îëæîí îêæîôïçôîð
 ³±²¬¸ îíæïðôïð                                                       íçæîë ìðæìôïç
                         íêæïëôîî ëíæï         íïæé íìæìôïîôîë
  êéæîíôîí                                                            ìïæìôîì ëéæï
                         ëèæïî éèæïë           ìðæïéôîî ìïæîôçôïî
 ³±²¬¸- ëíæïï                                                         êïæîîôîî êîæëôéôé
                       ²±¬·½» íæïì ëæèôïë      ìïæîð ìëæïê ìéæì
 ³±®²·²¹ ëæïçôîð                                                      êîæïð êíæïíôîî
                         ïíæïð îìæïí êîæïé     êíæïì êëæïí
  îìæïì íêæïè                                                       ±®¼»®»¼ êèæè
                         êîæîð               ±ºº·½»- îîæïë îíæé
 ³±¬·±² èæïìôïêôîï                                                  ±®¼»®·²¹ íêæïê
                       ²±¬·º·½¿¬·±² îéæïç      îíæïê îçæïê
  îéæïìôîð îèæïôïï                                                  ±®¼»®- ëéæïç éïæì
                       ²±¬·º·»¼ îçæîë        ±ºº·½·¿´ éíæîë
  íðæç íçæç                                                           éîæë
                       ²±¬·º§ îèæïëôîî       ±¸ ïïæïê îíæè íéæê
 ³±¬·±²- íðæîë                                                      ±®·¹·²¿´ ëéæí
                         îçæîí                 ìéæîð ìçæîôïë
 ³±¬·ª¿¬»¼ ìêæîï                                                    ±«¹¸¬ éìæîð
                       ²±¬·º§·²¹ êíæîí         ëëæë êìæïï éíæïð

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                              çéíóìïðóìðìð
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Å±«¬-·¼» ó °®±¾¿¾·´·¬·»-Ã                                                      Ð¿¹» ïï

 ±«¬-·¼» ìîæïî          ëîæïë ëíæîí          °»®-±² íëæè êìæì       °±®¬·±²- ëêæè
 ±ª»®-¬¿¬·²¹ îíæïè    °¿®»² íçæîîôîí           êëæîïôîë êêæí        °±-·¬·±² îíæïëôïè
 ±©²»¼ ïïæîí ïîæë     °¿®µ·²¹ íïæî           °»®-±²¿´ ìðæëôïç         îíæîìôîë ííæïð
 ±©²»® çæëôïê         °¿®¬ ïçæç îèæí           ìïæïìôïè êïæïí         ìíæïìôîí ììæê
          °             ëêæîð                  êîæï éìæîï ééæï        ìçæïð êðæïé êíæîì
                      °¿®¬» íçæïè ìðæì       °»®-±²²»´ ïèæïì          êçæïïôïë
 °ò³ò ëëæïéôïè
                        ìðæïêôïèôïçôîï         ïçæê                 °±-·¬·±²- ìíæíôïî
   ééæïç
                        ìïæìôïïôïë ìîæêôîí   °¸±²» êêæïôì           °±--·¾´» íïæè
 °ìéêðð îæïè
                        ììæìôé ìëæïðôïéôîð   °¸§-·½¿´ ïíæïç           ëîæïîôïí
 °êíèëé îæïð
                        ìëæîí ëîæïëôîí         éìæêôçôïì            °±-¬»¼ ëèæîî
 °èïìíè îæî
                        ëíæîí ëéæïôïç        °·² éæè                °±¬»²¬·¿´´§ ëëæè
 °¿½µ¿¹» íçæïï
                        êðæïéôîë êïæë        °´¿½» îêæîï            °®¿½¬·½» ïîæëôïð
 °¿¹» ïæïîôïíôïç
                        êíæîî êêæç           °´¿½»- íìæîì íëæï        ïîæïïôïï ïíæë
   îæïê íæîôéôïî êæí
                      °¿®¬·½·°¿²¬ íïæïç      °´¿·²¬·ºº èæïéôïç      °®» ììæîî
   ïîæîë îíæïôëôê
                      °¿®¬·½«´¿® ïíæé        °´¿·²¬·ººù- ïëæì       °®»¼»½»--±® êæïç
   îëæïôïî íîæìôêôïï
                        íêæîí íèæï ìíæê        ëçæïê éêæîí          °®»³·-»- éîæé
   íîæïî ííæêôïì
                      °¿®¬·»- ìîæïí          °´¿·²¬·ºº- ïæé îæè     °®»°¿®¿¬·±² íëæïí
   íìæîí íëæïéôïéôîí
                      °¿®¬²»® êæîï             êæîë ïíæïë           °®»°¿®»¼ íìæéôé
   íëæîì íçæïç ìðæë
                      °¿®¬²»®-¸·° ïæïí       °´»¿¼·²¹ êçæê            íìæïð íëæéôïïôïì
   ìðæïéôîï ìïæïôçôïï
                      °¿®¬§ íèæè ìëæìôîî     °´»¿-» ëæïï              íèæîôìôè ìêæïï
   ìïæïê ìîæéôïçôîì
                        éèæïé                °´»¼¹»- ëèæïï            ëíæìôè
   ìíæïôìôêôïë ììæïôé
                      °¿--»¼ îðæîï           °´´½ îæí               °®»°¿®·²¹ íçæïí
   ìëæîì ìêæçôïêôîë
                      °¿«´ ïæïðôïì           °´³ ïæç                °®»-»²½» ëìæïï
   ìéæíôéôïéôîî ìèæí
                      °¿© ïæïîôïî            °´«²µ»¬¬ îæïç          °®»-»²¬ îæîë ïëæì
   ìèæèôïìôîí ìçæìôç
                      °¿§³»²¬ ïìæîì          °´«²µ»¬¬½±±²»§òòòò       ïëæîì ïêæïî îëæîí
   ìçæçôïîôïíôïìôïè
                        ïêæïêôîð               îæîí                   îêæïìôïë ëçæïð
   ìçæîï ëðæì ëïæîð
                      °¿§³»²¬- ïêæîí         °±·²¬ êæïðôïï ïèæé       éïæîôëôë éîæè
   ëîæïêôïéôîë ëíæîì
                      °½ îæïï                  ííæïôéôè íëæîïôîì    °®»-«³» êìæïïôïí
   ëìæëôïïôïì ëéæîôí
                      °»¹¹§ ïæïë ííæïç         íêæëôîí íéæë ìíæê    °®»¬¬§ íðæïïôïé
   ëéæçôîð êðæïêôîì
                        êìæïì                  ìêæçôïêôîí ìéæîôïì     ìðæïð ìçæïëôïê
   êîæêôé êíæïîôïê
                      °»²¼·²¹ íðæç             ìèæïíôîð ëïæïï       °®»ª·±«-´§ çæïè
   éìæîî éëæîôèôïìôïè
                        ëëæïð                  ëíæïè ëìæïêôïé         ïðæê
   éëæîí éêæî
                      °»±°´» ëæîí îçæïë        ëëæì ëêæïï êëæïð     °®·³¿®·´§ îíæïì
 °¿¹»ù- íçæîí ìïæîð
                        îçæîî íîæïç ííæî       êëæïí                °®·³¿®§ ìðæïï
   êíæïï
                        ìèæé êïæïï           °±·²¬- íëæë            °®·²¬»® îðæïï
 °¿·¼ éïæïé
                      °»®º±®³ êçæî           °±´·½» îëæìôéôïîôïë    °®·±® îðæî îíæï
 °¿²»´- ïîæïéôîï
                      °»®·±¼ êæïï ëíæí         îëæïé                  îìæïí îéæïì îèæïî
 °¿²¬- ìçæîì ëðæï
                        éíæë ééæï            °±°°»¼ éíæîí             ìíæéôéôïî êðæçôïï
 °¿®¿¹®¿°¸ íçæïé
                      °»®³·--·±² îéæïê       °±®¬¿¹» îæîï             êëæïð
   ìðæïë ìîæï ìíæïê
                      °»®³·¬ îèæí            °±®¬·±² ëéæïé          °®±¾¿¾·´·¬·»-
   ìëæîôê ìêæïôïôë
                                                                      ëîæïì
   ìéæïé ìçæé ëïæïè
                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                              çéíóìïðóìðìð
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Å°®±¾¿¾´§ ó ®»´§Ã                                                            Ð¿¹» ïî

 °®±¾¿¾´§ ïîæê         °«®°±-»- ëæïé       ®»¿´´§ ëæîï íîæîì      ®»½±®¼·²¹- ïíæïì
   ïìæîð îíæç ììæí     °«®-«¿²¬ ëæïë         ëéæîîôîí êïæîî       ®»½±®¼- ïëæï îíæîï
   ìéæïê ëïæîë êîæïî   °«-¸ éìæïï          ®»¿-±² ëðæïé             êèæïê éðæè
   êèæíôïë             °«¬ ëæîï îéæï       ®»¿-±²- ïèæïî          ®»½±ª»®»¼ êæé
 °®±¾´»³ ïíæé           ííæîî íçæç ììæïç     ìçæîï                ®»¼ éíæîí
   îèæîë                ììæîð ìêæïí ëðæïï  ®»¾»½½¿ îðæïî          ®»¼¿½¬»¼ ïêæï ëêæè
 °®±½»»¼·²¹ îéæïê       ëîæîë ëçæîî êêæé     îïæìôèôïë îêæèôç       ëêæïî ëçæç
   îéæîë îèæîôïîôïì     êçæïì éêæè         ®»½¿´´ éæîì ïìæë       ®»¼«½»¼ éèæïî
   îèæïêôîðôîí íïæïï           ¯             ïèæç ïçæç îíæç       ®»º»®»²½» ìëæè
   ìèæïé                                     îëæîôïíôïê îêæïï       ëîæîî
                       ¯«¿´·º·½¿¬·±²- ììæì
 °®±½»»¼·²¹- ïíæïì                           îêæîîôîë îéæíôìôïî   ®»º»®»²½»¼ ìëæí
                       ¯«¿´·º§·²¹ ééæïé
   ïìæï îéæîð                                îéæïí îçæïé íðæîí      ìëæîî
                       ¯«¿-· ëìæîî
 °®±½»-- ëîæïé                               ìðæïï ëíæê ëçæïé     ®»º»®®»¼ ìêæïê
                       ¯«»-¬·±² èæïë
   êèæïê                                     êéæîï éðæîî          ®»º»®®·²¹ ïîæîí
                         îèæîïôîë îçæí
 °®±½´¿·³»¼ éíæè                           ®»½¿´´»¼ ëíæë            ìîæî ìêæè ìèæíôïí
                         íîæîîôîì íêæí
 °®±¼«½»¼ ïèæïî                            ®»½»·°¬ ïêæîð            ëîæïê êîæè êíæè
                         ìïæïð ìèæë éëæë
   ïçæî íïæîë ëêæïï                        ®»½»·ª» ìîæîð            éïæí
                         éëæïí éêæë
 °®±¼«½¬ éëæïî                             ®»½»·ª»¼ íìæë ìîæé     ®»º»®- ìéæî
                       ¯«»-¬·±²¿¾´»
 °®±¼«½¬·±² îçæïç                            ìîæïèôîí êêæê        ®»º´»½¬ ëæïì ïéæê
                         ïëæïì
 °®±º»--·±²¿´ ïæïí                         ®»½±´´»½¬·±² ìêæî      ®»º«-¿´ éðæé
                       ¯«»-¬·±²»¼ íðæîì
 °®±³·--±®§ ëèæïî                            ëîæì                 ®»º«-·²¹ ëëæí
                       ¯«»-¬·±²·²¹ ééæë
 °®±²±«²½»¼ êèæïè                          ®»½±®¼ ëæïîôïìôîî      ®»¹¿®¼·²¹ ïéæïé
                       ¯«»-¬·±²- íëæî
   éðæïì                                     êæïôïîôïêôïé ïïæîï     êéæç
                         ëíæïë ëëæë êðæïì
 °®±²±«²- êîæîí                              ïìæïôìôéôïî ïéæê     ®»¹¿®¼- íðæïë
                         ééæé
 °®±±º ïìæîì ììæïî                           ïçæîë îéæïê îèæîð      éëæïí
                       ¯«·° éíæïé
 °®±-»½«¬·²¹ éîæïê                           íéæîë ìîæïðôïî       ®»´¿¬»¼ ïðæïîôïí
                       ¯«·¬» ïìæïë îìæïê
   éîæïèôîð                                  ëìæîð ëëæéôïéôïè       ïîæïî îïæíôïèôîï
                         íðæïð éíæë
 °®±-»½«¬±® éîæïë                            ëêæîôé                 ëèæçôîíôîì
 °®±ª·¼» ëëæè                    ®         ®»½±®¼»¼ íæïè          ®»´¿¬»- ïìæîë
 °®±ª·¼»¼ çæïî         ® ëæïí çæïé íìæïê     îéæîïôîë ííæîë       ®»´¿¬·±² îçæîð
   ïíæîî ïëæîí ïêæïé     íìæïéôïé            êêæïê éèæïï            íîæêôéôéôïíôïíôïì
   ïçæïç íðæíôê ëèæê   ®¿°·¼- ïæîî ëæï     ®»½±®¼»® ïìæïè         ®»´¿¬·ª» èæí ïëæì
 °®±ª·-·±² ëïæïê         ïîæí              ®»½±®¼»®- ïìæïê          ïêæëôç îëæê ìðæí
 °«¾´·½ ëìæîîôîí       ®¿¬» ïëæîð          ®»½±®¼·²¹ ïíæîï          ìíæïê ëèæïé ëçæç
   éíæîë éèæëôîî       ®½¿´´¿¸¿² îæîí        ïíæîï ïìæê îêæîï       êðæïî êïæïï êèæïì
 °«¾´·½´§ ëðæîì        ®»¿½¸ ìèæîï           îéæïôé îèæíôçôïî       êèæîì êçæïë éëæç
 °«´´ ëèæïçôîð         ®»¿¼ íêæïë ìðæï       îèæïêôîí îçæìôê        éëæïëôïç éêæîôïë
 °«®½¸¿-» ìëæì           ëîæîôïð             íðæç íïæïïôïìôïè       éêæïç
 °«®°±®¬»¼´§ ìïæç      ®»¿¼·²¹ ïéæç          íïæîî íîæî ííæé      ®»´¿¬·ª»- îîæèôïï
 °«®°±-» íçæïí         ®»¿´ ïðæïêôïè         íìæéôîï íëæì íèæè    ®»´§ íïæîì íîæî
                         ïîæïï êîæé          ìêæîí ëíæïïôïîôïí

                                Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                            çéíóìïðóìðìð
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Å®»³»³¾»® ó -·¹²¿¬«®»Ã                                                        Ð¿¹» ïí

 ®»³»³¾»® ïçæïê         ®»¬®¿·²·²¹ íçæïç                -          -»°¿®¿¬» éðæïî
   ïçæïé îìæè îéæç        ìðæì êîæïð          - íæêôïï íìæïé       -»°¬»³¾»® ëçæïî
   ìçæïîôïí ëîæîì       ®»¬®·»ª» ïêæîï        -¿³ êíæîï êëæîí      -»®ª çæïè ïðæê
   êëæîî êèæç             îéæê                  êêæîï              -»®ª» ïîæïé
 ®»°±®¬»¼ ïèæïç         ®»¬®·»ª»¼ ëèæïè       -¿«-¿¹» ìíæïé        -»®ª»¼ ïëæç
 ®»°±®¬»® íæîð          ®»¬®·»ª·²¹ ëçæï         ììæïðôïè           -»®ª·½»- ïëæîí
   íìæïìôïè íéæîï       ®»ª·»© ïìæîë          -¿ª»¼ ïìæîð            ïêæïê ëèæë
   íèæîôé éèæë            îíæîïôîî ëíæîë      -¿© ììæïí            -»¬ íçæïï êîæïê
 ®»°®»-»²¬ êæîì           ééæé                -¿§·²¹ ïèæîì ïçæï      êíæïôç êìæì êêæç
   èæîí éïæïí           ®»ª·»©»¼ ïèæïé          íëæë ìëæè ìêæïç      éïæí
 ®»°®»-»²¬¿¬·±²           ëíæé                  êíæîð êçæïî        -»¬¬·²¹ êðæîì
   êîæê êëæç éïæïé      ®·½¬±® éìæëôçôïî      -¿§- íìæîì ìîæï      -»¬¬´»³»²¬ êæïé
   éïæîð                ®·¼» îìæï               ìêæëôçôïéôîë ìèæïî   íçæîîôîì ëéæïì
 ®»°®»-»²¬¿¬·±²-        ®·¹¸¬ çæîì ïðæîí      -½¸»¼«´»¼ íêæïé        êçæí éðæïí
   çæïî                   ïïæïèôîì ïëæî       -½¸±±´ îðæîï         -»ª»² ïêæè ëêæïç
 ®»°®»-»²¬»¼ éæë          îíæïëôîðôîïôîï      -½·»²½» ïèæïî        -¸¿®»¸±´¼»® çæë
   éæîï èæîì çæîôíôïê     îëæîï îéæî îçæïé    -½®»©·²¹ éíæîð       -¸·°°·²¹ ïðæïí
   ìðæîëôîë ëêæì          êîæïð êìæî êçæîî    -» îæì               -¸±®¬ îïæïí
   éïæïë                  éîæê ééæé           -»¿¬»¼ îêæïè         -¸±®¬´§ ìîæïì
 ®»¯«»-¬ íìæè íëæïì     ®±¾»®¬ ïæë îæïè       -»½±²¼ ìéæïê           ëíæïí
   ëðæïç ëïæî ëìæïë       îïæè                  êíæîî êéæîìôîë     -¸±© ïíæîôç ïêæïê
   ëìæîî                ®±±³ ïêæï îêæíôé        êçæèôîì éðæïè        ïêæïç îìæïç îëæé
 ®»¯«»-¬»¼ íçæïç          îêæè îéæëôïî        -»½«®·¬§ ëèæïð         ííæè íìæí íêæïè
   ìðæìôê                 íîæîð ííæîôïï       -»» ïéæïî ííæí         íéæîì íèæïì ëçæé
 ®»¯«·®»¼ îèæï            ëðæì ëìæê éìæïê       íëæïè ìíæïçôïç       êðæçôïï êïæîï
 ®»¯«·®»³»²¬ îçæî       ®±© éíæïê               ììæïç ìëæë ìêæê      êéæïêôïçôîìôîë
   ëïæë                 ®°® ïæîë éèæîï          ëëæç éëæèôïìôïèôîî   êèæìôéôèôïðôïç
 ®»¯«·®»- îéæïç         ®«´» îèæïôèôïð          éêæçôïè              êçæîë éðæëôïðôïè
   êìæî                   ëìæîï ëçæîï êíæîí   -»»² îìæïê íèæì        éðæîï
 ®»-»®ª» ééæê             êìæî                  ìíæïíôîî ëðæéôïð   -¸±©»¼ îëæìôé
 ®»-±´ª»¼ èæçôïï        ®«´»- ëæïéôïèôïè        ëðæïîôïìôïèôîíôîí    íðæîë éíæì
 ®»-°±²¼»¼ ïïæì           ëæîï îéæïèôîî         êðæïëôïç êïæê      -¸±©·²¹ ïêæîð
 ®»-°±²-» ëðæîð           îèæê                -»´º ééæïé             íéæïð
   ëïæë ëìæïë êíæïç     ®«´·²¹ éïæîôíôê       -»²¼ êêæîí           -¸±©²    ëêæïí
 ®»-°±²-·ª» ïíæïè         éîæîôì              -»²¼·²¹ êíæïî        -·½ íçæîî êîæïë
 ®»-«´¬ êçæé éëæïï      ®«² íðæïëôïêôîí       -»²¬ ïìæîë ììæîî       éìæë
 ®»-«®®»½¬·±² êîæïï       ìëæï                  ììæîí ìëæïëôïêôïç -·¼» êçæïîôïé
   êîæïî êíæïí          ®«-¬§ éìæë              êîæé               -·¼»- ëêæî
 ®»¬¿·²»® ïëæíôèôïê     ®©-©§µ íìæïï          -»²¬»²½» ìêæìôè      -·¹²¿¬«®» ìðæèôïì
   ïêæì                   íèæîï                 ìèæïï                ìïæêôèôîì êïæîí


                                 Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                            çéíóìïðóìðìð
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Å-·¹²¿¬«®»ù- ó ¬¿´µ·²¹Ã                                                            Ð¿¹» ïì

 -·¹²¿¬«®»ù- ìðæé         -±®¬ éæïð ìíæïí       -¬¿§»¼ ííæïë           -«·¬» ïæîï îæìôîð
 -·¹²»¼ íèæíôïëôîí          êïæç êëæîôèôïî      -¬»¿®¬ ïæïî            -«³³¿®·»- ïìæîì
   íèæîë ìïæéôîî          -±«²¼- îîæïç          -¬»²±¹®¿°¸·½           -«³³¿®§ èæîð
   êêæëôîîôîì             -±«¬¸º·»´¼ îæïí         éèæïë                -«²¼¿§ íçæíôëôé
 -·¹²·²¹ êéæïí            -°»¿µ êìæïð           -¬»²±¹®¿°¸·½¿´´§         íçæïî
 -·³·´¿® çæîë ïðæïì       -°»¿µ»® íëæî            éèæïî                -«²¼¿§- íèæîï
 -·³°´§ ïèæïðôïí          -°»¿µ·²¹ îíæïî        -¬»° éìæîôí            -«°°´»³»²¬¿´
   ìêæïç                    ìîæè êëæîë éíæïï    -¬»©¿®¼ íëæîë            ìðæïî
 -·²¹«´¿® ïïæë            -°»½·¿´ íðæïë         -¬»©¿®¬ ïæïì îæîì      -«°°´§ ïðæç
 -·® ëæïï ïïæîë           -°»½·º·½¿´´§ îéæïè      ïîæîë îîæîë îíæë     -«°°±®¬ ììæê
   ïîæïð ìïæí êðæîð         êçæì éðæîî éïæïï      îíæéôïì îìæíôïðôîï     êðæïé
   êïæé                   -°»½«´¿¬» ìéæè          îëæïì îçæïí íîæì     -«°°±®¬- ìíæïìôîí
 -·¬ ïîæîï ììæîë          -°»½«´¿¬·²¹ ìèæïç       íîæèôïïôïí ííæêôïì     ìëæîí ëïæîí
   ìëæîë ëíæê             -°»´´ íìæïì             íëæîí ìîæîð ìíæë     -«°°±-»¼ ìîæïí
 -·¬» îíæïï               -°±µ» ïëæç              ìéæí ìçæïï ëîæïç       ìíæè
 -·¬¬·²¹ íîæêôïîôïí       -¬¿½µ ïçæïç             ëîæîî ëíæî êðæïê     -«®» éæî ïðæë
   éíæéôïê                -¬¿ºº êìæïîôïí êéæí     êïæí êíæïôêôîë         ïéæïí ïçæïï îëæê
 -·¬«¿¬»¼ ëðæì              êéæì                  éêæïðôïìôïìôïç         îèæë ìðæïð ìëæî
 -·¬«¿¬·±² íïæì êïæì      -¬¿¹»- êæïì           -¬»©¿®¬ù- îíæîìôîë       ìçæïëôïêôïé éðæïç
   êïæê                   -¬¿²¼·²¹ íîæïé          êîæïí êíæïç          -«®³·-»¼ íéæêôïì
 -·¨ ïêæîë ïéæì           -¬¿®¬ éæï ìèæéôîî     -¬·°«´¿¬»¼ êçæî        -«®°®·-» ìèæê
   ìðæïë                  -¬¿®¬»¼ ìèæïì ìçæì      éðæïî                -©±®² ëæë éèæç
 -´¿²¼»®±«- èæì             ëéæï êçæç           -¬±° éìæî                        ¬
 -³·´» ïíæí               -¬¿®¬·²¹ ìéæé         -¬±°°»¼ éìæïð
                                                                       ¬ íæêôïï
 -±½·¿´ êðæîì             -¬¿¬» ëæïï íçæïé      -¬±®¿¹» ïèæè
                                                                       ¬¿¾´» íæï
 -±³»¾±¼§ éæïí              ìðæïë éðæç éèæï     -¬®¿²¹» êíæïð
                                                                       ¬¿µ» ïèæï îíæîí
   íîæîîôîíôîë ííæì       -¬¿¬»¼ îéæï ëðæè      -¬®»»¬ ïæîï îæì
                                                                         îêæîì ëïæïï ëìæïê
   ìïæê ìíæïï ììæïç       -¬¿¬»³»²¬ íêæïç       -¬«ºº êðæé
                                                                         ëëæïì êêæïéôïé
   éìæïôïç                  ìíæïê ìéæïì ëïæîí   -«¾¶»½¬ ëðæîð
                                                                         éðæç ééæç
 -±³»°´¿½» îêæîí            ëíæîð               -«¾³·--·±² ììæîî
                                                                       ¬¿µ»² ïæîï ëæïë
   íêæïé êéæî             -¬¿¬»³»²¬- ïëæîî        ìëæïë ëìæïôéôïð
                                                                         ïèæïê ééæïï éèæè
 -±² êæîïôîî îïæîì          ïêæèôîð ëíæî        -«¾³·--·±²- ìîæïë
                                                                         éèæïë
   îîæïì ìèæïôè ëîæé        ëèæïï               -«¾³·¬ ìîæïí ìíæè
                                                                       ¬¿´µ îìæîð îëæïè
   ëîæé ëéæïé éïæïí       -¬¿¬»- ïæï êæí          ëìæïí
                                                                         íëæîï ìéæïè êéæïç
   éëæîì                  -¬¿¬·²¹ ïçæé          -«¾³·¬¬»¼ ìîæïè
                                                                       ¬¿´µ»¼ ïïæîð îëæç
 -±±² êíæïì               -¬¿¬«- îèæïè îçæì       ëìæïì
                                                                         ìïæîí ëìæì ëçæïç
 -±®®§ çæç ïïæïê            ìîæïôíôëôïì ììæè    -«¾³·¬¬·²¹ íçæïë
                                                                         êïæîð êéæé éïæï
   ïêæïï ïéæîí îçæïì        ììæïëôîî ìëæïì      -«¾-»¯«»²¬ ëðæïè
                                                                         éêæîî
   ìéæîðôîð ìçæîë           ìêæî ëíæîë ëìæê     -«½½»-- çæïè ïðæê
                                                                       ¬¿´µ·²¹ ïèæïé
   ëëæê éðæí éïæé           ëìæïð êðæç êïæïç    -«¹¹»-¬ îìæïç
                                                                         îðæïê ììæïì ìéæïð
   éëæîë éêæïì              êèæïôî
                                                                         ìéæïï ëçæîë êèæì
                                   Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                 çéíóìïðóìðìð
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Å¬¿´µ·²¹ ó «²¼»®´§·²¹Ã                                                              Ð¿¹» ïë

   êèæîð éîæîî             ìéæî ìèæïçôîð        ¬·³»´·²» ìêæïì          ¬®± ìðæê êîæïðôïï
 ¬¿°» ïìæïç ííæïí          ëðæïï ëïæïì ëìæïè    ¬·³»- îðæïê íìæîð         êîæïí êíæîð êêæë
   ííæïê ëïæîë             ëëæì ëéæïé ëçæïì        êîæïë êíæîôìôïè        êêæè êéæëôçôïì
 ¬»½¸²·½¿´ ïèæïï           êðæîï êìæîë êéæî     ¬·°°»¼ íðæè íïæí        ¬®±«¾´» ëìæîð
 ¬»´»°¸±²» íæîð            êéæïï éíæïèôïç       ¬·¬´»- ëèæïð              êèæïêôïé
   ïíæïì ïìæî îëæç         éêæîë ééæè           ¬±¼¿§ éæîí èæîë         ¬®±«¾´»¼ ëëæïôî
   îèæïç îçæì íïæïç      ¬¸·²µ·²¹ íêæïì            çæê ïíæïð ììæîë      ¬®«½µ îéæêôïð
   íîæíôéôçôïì íéæîð       íéæïêôïé ëéæîí          êëæë                 ¬®«½µ·²¹ ïðæïî
   íèæïç êíæë êìæë       ¬¸·®¼ ïìæîî íèæè       ¬±´¼ êìæîí êëæïê        ¬®«» ïìæïì ïçæîôîï
 ¬»´´ ëæîì éæê ïéæïì       ìëæìôîî                 êêæïí                  îíæïé íîæï íéæç
   ïèæê îîæîî îíæïç      ¬¸±«¹¸¬ éæïë ïéæï      ¬±° ïïæïè ïèæé            íéæïí ìðæîìôîë
   íëæì ìéæïì ëíæê         îèæé íïæïî íêæìôë       îçæïé ìéæîî ìèæí       ëðæîî ëîæîð ëìæè
   êëæîð êêæí              íêæïïôîï íéæìôïî        éïæîë                  ëìæïî ëéæê êçæîï
 ¬»´´·²¹ íêæïç ìéæîë       íéæïë ìïæè ìêæë      ¬±¬¿´ ïçæïé               éèæïì
   ìèæïï êïæïï             ìêæïëôïçôîì ìéæêôç   ¬±©² îæïî               ¬®«¬¸ ïçæïê éèæç
 ¬»³°±®¿®§ íçæïè           ìéæïïôïîôîì ìèæî     ¬® êîæïï                  éèæïðôïð
   ìðæì                    ìèæïîôïèôïçôîð       ¬®¿¼» îæîð              ¬®§ êìæíôì
 ¬»² ïëæïë                 ìçæïì ëêæîí êçæîí    ¬®¿·´»®- ìëæì           ¬®§·²¹ ïéæí ïèæîí
 ¬»²¼ ïèæè                 éíæç                 ¬®¿²-¿½¬·±² ëèæïî         îêæîí íêæïì ììæïê
 ¬»®³ êîæïî              ¬¸±«¹¸¬- íêæéôïí       ¬®¿²-½®·¾»¼ íæîð          êçæïìôïç éêæîë
 ¬»®³- íçæîï               íêæîî íéæïôé            íéæîð íèæç           ¬«»-¼¿§ ïæîì
 ¬»-¬·º·»¼ ëæë ìèæê      ¬¸®»¿¬»²·²¹ éíæîë      ¬®¿²-½®·¾·²¹ íëæí       ¬«®²»¼ ïèæíôìôïð
 ¬»-¬·º§ ííæê ììæê         éìæï                    íëæì ëíæïé             ïèæïïôïíôïç ïçæíôé
   éèæç                  ¬¸®»» îïæî             ¬®¿²-½®·°¬ íæïè           ïçæïðôïìôïé
 ¬»-¬·³±²§ îéæïôì        ¬¸®»© ëìæï                ìæè ííæîë íìæëôê     ¬«®²·²¹ êèæïê
 ¬¸¿²µ ííæïé íìæïè       ¬¸®±©² ìîæîï              íìæïðôîð íëæïï       ¬©»²¬§ ìèæïê
   ééæïè                 ¬·³» ëæîì êæïïôïê         íèæî ìêæçôïïôïíôïé   ¬©± îïæîôïé îíæïð
 ¬¸·²¹ ïêæïç ííæïî         ïíæì ïìæïé ïéæïð        ìéæéôïíôïì ìèæîì       îìæïí íïæïì íèæïè
   íêæïê íéæé ëêæîî        îðæïôïí îïæïì           ìçæïï ëîæïôíôïð        ììæïì ìéæïèôîïôîí
   êêæîî éðæîî éëæïï       îíæïð îìæïé îêæïð       ëíæïôëôéôèôç éèæïë     êðæïî êïæîï êéæïé
 ¬¸·²¹- ïðæïì ïèæïð        îêæïè îéæîë íðæïð    ¬®¿²-½®·°¬·±²             êèæïë éíæïí
   îìæï ìîæïðôïï           íïæïë íîæì ííæïè        éèæïì                ¬§°» èæî ïðæíôéôïð
   ëéæé êîæïè êìæêôè       ííæîï íéæïôîôéôè     ¬®¿²-½®·°¬- íïæîì         ïîæïð íéæç ìîæïì
   ééæéôçôïï               íéæïì ìðæïïôîí          ííæè                   ìíæîî êïæì
 ¬¸·²µ ëæîî ïïæé           ìïæëôé ìíæïî         ¬®¿²-º»®®»¼ ëèæïð       ¬§°»©®·¬¬»² éèæïí
   ïìæïê ïçæïëôïê          ìëæïî ìêæïêôîí       ¬®¿²-³·¬¬»¼ ìïæïôç               «
   îîæïç îíæïìôïèôîî       ìéæê ìèæïí ìçæîð     ¬®»-°¿-- éîæè
                                                                        « çæïè ïðæê íìæïé
   îìæïéôîí îêæë           ëíæíôê ëéæç êíæïì    ¬®·¿´ éîæîë
                                                                        «½½ ëèæïï
   îçæïíôïê íðæïîôïë       êíæîî êìæïðôîí       ¬®·»¼ îíæîí êçæç
                                                                        «²¿¾´» íëæè
   íðæïêôîë íêæé           êêæïë êéæï éíæë      ¬®·° ïéæí
                                                                        «²¼»®´§·²¹ êæè
   íéæïð íèæê ìðæé         éìæïé ééæïôëôïè
                                                                          ïêæïí ïéæïéôïçôîì
                                   Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                                  çéíóìïðóìðìð
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Å«²¼»®´§·²¹ ó ¦»»´¿²¼Ã                                                         Ð¿¹» ïê

   îëæïç îçæïïôîð        ª·±´¿¬·±² êíæîí        ©¿²¬»¼ îðæîí îìæï    ©±®µ»¼ îðæïèôîï
   ëðæçôïí ëêæë          ª·±´»²½» éìæïì          ëêæîí êêæì            îðæîì îïæïí
 «²¼»®-·¹²»¼ ìêæê        ª·-·¬ îìæìôïì êìæì     ©¿²¬- îîæé           ©±®µ·²¹ íçæëôé
   ìêæïëôîì ìéæïîôîì       êìæë                 ©¿-¸¬»²¿© éèæí       ©±®´¼ ëîæïí
   ìèæïî                 ª·--»® ïæîð îæí íæí     éèæîí               ©®·¬» îîæé
 «²¼»®-·¹²»¼ù-             íæîîôîì ëæìôïíôïë    ©¿§ îæîð ïèæïè       ©®·¬¬»² éêæç
   ëíæîë                   ëæïç êæïôîðôîï        îêæîí îèæïë îçæï    ©®±²¹ ëæîë íïæïôî
 «²¼»®-¬¿²¼ ìíæîï          ïçæïç îêæïì íèæïï     îçæí íïæî ìîæîï       êéæî
   ìíæîï ììæïïôïê          ëîæè ëëæîðôîë         ìèæîî ëðæïï ëêæïê   ©®±¬» ìçæïí
   ìêæïîôïî ëíæì           ëéæïé ëçæéôïë         êïæïí               ©®§ ïíæí
   êëæé êéæîî êçæïï        éîæêôïîôîë éëæîì     ©»ùª» ëìæì êïæîð              ¨
 «²¼»®-¬¿²¼·²¹             éêæíôïïôïêôîð éèæé    éïæï ééæç
                                                                     ¨ íæêôïï
   ïèæïë íêæë ìîæî       ª·--»®ù- íæïè ííæîë    ©»»µ ìíæé êðæç
   ìéæë ëçæè êïæç          éïæïî                 êèæï êçæîë éðæîôì            §
 «²¼»®-¬¿¬»³»²¬-         ª·--»®´»¹¿´ò½±³         ééæïë               § íìæïêôïé
   ééæïë                   îæé                  ©»·®¼ êêæîï          §»¿¸ êæîî ïéæè
 «²·¼»²¬·º·»¼ íëæî       ª±·½» îêæï             ©»²¬ îéæïð ìêæí        íïæî ëëæé
 «²·²¬»®»-¬»¼ íèæé       ª±·½»- ííæïëôîî        ©»-¬»®² ïæî êæì      §»¿® èæï ïîæèôïê
 «²·¬»¼ ïæï êæí          ª±´«³·²±«- ëêæï        ©»-¬®¿ éïæêôè          ïíæì îïæïé îîæì
 «²·ª»®-·¬§ ïîæï         ª±´«²¬¿®·´§ èæïí       ©·´´·²¹ ëëæïð        §»¿®- éæê ïïæïç
 «-»- ìçæïè                îìæïç                ©·²¼ ïðæìôë            ïëæïë îïæîôïé
           ª             ª±±®¸»»- çæîôíôè       ©·-¸ ïíæîð êêæïê       ëêæïç
                           çæïðôïíôïê ïïæïð     ©·¬¸¸»´¼ ïèæëôîë     §»° ïêæí ëëæïê
 ª¿´°¿®¿·-± ïîæï
                           ïïæîîôîí ïëæïðôïï    ©·¬²»-- íæîôé çæïð     ëêæïç êèæê
 ª¿² ïæïï êæçôîë
                           ïëæïé îïæéôïïôïè      ïîæïç íìæïê éëæï             ¦
   èæè ïðæîîôîì
                           îïæîïôîïôîë îîæïï     éëæë éêæïôïí        ¦»¿´¿²¼ çæîî
   ïíæïê ïêæëôçôïé
                         ª±±®¸»»-ù- ïðæîð        ééæïðôïì éèæéôïï    ¦»»´¿²¼ çæîïôîí
   íðæïì
                           ïëæïê                ©·¬²»--»¼ êðæîí        ïðæïë
 ª¿®·¿¬·±²- ëîæí
                         ª- ïæè                  êïæî
 ª¿®·±«- ìçæîï
                                  ©             ©·¬²»--»- ììæëôïí
 ª»·² éíæîí
                                                 êéæé éìæïôí
 ª»®¿½·¬§ êïæïì          © îæî íìæïêôïêôïé
                                                ©·¬¬» ïçæîë îçæïë
 ª»®¼·½¬ éîæé              íìæïé
                                                ©·¬¬»ù- ïçæîí
 ª»®·º·½¿¬·±² íìæïî      ©¿·¬ éíæîî
                                                ©±³¿² êëæîï
 ª»®·º§ ííæîï íëæç       ©¿·ª»® ëïæïë
                                                ©±®¼ ëïæïî
 ª»®-«- êæîôè ïïæï       ©¿´µ»¼ êêæîð
                                                ©±®¼- êêæèôïë
   ïìæí ïêæç             ©¿²¬ îëæïè îéæîí
                                                ©±®» ìçæîí ëðæï
 ª·½¬±®§ éîæïí             îèæïéôîì ììæïé
                                                ©±®µ éæïðôïé
 ª·¼»± ïíæïí               ìêæí ìéæïíôïè
                                                 ïîæïìôîí ïëæïé
 ª·»© ïçæïî                ëìæïë ëëæïí êìæë
                                                 îïæïôïî íèæîï
 ª·´´¿¹» ïæïï              êìæéôé
                                                 ëèæïë éëæïî ééæïê

                                   Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
 èððóëêéóèêëè                                                              çéíóìïðóìðìð
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